Case 3:21-cv-01211-AW-HTC Document 31-13 Filed 10/21/21 Page 1 of 161




          Exhibit 13
    Case 3:21-cv-01211-AW-HTC Document 31-13 Filed 10/21/21 Page 2 of 161




                       IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF FLORIDA
____________________________________
                                         )
JANE DOE #1, et al.                      )
                                         )
                                         )
                       Plaintiffs,       )
                                         )
               v.                        )  Case No. 1:21-cv-01211-AW-HTC
                                         )
LLOYD AUSTIN, III, in his official       )
capacity as Secretary of Defense, et al. )
                                         )
                       Defendants.       )
                                         )


                     DECLARATION OF PETER MARKS, M.D., Ph.D.
       I, Peter Marks, declare as follows:
       1. I am the Director of the Center for Biologics Evaluation and Research (     BER

United States                                                                       2016. In this

role, I direct the development and implementation of programs and policies for assuring the

safety, purity, and potency of biological products, including vaccines, allergenic products, blood

and blood products, and cellular, tissue, and gene therapies.

       2. I joined FDA in 2012 as the Deputy Director for CBER, after practicing medicine, and

working in industry and academia for several years. I received my graduate degree in cell and

molecular biology and my medical degree at New York University, am board certified in internal

medicine, hematology and medical oncology, and am a Fellow of the American College of

Physicians.

       3. In my capacity as Director of CBER, I am fully familiar with the instant matter and the

facts stated herein. This declaration is based on my personal knowledge, my background,

training, and experience and my review and consideration of information available to me in my

                                                 1
    Case 3:21-cv-01211-AW-HTC Document 31-13 Filed 10/21/21 Page 3 of 161




official capacity, including information furnished by FDA personnel in the course of their

official duties. My conclusions have been reached in accordance therewith.

       4. Vaccines are biological products that are regulated under the Public Health Service

           A

                                                  U.S.C. § 321(g)(1)(B). Vaccines are approved for

                                                                                        ; a vaccine

that is the subject of an approved BLA need not also obtain approval of a new drug application

                        C. § 355. 42 U.S.C. § 262(a), (j).

       5. Under the PHSA, FDA approves a BLA on the basis of a demonstration that: (1) the
                                   1
                                       ; (2) the facility in which the vaccine is produced meets

standards designed to assure that the vaccine continues to be safe, pure, and potent; and (3) the

applicant consents to inspection of the manufacturing facility. 42 U.S.C. § 262(a)(2)(C). FDA

may, but is not required to, consult with its standing advisory committee with scientific expertise

in biological products, the Vaccines and Related Biological Products Advisory Committee, as

part of the approval process. See 21 C.F.R. § 14.171(a). FDA has also issued several guidances

and other public documents on biologics and vaccine development. See generally Biologics

License Applications (BLA) Process, https://www.fda.gov/vaccines-blood-

biologics/development-approval-process-cber/biologics-license-applications-bla-process-cber;

Guidance, Compliance & Regulatory Information (Biologics), https://www.fda.gov/vaccines-

blood-biologics/guidance-compliance-regulatory-information-biologics; Vaccine and Related



1
 The standard for licensure of a biological product as potent under 42 U.S.C. § 262 has long
been interpreted by FDA to include effectiveness. See 21 C.F.R. § 600.3(s); FDA Guidance,
Providing Clinical Evidence of Effectiveness for Human Drug and Biological Products at 4 (May
1998), available at https://www.fda.gov/media/71655/download.


                                                    2
    Case 3:21-cv-01211-AW-HTC Document 31-13 Filed 10/21/21 Page 4 of 161




Biological Product Guidances, https://www.fda.gov/vaccines-blood-biologics/biologics-

guidances/vaccine-and-related-biological-product-guidances; Vaccine Development 101,

https://www.fda.gov/vaccines-blood-biologics/development-approval-process-cber/vaccine-

development-101.

       6. On August 23, 2021, FDA approved a BLA for a COVID-19 vaccine known as

Comirnaty, for active immunization to prevent coronavirus disease 2019 (COVID-19) caused by

severe acute respiratory syndrome coronavirus 2 (SARS-CoV-2) in individuals 16 years of age

and older. See Comirnaty Approval Letter (August 23, 2021), attached as Exhibit A.

       7. Prior to approval, beginning in December 2020, the same formulation of the vaccine,

known as Pfizer-BioNTech Covid-19 vaccine, was available under an emergency use

                          See https://www.fda.gov/news-events/press-announcements/fda-takes-

key-action-fight-against-covid-19-issuing-emergency-use-authorization-first-covid-19. FDA has

discretion to issue an EUA for an FDA-regulated product if: (1) the Secretary of the Department

of Health and Human Services has declared a public health emergency involving a biological or

other agent that can cause a serious or life-threatening disease or condition; (2) it is reasonable to

believe that the product may be effective in diagnosing, treating, or preventing that disease or

condition, and the known and potential benefits of the product outweigh the known and potential

risks of the product; and (3

product. 21 U.S.C. § 360bbb-3(c).2




2

for clinical trials conducted under an
§§ 360bbb-3(k); 355(i). Clinical trials must be conducted in accordance with an approved IND
and involve only enrolled study participants. Only clinical trial participants enrolled in a clinical
study conducted according to an approved IND receive the study drug.
                                                  3
    Case 3:21-cv-01211-AW-HTC Document 31-13 Filed 10/21/21 Page 5 of 161




       8. Even after FDA approved Comirnaty, FDA authorized continued use of the Pfizer-

BioNTech Covid-19 vaccine under an EUA for indications that included the approved use. FDA

determined that there is not sufficient approved vaccine available for distribution to the 16 years

                                                                      of the EUA. See Letter to

Pfizer, Inc. reissuing EUA authorization for Covid-19 vaccine, p. 7, n.13 (October 20, 2021),

attached as Exhibit B. FDA also determined that there are no products that are approved to

prevent COVID-19 in additional populations covered by the EUA, as the vaccine remains

available under the EUA for uses that have not been approved, specifically for individuals ages

12 through 15 years old; for a third dose in certain populations

certain circumstances.

       9. Additionally, FDA determined

as the EUA-authorized vaccine and the products can be used interchangeably to provide the



reissuing EUA authorization for Covid-19 vaccine, p. 2, n.8 (August 23, 2021), attached as

Exhibit C. FDA provided this information in the Letter of Authorization to make clear that

pharmacies and other healthcare practitioners could provide the vaccination series to recipients

using Pfizer-BioNTech, Comirnaty, or both (e.g., first dose of Pfizer-BioNTech followed by

second dose of Comirnaty, or vice versa), since the products have an identical formulation and

are made by the same manufacturer under current good manufacturing practice

requirements. FDA included this clarification in the authorization letter to avoid the unnecessary

operational complications that may have resulted if pharmacies or other healthcare practitioners

had believed that individuals who had received Pfizer-BioNTech for the first dose were not

authorized to receive Comirnaty for the second dose, or vice versa.



                                                 4
    Case 3:21-cv-01211-AW-HTC Document 31-13 Filed 10/21/21 Page 6 of 161




        10. The determination that FDA made for Comirnaty and Pfizer-BioNTech Covid-19

vaccine should not be confused with the statutory interchangeability determination that FDA

may make when reviewing a BLA for a biological product manufactured by one company and

comparing it with a biological product manufactured by a different company. Under 42 U.S.C.

§ 262(k)(4), FDA may determine that a biological product

product.                       is defined at 42 U.S.C. §                               cal product

licensed under [42 U.S.C. § 262(a)] against which a biological product is evaluated in an

                                                    The statutory interchangeability

determination requires a licensed reference product and a subsequent applicant seeking licensure,

which is not present here. The PHSA interchangeability provision also contains obligations

related to exclusivity and exchange of patent information for interchangeable products, which

would not make sense for two products produced by a single company. See 42 U.S.C.

§ 242(k)(6), (l).

        11. While FDA determined Comirnaty and Pfizer-BioNTech Covid-19 vaccine are

medically interchangeable, there are legal distinctions between BLA-approved and EUA-

authorized products. For example, products approved under BLAs are required to have the

labeling that was approved as part of the BLA, whereas products authorized under the EUA

would have the EUA labeling, and there may also be differences in manufacturing sites for BLA

and EUA vaccine. Both the EUA and BLA processes have required the sponsor to identify

specific facilities that will manufacture the vaccine. See Summary Basis for Regulatory Action

Comirnaty, pp. 12-13 (August 23, 2021), available at

https://www.fda.gov/media/151733/download.




                                                5
    Case 3:21-cv-01211-AW-HTC Document 31-13 Filed 10/21/21 Page 7 of 161




       12. Vaccine manufactured at sites listed in the BLA also undergoes lot release, which is

designed to ensure conformity with standards applicable to the product. 21 C.F.R. § 610.1; see

also https://www.fda.gov/vaccines-blood-biologics/biologics-post-market-activities/lot-

release#lotrelease. Vaccine manufactured at sites that are not listed in the BLA is not subject to

the lot release requirement.3 Both BLA and EUA manufacturing of this vaccine must adhere to

                                                                                               the

products meet specified standards of purity and potency. See 21 C.F.R. Part 211 (CGMP

regulations for drugs), § 211.1(b) (applicability of CGMP regulations to drugs that are also

biological products); EUA Reauthorization at 11 (Sept. 22, 2021), available at

https://www.fda.gov/media/150386/download.

       13. In conjunction with the approval of Comirnaty, FDA asked the applicant to identify

available lots of vaccine that were manufactured at facilities listed in the BLA that had

undergone lot release. For these lots and other lots produced at facilities listed in the BLA, at this

time, FDA is exercising its enforcement discretion with respect to certain labeling requirements,

in that FDA is not taking enforcement with respect to vials that bear the EUA label. 4 FDA

considers these lots to be manufactured in compliance with the BLA and they are not subject to

the EUA requirements when used for the approved indication. Thus, the conditions in the Letter




3
  Although not subject to lot release, as a condition of the EUA, Pfizer submits to the EUA file
Certificates of Analysis for each drug product lot at least 48 hours prior to vaccine distribution;
these Certificates include the established specifications and specific results for each quality
control test performed on the final drug product lot. Additionally, also as a condition of the
EUA, Pfizer submits quarterly manufacturing reports to the EUA file that include specified
information about each lot of vaccine manufactured. See Exhibit B at 11-12.
4
  Each vial contains six doses of vaccine and a dose is withdrawn from the vial immediately
before injection into a recipient, who would not ordinarily be handling the vial or viewing its
label. Fact Sheet for Healthcare Providers Administering Vaccine, pp. 6-8 (Sept. 22, 2021),
available at https://www.fda.gov/media/144413/download.
                                                  6
    Case 3:21-cv-01211-AW-HTC Document 31-13 Filed 10/21/21 Page 8 of 161




of Authorization for the EUA     including the condition requiring vaccination providers to



EUA, it is your choice to receive or                             do not apply when these lots or

other BLA-compliant lots are used for the approved indication. FDA worked with the Applicant

to develop a Dear Healthcare Provider letter and website to identify those lots. Summary Basis

for Regulatory Action                                                     ttached as Exhibit D.

Also, for operational efficiency, to account for the fact that recipients may receive either the

BLA or EUA vaccine, after licensure of Comirnaty, vaccine has been distributed with unified

Fact Sheets, one for providers and one for recipients, that provide information regarding the

EUA product, as well as information about the licensed product. See Fact Sheet for Recipients

(Sept. 22, 2021), available at https://www.fda.gov/media/144414/download.

       14. FDA has programs to expedite the development of drugs that are being studied to

treat life-threatening or severely debilitating diseases. 21 U.S.C. § 356. These programs, one of

                                    are designed to help ensure that therapies for serious

conditions are approved and available for patients as soon as it can be concluded that the

                                          See Guidance for Industry, Expedited Programs for

Serious Conditions    Drugs and Biologics (May 2014), available at

https://www.fda.gov/media/86377/download. Fast Track designation was granted for Comirnaty

on July 7, 2020. See Exhibit D, SBRA at 5.

receives Fast Track designation, early and frequent communication between the FDA and a drug

company is encouraged throughout the entire drug development and review process. The

frequency of communication assures that questions and issues are resolved quickly, often leading




                                                  7
    Case 3:21-cv-01211-AW-HTC Document 31-13 Filed 10/21/21 Page 9 of 161




                                                 https://www.fda.gov/patients/fast-track-

breakthrough-therapy-accelerated-approval-priority-review/fast-track.

       15. In addition to granting

speed development and review of COVID-19 vaccines in response to the urgent public health

threat posed by SARS-CoV-2, without sacrificing the stringent statutory requirements for

approval. Vaccines typically undergo three phases of clinical trial. See

https://www.fda.gov/vaccines-blood-biologics/development-approval-process-cber/vaccine-

development-101. Phase 1 generally involves 20 to 100 healthy volunteers and focuses on safety.

Id. Phases 2 and 3 studies typically enroll more subjects and are designed to gather more safety

information on common short-term side effects and risks, examine the relationship between the

dose administered and the immune response, and generate critical efficacy data. Id. In the case

of the COVID-19 vaccines, those phases overlapped to speed the development process; no

phases were skipped. See 21 C.F.R. § 312.21     Although in general the phases are conducted

sequentially, they may overlap. . Also, because COVID-19 continues to be widespread, the

vaccine clinical trials have been conducted more quickly than if the disease were less common.

       16. The Comirnaty BLA was approved based on six months of safety and efficacy data

from two ongoing clinical trials, C4591001 and BNT162-01, as well as safety information from

the millions of vaccine doses administered under the EUA. C4591001 is a randomized, placebo-

controlled, combined Phase 1, 2, and 3 study that has enrolled more than 43,000 participants.

See Exhibit D, SBRA at 15. Initially, during Phases 2 and 3, study participants, as well as study

investigators/personnel collecting and evaluating safety and efficacy information were blinded to




                                                8
    Case 3:21-cv-01211-AW-HTC Document 31-13 Filed 10/21/21 Page 10 of 161




                                                  -blinded).5 The study population for Phase 2/3

includes participants at higher risk for acquiring COVID-19 and at higher risk of severe COVID-

19, such as participants working in the healthcare field, participants with autoimmune disease,

and participants with chronic but stable medical conditions such as hypertension, asthma,

diabetes, and infection with HIV, hepatitis B or hepatitis C. Id. at 16.

        17. In accordance with                        protocol (the plan that describes the

objectives, design, methodology, statistical considerations, and organization of a clinical trial,

see Glossary of Clinical Trial Terms, available at

https://www.fda.gov/media/108378/download#:~:text=A%20document%20that%20describes%2

0the,in%20other%20protocol%20referenced%20documents), participants ages 16 and older in

                                                  since the December 2020 issuance of the EUA

for the Pfizer-BioNTech Covid-19 vaccine and offered the vaccine if they were randomized to

the placebo group. Exhibit D, SBRA at 17. The study was unblinded in stages, either when

participants were eligible according to local recommendations for vaccination or after conclusion

of their six-month post Dose 2 study visit (whichever was earlier). Id. Despite the unblinding,

the data collected during the clinical trial still allowed FDA to evaluate the safety and



5

assignment. Study participants, investigators, and health care providers may all be blinded to the
treatment a participant is receiving, for example, whether a study participant is receiving the
study drug or a placebo. Glossary of Clinical Trial Terms, available at
https://www.fda.gov/media/108378/download#:~:text=A%20document%20that%20describes%2
0the,in%20other%20protocol%20referenced%20documents). Blinding may be done to prevent
skewing of the data by the placebo effect, by risk-seeking behavior, by unconscious bias or by
other factors. Blinding may impose a significant burden on the volunteer trial participants, and
medical ethicists generally agree that researchers are sometimes ethically bound to unblind a
study and permit placebo recipients to receive an effective treatment at some point. The
availability of effective treatment also encourages participation in clinical trials. Overall, the

priorities.
                                                  9
    Case 3:21-cv-01211-AW-HTC Document 31-13 Filed 10/21/21 Page 11 of 161




effectiveness of the vaccine, considering the data collected during the blinded stage and the other

information submitted supporting safety and effectiveness. Although C4591001 is ongoing and

safety will be evaluated for the duration of the study for blinded and unblinded participants,

because most adverse events linked to vaccination occur within two months of vaccination (see

Table VI. National Vaccine Injury Compensation Program. Rockville, MD: Health Resources

and Services Administration, 2017 (https://www.hrsa.gov/sites/default/files/hrsa/vaccine-

compensation/vaccine-injury-table.pdf.), FDA determined that a BLA for a COVID-19 vaccine

could be supported by six months of safety data.6 See FDA Guidance, Development and

Licensure of Vaccines to Prevent COVID-19, at 15 (June 2020), attached as Exhibit E. Because

the applicant submitted sufficient safety and efficacy data, the ongoing nature of the phase 3

clinical trial was not a basis for declining to license Comirnaty. The estimated completion date

for C4591001 is May 2023, see

https://www.clinicaltrials.gov/ct2/show/NCT04368728?term=C4591001&draw=2&rank=4).

       18. BNT162-01 an ongoing Phase 1/2, open-label, dose-finding study with 24

participants, designed to evaluate the safety and immunogenicity of several candidate vaccines,

including the dose that was approved by FDA on August 23, 2021. See Exhibit D, SBRA at 15.

Safety data from the study was included in the BLA for Comirnaty and supported selection of the




6
  Indeed, requesting six-months of follow-up safety data is not unique to Covid-19 vaccines.
See Guidance for Industry Clinical Data Needed to Support the Licensure of Pandemic Influenza
Vaccines, at 5,7, 10 (May 2007), available at Guidance for Industry: Clinical Data Needed to
Support the Licensure of Pandemic Influenza Vaccines (fda.gov) (generally recommending six-
months of safety data to support influenza vaccines). FDA explained the rationale for requesting
at least six-months of safety data to support licensure of Comirnaty in its response to a Citizen

to those raised by Plaintiffs. See Response to ICAN Citizen Petition, Docket FDA-2021-P-0529,
at 9-10 (August 23, 2021), available at https://www.regulations.gov/document/FDA-2021-P-
0529-1077.
                                                10
   Case 3:21-cv-01211-AW-HTC Document 31-13 Filed 10/21/21 Page 12 of 161




final vaccine candidate and dose level. Id. at 21. Although FDA did not refer the BLA to its



considering the EUA for the Pfizer-BioNTech Covid-19 vaccine. Id. at 26-27.

       19. In addition to reviewing clinical data, before approving the Comirnaty BLA, FDA

assessed, among other things, its

and clinical pharmacology and nonclinical toxicology data; safety and pharmacovigilance data;

labeling; and manufacturing facilities. See 21 C.F.R. § 601.2 (requirements for contents of BLA

application). Along with the Summary Basis for Regulatory Action for Comirnaty, also

available                                                   are three Statistical Reviews; an

assessment of Real World Evidence; two Pharmacovigilance Plan Reviews; two CMC Reviews,

Clinical Review; CBER Sentinel Program Sufficiency Review; Bioresearch Monitoring Review;

Benefit-Risk Assessment Review; Analytical Method Review; and Toxicology Review. See

https://www.fda.gov/vaccines-blood-biologics/comirnaty (click on Approval History, Letters,

Reviews, and Related Document       COMIRNATY).

       20. Based on the data from the two clinical studies, FDA determined that the overall

efficacy rate in the 16 and older subject population was 91.1% for the prevention of COVID-19

infection and between 95% and 100% for the avoidance of severe infection. Exhibit D, SBRA at

19-20. FDA also considered the safety data from the two clinical studies, in addition to safety

information from EUA use. Id. at 22-25. In sum, based on its review of the clinical, pre-clinical,

and product-related data submitted in the Comirnaty BLA, FDA determined that the product had

a favorable benefit/risk balance, and was safe, pure, and potent. The agency approved the

license for Comirnaty on August 23, 2021. Id. at 27-28; Exhibit A, FDA Approval Letter (Aug.

23, 2021).



                                                11
   Case 3:21-cv-01211-AW-HTC Document 31-13 Filed 10/21/21 Page 13 of 161




       21. Comirnaty is subject to specified post market requirements and commitments. See

21 U.S.C. §§ 355(o)(2)(B)(ii) and 356b. Those requirements and commitments are: (1) Study

                             -Interventional Post-Approval Safety Study of the Pfizer-BioNTech

COVID-



Conditional Approval Active Surveillance Study Among Individuals in Europe Receiving the

Pfizer-BioNTech Coronavirus Disease 2019 (COVID-

of myocarditis and pericarditis following administration of COMIRNATY; (3) Study C4591021

sub-study to describe the natural history of myocarditis and pericarditis following administration

of COMIRNATY; (4) Study C4591036, a prospective cohort study with at least 5 years of

follow-up for potential long-term sequelae of myocarditis after vaccination; (5) Study C4591007

sub-study to prospectively assess the incidence of subclinical myocarditis following

administration of the second dose of COMIRNATY in a subset of participants 5 through 15

years of age; (6) Study C4591031 sub-study to prospectively assess the incidence of subclinical

myocarditis following administration of a third dose of COMIRNATY in a subset of participants

16 to 30 years of age; (7)                                 -BioNTech COVID-19 Vaccine

Exposure during Pregnancy: A Non-Interventional Post-Approval Safety Study of Pregnancy and

Infant Outcomes in the Organization of Teratology Information Specialists

                                             ; (8) Study C4591007 sub-study to evaluate the

immunogenicity and safety of lower dose levels of COMIRNATY in individuals 12 through < 30

                                                 -emergency Use Authorization Active Safety

                                                                                                  -

BioNTech Coronavirus Disease 2019 (COVID-



                                                12
   Case 3:21-cv-01211-AW-HTC Document 31-13 Filed 10/21/21 Page 14 of 161




       -BioNTech COVID-19 BNT162b2 Vaccine Effectiveness Study - Kaiser Permanente



effectiveness of COMIRNATY in children 12 years through 15 years of age; (12) Deferred

pediatric study C4591007 to evaluate the safety and effectiveness of COMIRNATY in children 6

months to < 12 years of age; and (13) Deferred pediatric study C4591023 to evaluate the safety

and effectiveness of COMIRNATY in infants < 6 months of age. Exhibit D, SBRA at 29-30.

       22. On the same day that FDA approved the license for Comirnaty, the agency

responded to a Citizen Petition submitted by the Coalition Advocating for Adequately Licensed

Medicines (CAALM) on July 23, 2021. CAALM Petition, Docket FDA-2021-P-0786, attached

as Exhibit F.

of clinical effectiveness that outweighs harms in special populations such as: infants, children,

and adolescents; those with past SARSCoV-2 infection; immunocompromised; pregnant women;

nursing women; frail older adults; and individuals with cancer, autoimmune disorders, and

                            before licensing a Covid-19 vaccine, and that there should be



risk of symptomatic COVID-                                                             Id. at 2. Some

of the populations identified by petitioners participated in the clinical trials and additional

information will be obtained from post-marketing studies. For example, approximately 3% of

the clinical trial participants had evidence of prior Covid-19 infection (see Clinical Review

Memo at 35, referenced in paragraph 19, above). Additionally, although pregnant individuals

were excluded from participation in the trial and the applicant has committed to study the

vaccine in this population segment as described in paragraph 21 above, participants in both the

treatment and placebo arms of the trial became pregnant during the trial, and pregnancy



                                                  13
   Case 3:21-cv-01211-AW-HTC Document 31-13 Filed 10/21/21 Page 15 of 161




outcomes of spontaneous abortion, miscarriages and elective abortions was similar between the

vaccine and the placebo group. Id. at 84. In response to

concluded that petitioners had not provided sufficient scientific justification for requiring

effectiveness data from clinical trials specific to each population group and specifically designed

to evaluate disease endpoints of varying severity, and

with

immunobridging or extrapolation across population groups. CAALM Petition Response at 7-8

(August 23, 2021), attached as Exhibit G.

       23.

affected with COVID-

                                                          also be at heightened risk for adverse

        from the vaccine, finding there was scientific uncertainty about the duration of immunity

from natural infection and that petitioners had not provided sufficient scientific support for the

latter claim. CAALM Petition Response at 8-9, n.31. In reaching that conclusion, FDA

evaluated each study put forward by petitioners and carefully explained why the studies did not

                                  Id.; see also Response to ICAN Citizen Petition at 13-15.

       24. In approving the BLA for Comirnaty, FDA applied its scientific expertise to evaluate

the data contained in the application and determined that                 benefits outweigh its risks

and that it is safe, pure, potent, and effective for its proposed use. In response to the urgent

public health emergency presented by COVID-19, FDA worked expeditiously to provide

guidance to entities seeking to develop vaccines for this disease, and to review the BLA for

Comirnaty once it was submitted to the agency to ensure it fully met the statutory standards for

approval, to further the objective of protecting the public health.

                                                  14
   Case 3:21-cv-01211-AW-HTC Document 31-13 Filed 10/21/21 Page 16 of 161




        25. I have reviewed the Declaration of Jane Ruby submitted in this matter. ECF No. 1-

18. Although I have not attempted to exhaustively analyze her conclusions, the declaration is

rife with error and appears to reflect a lack of basic knowledge of the field. For example, I



renders th                       ompletely compromised. See id. at ¶12. As explained above in

paragraph 17                                       , referenced in Paragraph 19 above, that

participants initially assigned to the placebo arm of the study were unblinded in phases in

accordance with the protocol does not invalidate the data generated in the trial. Ms. Ruby

declaration also erroneously                                         sion criteria, id. at ¶15,

without regard to subsequent protocol amendments to add study populations, interventions, and

analyses not included in the original design, one of which permitted enrollment of HIV-infected

trial participants. See                Review at 23, referenced in Paragraph 19 above. Ms. Ruby

is also incorrect in stating that FDA did not consider the pharmacokinetics of the vaccine (Ruby

Decl. at ¶16). See                                                                           In

Paragraph 24 of her declaration, Ms. Ruby evidences a fundamental misunderstanding of the

clinical trial process when she impliedly criticizes the protocol for C4591001 for permitting

doses of the vaccine greater than 3 times the dose that was approved. In fact, one of the purposes

of clinical trials to establish the appropriate dose of a medication and the very protocol cited by

Ms. Ruby explains precisely how clinical data led to the dose that was ultimately approved. See

Ruby Decl. Exhibit E at 40 (ECF No. 1-18 at 83). These examples are just illustrative of the

many

        26. An injunction against the licensure of Comirnaty would cause irreparable harm. Safe

and effective vaccines are currently the most powerful tool we have against the pandemic and


                                                 15
Case 3:21-cv-01211-AW-HTC Document 31-13 Filed 10/21/21 Page 17 of 161
Case 3:21-cv-01211-AW-HTC Document 31-13 Filed 10/21/21 Page 18 of 161




      Marks Decl.
       Exhibit A
Case 3:21-cv-01211-AW-HTC Document 31-13 Filed 10/21/21 Page 19 of 161
Case 3:21-cv-01211-AW-HTC Document 31-13 Filed 10/21/21 Page 20 of 161
   Case 3:21-cv-01211-AW-HTC Document 31-13 Filed 10/21/21 Page 21 of 161

Page 3 – STN BL 125742/0 – Elisa Harkins


       10903 New Hampshire Ave.
       WO71-G112
       Silver Spring, MD 20993-0002

MANUFACTURING CHANGES

You must submit information to your BLA for our review and written approval under 21
CFR 601.12 for any changes in, including but not limited to, the manufacturing, testing,
packaging or labeling of COVID-19 Vaccine, mRNA, or in the manufacturing facilities.

LABELING

We hereby approve the draft content of labeling including Package Insert, submitted
under amendment 74, dated August 21, 2021, and the draft carton and container labels
submitted under amendment 63, dated August 19, 2021.

CONTENT OF LABELING

As soon as possible, but no later than 14 days from the date of this letter, please submit
the final content of labeling (21 CFR 601.14) in Structured Product Labeling (SPL)
format via the FDA automated drug registration and listing system, (eLIST) as described
at http://www.fda.gov/ForIndustry/DataStandards/StructuredProductLabeling/
default.htm. Content of labeling must be identical to the Package Insert submitted on
August 21, 2021. Information on submitting SPL files using eLIST may be found in the
guidance for industry SPL Standard for Content of Labeling Technical Qs and As at
http://www.fda.gov/downloads/Drugs/GuidanceComplianceRegulatoryInformation/Guida
nces/UCM072392.pdf.

The SPL will be accessible via publicly available labeling repositories.

CARTON AND CONTAINER LABELS

Please electronically submit final printed carton and container labels identical to the
carton and container labels submitted on August 19, 2021, according to the guidance
for industry Providing Regulatory Submissions in Electronic Format — Certain Human
Pharmaceutical Product Applications and Related Submissions Using the eCTD
Specifications at https://www.fda.gov/regulatory-information/search-fda-guidance-
documents/providing-regulatory-submissions-electronic-format-certain-human-
pharmaceutical-product-applications.

All final labeling should be submitted as Product Correspondence to this BLA STN BL
125742 at the time of use and include implementation information on Form FDA 356h.


ADVERTISING AND PROMOTIONAL LABELING
   Case 3:21-cv-01211-AW-HTC Document 31-13 Filed 10/21/21 Page 22 of 161

Page 4 – STN BL 125742/0 – Elisa Harkins


You may submit two draft copies of the proposed introductory advertising and
promotional labeling with Form FDA 2253 to the Advertising and Promotional Labeling
Branch at the following address:
                     Food and Drug Administration
                     Center for Biologics Evaluation and Research
                     Document Control Center
                     10903 New Hampshire Ave.
                     WO71-G112
                     Silver Spring, MD 20993-0002

You must submit copies of your final advertising and promotional labeling at the time of
initial dissemination or publication, accompanied by Form FDA 2253 (21 CFR
601.12(f)(4)).

All promotional claims must be consistent with and not contrary to approved labeling.
You should not make a comparative promotional claim or claim of superiority over other
products unless you have substantial evidence or substantial clinical experience to
support such claims (21 CFR 202.1(e)(6)).

ADVERSE EVENT REPORTING

You must submit adverse experience reports in accordance with the adverse
experience reporting requirements for licensed biological products (21 CFR 600.80),
and you must submit distribution reports at monthly intervals as described in 21 CFR
600.81. For information on adverse experience reporting, please refer to the guidance
for industry Providing Submissions in Electronic Format —Postmarketing Safety
Reports for Vaccines at https://www.fda.gov/regulatory-information/search-fda-
guidance-documents/providing-submissions-electronic-format-postmarketing-safety-
reports-vaccines. For information on distribution reporting, please refer to the guidance
for industry Electronic Submission of Lot Distribution Reports at
http://www.fda.gov/BiologicsBloodVaccines/GuidanceComplianceRegulatoryInformation
/Post-MarketActivities/LotReleases/ucm061966.htm.

PEDIATRIC REQUIREMENTS

Under the Pediatric Research Equity Act (PREA) (21 U.S.C. 355c), all applications for
new active ingredients, new indications, new dosage forms, new dosing regimens, or
new routes of administration are required to contain an assessment of the safety and
effectiveness of the product for the claimed indication in pediatric patients unless this
requirement is waived, deferred, or inapplicable.

We are deferring submission of your pediatric studies for ages younger than 16 years
for this application because this product is ready for approval for use in individuals 16
years of age and older, and the pediatric studies for younger ages have not been
completed.
   Case 3:21-cv-01211-AW-HTC Document 31-13 Filed 10/21/21 Page 23 of 161

Page 5 – STN BL 125742/0 – Elisa Harkins


Your deferred pediatric studies required under section 505B(a) of the Federal Food,
Drug, and Cosmetic Act (FDCA) are required postmarketing studies. The status of
these postmarketing studies must be reported according to 21 CFR 601.28 and section
505B(a)(4)(C) of the FDCA. In addition, section 506B of the FDCA and 21 CFR 601.70
require you to report annually on the status of any postmarketing commitments or
required studies or clinical trials.

Label your annual report as an “Annual Status Report of Postmarketing Study
Requirement/Commitments” and submit it to the FDA each year within 60 calendar
days of the anniversary date of this letter until all Requirements and Commitments
subject to the reporting requirements under section 506B of the FDCA are released or
fulfilled. These required studies are listed below:

   1. Deferred pediatric Study C4591001 to evaluate the safety and effectiveness of
      COMIRNATY in children 12 years through 15 years of age.

      Final Protocol Submission: October 7, 2020

      Study Completion: May 31, 2023

      Final Report Submission: October 31, 2023

   2. Deferred pediatric Study C4591007 to evaluate the safety and effectiveness of
      COMIRNATY in infants and children 6 months to <12 years of age.

      Final Protocol Submission: February 8, 2021

      Study Completion: November 30, 2023

      Final Report Submission: May 31, 2024

   3. Deferred pediatric Study C4591023 to evaluate the safety and effectiveness of
      COMIRNATY in infants <6 months of age.

      Final Protocol Submission: January 31, 2022

      Study Completion: July 31, 2024

      Final Report Submission: October 31, 2024

Submit the protocols to your IND 19736, with a cross-reference letter to this BLA STN
BL 125742 explaining that these protocols were submitted to the IND. Please refer to
the PMR sequential number for each study/clinical trial and the submission number as
shown in this letter.
Submit final study reports to this BLA STN BL 125742. In order for your PREA PMRs to
be considered fulfilled, you must submit and receive approval of an efficacy or a labeling
   Case 3:21-cv-01211-AW-HTC Document 31-13 Filed 10/21/21 Page 24 of 161

Page 6 – STN BL 125742/0 – Elisa Harkins


supplement. For administrative purposes, all submissions related to these required
pediatric postmarketing studies must be clearly designated as:

       Required Pediatric Assessment(s)

We note that you have fulfilled the pediatric study requirement for ages 16 through 17
years for this application.

POSTMARKETING REQUIREMENTS UNDER SECTION 505(o)

Section 505(o) of the Federal Food, Drug, and Cosmetic Act (FDCA) authorizes FDA to
require holders of approved drug and biological product applications to conduct
postmarketing studies and clinical trials for certain purposes, if FDA makes certain
findings required by the statute (section 505(o)(3)(A), 21 U.S.C. 355(o)(3)(A)).

We have determined that an analysis of spontaneous postmarketing adverse events
reported under section 505(k)(1) of the FDCA will not be sufficient to assess known
serious risks of myocarditis and pericarditis and identify an unexpected serious risk of
subclinical myocarditis.

Furthermore, the pharmacovigilance system that FDA is required to maintain under
section 505(k)(3) of the FDCA is not sufficient to assess these serious risks.

Therefore, based on appropriate scientific data, we have determined that you are
required to conduct the following studies:

   4. Study C4591009, entitled “A Non-Interventional Post-Approval Safety Study of
      the Pfizer-BioNTech COVID-19 mRNA Vaccine in the United States,” to evaluate
      the occurrence of myocarditis and pericarditis following administration of
      COMIRNATY.

       We acknowledge the timetable you submitted on August 21, 2021, which states
       that you will conduct this study according to the following schedule:

       Final Protocol Submission: August 31, 2021

       Monitoring Report Submission: October 31, 2022

       Interim Report Submission: October 31, 2023

       Study Completion: June 30, 2025

       Final Report Submission: October 31, 2025

   5. Study C4591021, entitled “Post Conditional Approval Active Surveillance Study
      Among Individuals in Europe Receiving the Pfizer-BioNTech Coronavirus
  Case 3:21-cv-01211-AW-HTC Document 31-13 Filed 10/21/21 Page 25 of 161

Page 7 – STN BL 125742/0 – Elisa Harkins


      Disease 2019 (COVID-19) Vaccine,” to evaluate the occurrence of myocarditis
      and pericarditis following administration of COMIRNATY.

      We acknowledge the timetable you submitted on August 21, 2021, which states
      that you will conduct this study according to the following schedule:

      Final Protocol Submission: August 11, 2021

      Progress Report Submission: September 30, 2021

      Interim Report 1 Submission: March 31, 2022

      Interim Report 2 Submission: September 30, 2022

      Interim Report 3 Submission: March 31, 2023

      Interim Report 4 Submission: September 30, 2023

      Interim Report 5 Submission: March 31, 2024

      Study Completion: March 31, 2024

      Final Report Submission: September 30, 2024

   6. Study C4591021 substudy to describe the natural history of myocarditis and
      pericarditis following administration of COMIRNATY.

      We acknowledge the timetable you submitted on August 21, 2021, which states
      that you will conduct this study according to the following schedule:

      Final Protocol Submission: January 31, 2022

      Study Completion: March 31, 2024

      Final Report Submission: September 30, 2024

   7. Study C4591036, a prospective cohort study with at least 5 years of follow-up for
      potential long-term sequelae of myocarditis after vaccination (in collaboration
      with Pediatric Heart Network).

      We acknowledge the timetable you submitted on August 21, 2021, which states
      that you will conduct this study according to the following schedule:

      Final Protocol Submission: November 30, 2021

      Study Completion: December 31, 2026
   Case 3:21-cv-01211-AW-HTC Document 31-13 Filed 10/21/21 Page 26 of 161

Page 8 – STN BL 125742/0 – Elisa Harkins


       Final Report Submission: May 31, 2027

   8. Study C4591007 substudy to prospectively assess the incidence of subclinical
      myocarditis following administration of the second dose of COMIRNATY in a
      subset of participants 5 through 15 years of age.

       We acknowledge the timetable you submitted on August 21, 2021, which states
       that you will conduct this assessment according to the following schedule:

       Final Protocol Submission: September 30, 2021

       Study Completion: November 30, 2023

       Final Report Submission: May 31, 2024

   9. Study C4591031 substudy to prospectively assess the incidence of subclinical
      myocarditis following administration of a third dose of COMIRNATY in a subset of
      participants 16 to 30 years of age.

       We acknowledge the timetable you submitted on August 21, 2021, which states
       that you will conduct this study according to the following schedule:

       Final Protocol Submission: November 30, 2021

       Study Completion: June 30, 2022

       Final Report Submission: December 31, 2022

Please submit the protocols to your IND 19736, with a cross-reference letter to this BLA
STN BL 125742 explaining that these protocols were submitted to the IND. Please refer
to the PMR sequential number for each study/clinical trial and the submission number
as shown in this letter.

Please submit final study reports to the BLA. If the information in the final study report
supports a change in the label, the final study report must be submitted as a
supplement to this BLA STN BL 125742. For administrative purposes, all submissions
related to these postmarketing studies required under section 505(o) must be submitted
to this BLA and be clearly designated as:

       Required Postmarketing Correspondence under Section 505(o)
       Required Postmarketing Final Report under Section 505(o)
       Supplement contains Required Postmarketing Final Report under Section
       505(o)

Section 505(o)(3)(E)(ii) of the FDCA requires you to report periodically on the status of
any study or clinical trial required under this section. This section also requires you to
periodically report to FDA on the status of any study or clinical trial otherwise
   Case 3:21-cv-01211-AW-HTC Document 31-13 Filed 10/21/21 Page 27 of 161

Page 9 – STN BL 125742/0 – Elisa Harkins


undertaken to investigate a safety issue. In addition, section 506B of the FDCA and 21
CFR 601.70 require you to report annually on the status of any postmarketing
commitments or required studies or clinical trials.

You must describe the status in an annual report on postmarketing studies for this
product. Label your annual report as an Annual Status Report of Postmarketing
Requirements/Commitments and submit it to the FDA each year within 60 calendar
days of the anniversary date of this letter until all Requirements and Commitments
subject to the reporting requirements of section 506B of the FDCA are fulfilled or
released. The status report for each study should include:

      the sequential number for each study as shown in this letter;
      information to identify and describe the postmarketing requirement;
      the original milestone schedule for the requirement;
      the revised milestone schedule for the requirement, if appropriate;
      the current status of the requirement (i.e., pending, ongoing, delayed, terminated,
      or submitted); and,
      an explanation of the status for the study or clinical trial. The explanation should
      include how the study is progressing in reference to the original projected
      schedule, including, the patient accrual rate (i.e., number enrolled to date and the
      total planned enrollment).

As described in 21 CFR 601.70(e), we may publicly disclose information regarding
these postmarketing studies on our website at http://www.fda.gov/Drugs/Guidance
ComplianceRegulatoryInformation/Post-marketingPhaseIVCommitments/default.htm.

We will consider the submission of your annual report under section 506B of the FDCA
and 21 CFR 601.70 to satisfy the periodic reporting requirement under section
505(o)(3)(E)(ii) provided that you include the elements listed in section 505(o) and 21
CFR 601.70. We remind you that to comply with section 505(o), your annual report
must also include a report on the status of any study or clinical trial otherwise
undertaken to investigate a safety issue. Failure to periodically report on the status of
studies or clinical trials required under section 505(o) may be a violation of FDCA
section 505(o)(3)(E)(ii) and could result in regulatory action.

POSTMARKETING COMMITMENTS SUBJECT TO REPORTING REQUIREMENTS
UNDER SECTION 506B

We acknowledge your written commitments as described in your letter of
August 21, 2021 as outlined below:

   10. Study C4591022, entitled “Pfizer-BioNTech COVID-19 Vaccine Exposure during
       Pregnancy: A Non-Interventional Post-Approval Safety Study of Pregnancy and
       Infant Outcomes in the Organization of Teratology Information Specialists
       (OTIS)/MotherToBaby Pregnancy Registry.”

      Final Protocol Submission: July 1, 2021
   Case 3:21-cv-01211-AW-HTC Document 31-13 Filed 10/21/21 Page 28 of 161

Page 10 – STN BL 125742/0 – Elisa Harkins



       Study Completion: June 30, 2025

       Final Report Submission: December 31, 2025

   11. Study C4591007 substudy to evaluate the immunogenicity and safety of lower
      dose levels of COMIRNATY in individuals 12 through <30 years of age.

       Final Protocol Submission: September 30, 2021

       Study Completion: November 30, 2023

       Final Report Submission: May 31, 2024

   12. Study C4591012, entitled “Post-emergency Use Authorization Active Safety
       Surveillance Study Among Individuals in the Veteran’s Affairs Health System
       Receiving Pfizer-BioNTech Coronavirus Disease 2019 (COVID-19) Vaccine.”

       Final Protocol Submission: January 29, 2021

       Study Completion: June 30, 2023

       Final Report Submission: December 31, 2023

   13. Study C4591014, entitled “Pfizer-BioNTech COVID-19 BNT162b2 Vaccine
       Effectiveness Study - Kaiser Permanente Southern California.”

       Final Protocol Submission: March 22, 2021

       Study Completion: December 31, 2022

       Final Report Submission: June 30, 2023

Please submit clinical protocols to your IND 19736, and a cross-reference letter to this
BLA STN BL 125742 explaining that these protocols were submitted to the IND. Please
refer to the PMC sequential number for each study/clinical trial and the submission
number as shown in this letter.

If the information in the final study report supports a change in the label, the final study
report must be submitted as a supplement. Please use the following designators to
prominently label all submissions, including supplements, relating to these
postmarketing study commitments as appropriate:

       Postmarketing Commitment – Correspondence Study Update
       Postmarketing Commitment – Final Study Report
       Supplement contains Postmarketing Commitment – Final Study Report
   Case 3:21-cv-01211-AW-HTC Document 31-13 Filed 10/21/21 Page 29 of 161

Page 11 – STN BL 125742/0 – Elisa Harkins


For each postmarketing study subject to the reporting requirements of 21 CFR 601.70,
you must describe the status in an annual report on postmarketing studies for this
product. Label your annual report as an Annual Status Report of Postmarketing
Requirements/Commitments and submit it to the FDA each year within 60 calendar
days of the anniversary date of this letter until all Requirements and Commitments
subject to the reporting requirements of section 506B of the FDCA are fulfilled or
released. The status report for each study should include:

      the sequential number for each study as shown in this letter;
      information to identify and describe the postmarketing commitment;
      the original schedule for the commitment;
      the status of the commitment (i.e., pending, ongoing, delayed, terminated, or
      submitted); and,
      an explanation of the status including, for clinical studies, the patient accrual rate
      (i.e., number enrolled to date and the total planned enrollment).

As described in 21 CFR 601.70(e), we may publicly disclose information regarding
these postmarketing studies on our website at http://www.fda.gov/Drugs/Guidance
ComplianceRegulatoryInformation/Post-marketingPhaseIVCommitments/default.htm.

POST APPROVAL FEEDBACK MEETING

New biological products qualify for a post approval feedback meeting. Such meetings
are used to discuss the quality of the application and to evaluate the communication
process during drug development and marketing application review. The purpose is to
learn from successful aspects of the review process and to identify areas that could
benefit from improvement. If you would like to have such a meeting with us, please
contact the Regulatory Project Manager for this application.

Sincerely,




Mary A. Malarkey                                     Marion F. Gruber, PhD
Director                                             Director
Office of Compliance                                 Office of Vaccines
 and Biologics Quality                                Research and Review
Center for Biologics                                 Center for Biologics
 Evaluation and Research                              Evaluation and Research
Case 3:21-cv-01211-AW-HTC Document 31-13 Filed 10/21/21 Page 30 of 161




      Marks Decl.
       Exhibit B
    Case 3:21-cv-01211-AW-HTC Document 31-13 Filed 10/21/21 Page 31 of 161




                                                                        October 20, 2021

Pfizer Inc.
Attention: Mr. Amit Patel
235 East 42nd St
New York, NY 10017

Dear Mr. Patel:

On February 4, 2020, pursuant to Section 564(b)(1)(C) of the Federal Food, Drug, and Cosmetic
Act (the FD&C Act or the Act), the Secretary of the Department of Health and Human Services
(HHS) determined that there is a public health emergency that has a significant potential to affect
national security or the health and security of United States citizens living abroad, and that
involves the virus that causes Coronavirus Disease 2019 (COVID-19). 1 On the basis of such
determination, the Secretary of HHS on March 27, 2020, declared that circumstances exist
justifying the authorization of emergency use of drugs and biological products during the
COVID-19 pandemic, pursuant to Section 564 of the Act (21 U.S.C. 360bbb-3), subject to terms
of any authorization issued under that section. 2

On December 11, 2020, the Food and Drug Administration (FDA) issued an Emergency Use
Authorization (EUA) for emergency use of Pfizer-
prevention of COVID-19 for individuals 16 years of age and older pursuant to Section 564 of the
Act. FDA reissued the letter of authorization on: December 23, 2020, 3 February 25, 2021, 4 May
1
 U.S. Department of Health and Human Services, Determination of a Public Health Emergency and Declaration that
Circumstances Exist Justifying Authorizations Pursuant to Section 564(b) of the FD&C Act, 21 U.S.C. § 360bbb-3,
February 4, 2020.
2
 U.S. Department of Health and Human Services, Declaration that Circumstances Exist Justifying Authorizations
Pursuant to Section 564(b) of the Federal Food, Drug, and Cosmetic Act, 21 U.S.C. § 360bbb-3, 85 FR 18250
(April 1, 2020).
3
  In the December 23, 2020 revision, FDA removed reference to the number of doses per vial after dilution from the
letter of authorization, clarified the instructions for vaccination providers reporting to VAERS, and made other
technical corrections. FDA also revised the Fact Sheet for Healthcare Providers Administering Vaccine
(Vaccination Providers) to clarify the number of doses of vaccine per vial after dilution and the instructions for
reporting to VAERS. In addition, the Fact Sheet for Healthcare Providers Administering Vaccine (Vaccination
Providers) and the Fact Sheet for Recipients and Caregivers were revised to include additional information on safety
monitoring and to clarify information about the availability of other COVID-19 vaccines.
4
  In the February 25, 2021 revision, FDA allowed flexibility on the date of submission of monthly periodic safety
reports and revised the requirements for reporting of vaccine administration errors by Pfizer Inc. The Fact Sheet for
Health Care Providers Administering Vaccine (Vaccination Providers) was revised to provide an update to the
storage and transportation temperature for frozen vials, direct the provider to the correct CDC website for
information on monitoring vaccine recipients for the occurrence of immediate adverse reactions, to include data
from a developmental toxicity study, and add adverse reactions that have been identified during post authorization
use. The Fact Sheet for Recipients and Caregivers was revised to add adverse reactions that have been identified
during post authorization use.
     Case 3:21-cv-01211-AW-HTC Document 31-13 Filed 10/21/21 Page 32 of 161

Page 2 – Pfizer Inc.


10, 2021, 5 June 25, 2021, 6 August 12, 2021, 7 and on August 23, 2021, FDA approved
COMIRNATY (COVID-19 Vaccine, mRNA) 8 and reissued the letter in its entirety for both
Pfizer-                        Vaccine and certain uses of COMIRNATY (COVID-19 Vaccine,
mRNA). Subsequently, FDA reissued the letter of authorization on September 22, 2021. 10
        9



On October 20, 2021, having concluded that revising this EUA is appropriate to protect the
public health or safety under Section 564(g)(2) of the Act, FDA is reissuing the September 22,
2021 letter of authorization in its entirety with revisions incorporated to clarify eligibility for the
booster dose of COMIRNATY (COVID-19 Vaccine, mRNA) or Pfizer-BioNTech COVID-19
Vaccine and to authorize for emergency use the administration of a single booster dose of Pfizer-
BioNTech                          or COMIRNATY (COVID-19 Vaccine, mRNA) as a
heterologous booster dose following completion of primary vaccination with another authorized
COVID-19 vaccine. The eligible population(s) and dosing interval for the heterologous booster

5
  In the May 10, 2021 revision, FDA authorized Pfizer-BioNTech Vaccine for the prevention of COVID-19 in
individuals 12 through 15 years of age, as well as for individuals 16 years of age and older. In addition, FDA
revised the Fact Sheet for Healthcare Providers Administering Vaccine (Vaccination Providers) to include the
following Warning: “Syncope (fainting) may occur in association with administration of injectable vaccines, in
particular in adolescents. Procedures should be in place to avoid injury from fainting.” In addition, the Fact Sheet
for Recipients and Caregivers was revised to instruct vaccine recipients or their caregivers to tell the vaccination
provider about fainting in association with a previous injection.
6
 In the June 25, 2021 revision, FDA clarified terms and conditions that relate to export of Pfizer-BioNTech
                                             In addition, the Fact Sheet for Healthcare Providers Administering
Vaccine (Vaccination Providers) was revised to include a Warning about myocarditis and pericarditis following
administration of the Pfizer-BioNTech COVID-19 Vaccine. The Fact Sheet for Recipients and Caregivers was
updated to include information about myocarditis and pericarditis following administration of the Pfizer-BioNTech

7
 In the August 12, 2021 revision, FDA authorized a third dose of the Pfizer-BioNTech COVID-19 Vaccine
administered at least 28 days following the two dose regimen of this vaccine in individuals 12 years of age or older
who have undergone solid organ transplantation, or individuals 12 years of age or older who are diagnosed with
conditions that are considered to have an equivalent level of immunocompromise.
8
 COMIRNATY (COVID-19 Vaccine, mRNA) was approved for active immunization to prevent COVID-19 caused
by severe acute respiratory syndrome coronavirus 2 (SARS-CoV-2) in individuals 16 years of age and older.
9
  In the August 23, 2021 revision, FDA clarified that, subsequent to the FDA approval of COMIRNATY (COVID-
19 Vaccine, mRNA) for the prevention of COVID-19 for individuals 16 years of age and older, this EUA would
remain in place for the Pfizer-BioNTech COVID-19 vaccine for the previously-authorized indication and uses. It
also authorized COMIRNATY (COVID-19 Vaccine, mRNA) under this EUA for certain uses that are not included
in the approved biologics license application (BLA). In addition, the Fact Sheet for Healthcare Providers
Administering Vaccine (Vaccination Providers) was revised to provide updates on expiration dating of the
authorized Pfizer-BioNTech COVID-19 Vaccine and updated language regarding warnings and precautions related
to myocarditis and pericarditis. The Fact Sheet for Recipients and Caregivers was updated as the Vaccine
Information Fact Sheet for Recipients and Caregivers, which comprises the Fact Sheet for the authorized Pfizer-
BioNTech COVID-19 Vaccine and information about the FDA-licensed vaccine, COMIRNATY (COVID-19
Vaccine, mRNA).
10
  In the September 22, 2021 revision, FDA authorized the administration of a single booster dose of COMIRNATY
(COVID-19 Vaccine, mRNA) or Pfizer-BioNTech COVID-19 Vaccine at least 6 months after completing the
primary series of this vaccine in individuals: 65 years of age and older; 18 through 64 years of age at high risk of
severe COVID-19; and 18 through 64 years of age whose frequent institutional or occupational exposure to SARS-
CoV-2 puts them at high risk of serious complications of COVID-19 including severe COVID-19.
     Case 3:21-cv-01211-AW-HTC Document 31-13 Filed 10/21/21 Page 33 of 161

Page 3 – Pfizer Inc.


dose are the same as those authorized for a booster dose of the vaccine used for primary
vaccination.

COMIRNATY (COVID-19 Vaccine, mRNA) is the same formulation as the Pfizer-BioNTech
COVID-19 Vaccine and can be used interchangeably with the Pfizer-BioNTech COVID-19
Vaccine to provide doses for COVID-19 primary vaccination or a booster dose. 11

For the December 11, 2020 authorization for individuals 16 years of age and older, FDA
reviewed safety and efficacy data from an ongoing Phase 1/2/3 trial in approximately 44,000
participants randomized 1:1 to receive Pfizer-BioNTech                   accine or saline control.
The trial enrolled participants 12 years of age and older. FDA’s review at that time considered
the safety and effectiveness data as they relate to the request for emergency use authorization in
individuals 16 years of age and older. FDA’s review of the available safety data from 37,586 of
the participants 16 years of age and older, who were followed for a median of two months after
receiving the second dose, did not identify specific safety concerns that would preclude issuance
of an EUA. FDA’s analysis of the available efficacy data from 36,523 participants 12 years of
age and older without evidence of SARS-CoV-2 infection prior to 7 days after dose 2 confirmed
that the vaccine was 95% effective (95% credible interval 90.3, 97.6) in preventing COVID-19
occurring at least 7 days after the second dose (with 8 COVID-19 cases in the vaccine group
compared to 162 COVID-19 cases in the placebo group). Based on these data, and review of
manufacturing information regarding product quality and consistency, FDA concluded that it is
reasonable to believe that Pfizer-                                  may be effective. Additionally,
FDA determined it is reasonable to conclude, based on the totality of the scientific evidence
available, that the known and potential benefits of Pfizer-
outweigh the known and potential risks of the vaccine, for the prevention of COVID-19 in
individuals 16 years of age and older. Finally, on December 10, 2020, the Vaccines and Related
Biological Products Advisory Committee voted in agreement with this conclusion.

For the May 10, 2021 authorization for individuals 12 through 15 years of age, FDA reviewed
safety and effectiveness data from the above-referenced, ongoing Phase 1/2/3 trial that enrolled
approximately 46,000 participants, including 2,260 participants 12 through 15 years of age.
Trial participants were randomized 1:1 to receive Pfizer-BioNTech COVID-19 Vaccine or saline
control. FDA’s review of the available safety data from 2,260 participants 12 through 15 years
of age, who were followed for a median of 2 months after receiving the second dose, did not
identify specific safety concerns that would preclude issuance of an EUA. FDA’s analysis of
SARS-CoV-2 50% neutralizing antibody titers 1 month after the second dose of Pfizer-
BioNTech COVID-19 Vaccine in a subset of participants who had no serological or virological
evidence of past SARS-CoV-2 infection confirm that the geometric mean antibody titer in
participants 12 through 15 years of age was non-inferior to the geometric mean antibody titer in
participants 16 through 25 years of age. FDA’s analysis of available descriptive efficacy data
from 1,983 participants 12 through 15 years of age without evidence of SARS-CoV-2 infection
11
  The licensed vaccine has the same formulation as the EUA-authorized vaccine and the products can be used
interchangeably to provide doses for primary vaccination or a booster dose without presenting any safety or
effectiveness concerns. The products are legally distinct with certain differences that do not impact safety or
effectiveness.
   Case 3:21-cv-01211-AW-HTC Document 31-13 Filed 10/21/21 Page 34 of 161

Page 4 – Pfizer Inc.


prior to 7 days after dose 2 confirm that the vaccine was 100% effective (95% confidence
interval 75.3, 100.0) in preventing COVID-19 occurring at least 7 days after the second dose
(with no COVID-19 cases in the vaccine group compared to 16 COVID-19 cases in the placebo
group). Based on these data, FDA concluded that it is reasonable to believe that Pfizer-

Additionally, FDA determined it is reasonable to conclude, based on the totality of the scientific
evidence available, that the known and potential benefits of Pfizer-
Vaccine outweigh the known and potential risks of the vaccine, for the prevention of COVID-19
in individuals 12 through 15 years of age.

For the August 12, 2021 authorization of a third primary series dose in individuals 12 years of
age or older who have undergone solid organ transplantation, or individuals 12 years of age or
older who are diagnosed with conditions that are considered to have an equivalent level of
immunocompromise, FDA reviewed safety and effectiveness data reported in two manuscripts
on solid organ transplant recipients. The first study was a single arm study conducted in 101
individuals who had undergone various solid organ transplant procedures (heart, kidney, liver,
lung, pancreas) a median of 97±8 months earlier. A third dose of the Pfizer-BioNTech COVID-
19 Vaccine was administered to 99 of these individuals approximately 2 months after they had
received a second dose. Levels of total SARS-CoV-2 binding antibodies meeting the pre-
specified criteria for success occurred four weeks after the third dose in 26/59 (44.0%) of those
who were initially considered to be seronegative and received a third dose of the Pfizer-
BioNTech COVID-19 Vaccine; 67/99 (68%) of the entire group receiving a third vaccination
were subsequently considered to have levels of antibodies indicative of a significant response. In
those who received a third vaccine dose, the adverse event profile was similar to that after the
second dose and no grade 3 or grade 4 events were reported. A supportive secondary study
describes a double-blind, randomized-controlled study conducted in 120 individuals who had
undergone various solid organ transplant procedures (heart, kidney, kidney-pancreas, liver, lung,
pancreas) a median of 3.57 years earlier (range 1.99-6.75 years). A third dose of a similar
messenger RNA vaccine (the Moderna COVID-19 vaccine) was administered to 60 individuals
approximately 2 months after they had received a second dose (i.e., doses at 0, 1 and 3 months);
saline placebo was given to 60 individuals for comparison. The primary outcome was anti-RBD
antibody at 4 months greater than 100 U/mL. This titer was selected based on NHP challenge
studies as well as a large clinical cohort study to indicate this antibody titer was protective.
Secondary outcomes were based on a virus neutralization assay and polyfunctional T cell
responses. Baseline characteristics were comparable between the two study arms as were pre-
intervention anti-RBD titer and neutralizing antibodies. Levels of total SARS-CoV-2 binding
antibodies indicative of a significant response occurred four weeks after the third dose in 33/60
(55.0%) of the Moderna COVID-19 vaccinated group and 10/57 (17.5%) of the placebo
individuals. In the 60 individuals who received a third vaccine dose, the adverse event profile
was similar to that after the second dose and no grade 3 or grade 4 adverse events were reported.
Despite the moderate enhancement in antibody titers, the totality of data (i.e., supportive paper
by Hall et al. demonstrated efficacy of the product in the elderly and persons with co-
morbidities) supports the conclusion that a third dose of the Pfizer-BioNTech COVID-19
Vaccine may be effective in this population, and that the known and potential benefits of a third
dose of Pfizer-BioNTech COVID-19 Vaccine outweigh the known and potential risks of the
vaccine for immunocompromised individuals at least 12 years of age who have received two
   Case 3:21-cv-01211-AW-HTC Document 31-13 Filed 10/21/21 Page 35 of 161

Page 5 – Pfizer Inc.


doses of the Pfizer-BioNTech COVID-19 Vaccine and who have undergone solid organ
transplantation, or who are diagnosed with conditions that are considered to have an equivalent
level of immunocompromise.

For the September 22, 2021 authorization of a single booster dose administered at least 6 months
after completing the primary series in individuals: 65 years of age and older; 18 through 64 years
of age at high risk of severe COVID-19; and 18 through 64 years of age whose frequent
institutional or occupational exposure to SARS-CoV-2 puts them at high risk of serious
complications of COVID-19 including severe COVID-19, FDA reviewed safety and
effectiveness data from the above-referenced, ongoing Phase 1/2/3 trial in which 329 participants
18 through 75 years of age received a booster dose of the Pfizer-BioNTech COVID-19 Vaccine
approximately 6 months (range 4.8 to 8.8 months) after completion of the primary series. FDA’s
review of the available safety data from 329 participants 18 through 75 years of age, who had
been followed for a median of 2.6 months after receiving the booster dose, did not identify
specific safety concerns that would preclude issuance of an EUA. The effectiveness of the
booster dose of the Pfizer-BioNTech COVID-19 Vaccine is based on an assessment of 50%
neutralizing antibody titers (NT50) against SARS-CoV-2 (USA_WA1/2020). FDA’s analysis of
SARS-CoV-2 NT50 one month after the booster dose compared to 1 month after the primary
series in study participants 18 through 55 years of age who had no serological or virological
evidence of past SARS-CoV-2 infection up to 1 month after the booster dose confirmed
noninferiority for both geometric mean ratio and difference in seroresponse rates. Based on the
totality of the scientific evidence available, including data from the above-referenced clinical
trial, FDA concluded that a booster dose the Pfizer-BioNTech COVID-19 Vaccine may be
effective, and that the known and potential benefits of a single booster dose at least 6 months
after completing the primary series outweigh the known and potential risks for individuals 65
years of age and older; individuals 18 through 64 years of age at high risk of severe COVID-19;
and individuals 18 through 64 years of age whose frequent institutional or occupational exposure
to SARS-CoV-2 puts them at high risk of serious complications of COVID-19 including severe
COVID-19.

For the October 20, 2021 authorization of a single booster dose as a heterologous booster dose
following completion of primary vaccination with another authorized COVID-19 vaccine, FDA
reviewed data from an ongoing Phase1/2 clinical trial in participants 19-85 years of age. In this
trial, adults who had completed primary vaccination with a Moderna COVID-19 Vaccine 2-dose
series (N=151), a Janssen COVID-19 Vaccine single dose (N=156), or a Pfizer-BioNTech
COVID-19 Vaccine 2-dose series (N=151) at least 12 weeks prior to enrollment and who
reported no history of SARS-CoV-2 infection were randomized 1:1:1 to receive a booster dose of
one of three vaccines: Moderna COVID-19 Vaccine, Janssen COVID-19 Vaccine, or Pfizer-
BioNTech COVID-19 Vaccine. Adverse events were assessed through 28 days after the booster
dose. An overall review of adverse reactions reported following the Pfizer-BioNTech COVID-19
Vaccine heterologous booster dose did not identify any new safety concerns, as compared with
adverse reactions reported following Pfizer-BioNTech COVID-19 Vaccine primary series doses
or homologous booster dose. Neutralizing antibody titers, as measured by a pseudovirus
neutralization assay using a lentivirus expressing the SARS-CoV-2 Spike protein with D614G
     Case 3:21-cv-01211-AW-HTC Document 31-13 Filed 10/21/21 Page 36 of 161

Page 6 – Pfizer Inc.


mutation, were assessed on Day 1 prior to administration of the booster dose and on Day 15 after
the booster dose. A booster response to the Pfizer-BioNTech COVID-19 Vaccine was
demonstrated regardless of primary vaccination. Based on the on the totality of the scientific
evidence available, including data from the above-referenced clinical trial, FDA concluded that a
heterologous booster dose of the Pfizer-BioNTech COVID-19 Vaccine may be effective, and
that the known and potential benefits of a heterologous booster dose of the Pfizer-BioNTech
COVID-19 Vaccine following completion of primary vaccination with another authorized
COVID-19 vaccine outweigh the known and potential risks.

Having concluded that the criteria for issuance of this authorization under Section 564(c) of the
Act are met, I am authorizing the emergency use of Pfizer-BioNTech COV                      for the
prevention of COVID-19, as described in the Scope of Authorization section of this letter
(Section II) and subject to the terms of this authorization. Additionally, as specified in
subsection III.BB, I am authorizing use of COMIRNATY (COVID-19 Vaccine, mRNA) under
this EUA when used to provide: (1) a two-dose regimen for individuals aged 12 through 15
years; (2) a third dose to individuals 12 years of age or older who have undergone solid organ
transplantation or who are diagnosed with conditions that are considered to have an equivalent
level of immunocompromise; (3) a single homologous booster dose at least 6 months after
completing a primary series to individuals 65 years of age and older, 18 through 64 years of age
at high risk of severe COVID-19, and 18 through 64 years of age with frequent institutional or
occupational exposure to SARS-CoV-2; and (4) a heterologous booster dose to certain
individuals who have completed primary vaccination with a different authorized COVID-
19 vaccine as described in the Scope of Authorization section of this letter (Section II).

I.       Criteria for Issuance of Authorization
                                                                                     12
I have concluded that the emergency use of Pfizer-                                      for the
prevention of COVID-19 when administered as described in the Scope of Authorization (Section
II) meets the criteria for issuance of an authorization under Section 564(c) of the Act, because:

        A. SARS-CoV-2 can cause a serious or life-threatening disease or condition, including
           severe respiratory illness, to humans infected by this virus;

        B. Based on the totality of scientific evidence available to FDA, it is reasonable to believe
           that Pfizer-                                 may be effective in preventing COVID-19,
           and that, when used under the conditions described in this authorization, the known and
           potential benefits of Pfizer-                                when used to prevent
           COVID-19 outweigh its known and potential risks; and




12
  In this section (Section I), references to Pfizer-                  also apply to COMIRNATY
(COVID-19 Vaccine, mRNA).
      Case 3:21-cv-01211-AW-HTC Document 31-13 Filed 10/21/21 Page 37 of 161

Page 7 – Pfizer Inc.


          C. There is no adequate, approved, and available alternative 13 Pfizer-BioNTech
                                 to prevent COVID-19. 14

II.        Scope of Authorization

I have concluded, pursuant to Section 564(d)(1) of the Act, that the scope of this authorization is
limited as follows:

           Pfizer Inc. will supply Pfizer-                                either directly or through
           authorized distributor(s), to emergency response stakeholders 16 as directed by the U.S.
                                     15

           government, including the Centers for Disease Control and Prevention (CDC) and/or
           other designee, for use consistent with the terms and conditions of this EUA;
           The Pfizer-                                  covered by this authorization will be
                                                  17
           administered by vaccination providers and used only to prevent COVID-19 in
           individuals ages 12 and older with a two-dose primary regimen and to provide:

13
  Although COMIRNATY (COVID-19 Vaccine, mRNA) is approved to prevent COVID-19 in individuals 16 years
of age and older, there is not sufficient approved vaccine available for distribution to this population in its entirety at
the time of reissuance of this EUA. Additionally, there are no COVID-19 vaccines that are approved to provide:
COVID-19 vaccination in individuals age 12 through 15; a third primary series dose to certain immunocompromised
populations described in this EUA; a homologous booster dose to the authorized population described in this EUA;
or a heterologous booster dose following completion of primary vaccination with another authorized COVID-19
vaccine.
14
     No other criteria of issuance have been prescribed by regulation under Section 564(c)(4) of the Act.
15
  “Authorized Distributor(s)” are identified by Pfizer Inc. or, if applicable, by a U.S. government entity, such as the
Centers for Disease Control and Prevention (CDC) and/or other designee, as an entity or entities allowed to
distribute authorized Pfizer-
16
  For purposes of this letter, “emergency response stakeholder” refers to a public health agency and its delegates
that have legal responsibility and authority for responding to an incident, based on political or geographical
boundary lines (e.g., city, county, tribal, territorial, State, or Federal), or functional (e.g., law enforcement or public
health range) or sphere of authority to administer, deliver, or distribute vaccine in an emergency situation. In some
cases (e.g., depending on a state or local jurisdiction’s COVID-19 vaccination response organization and plans),
there might be overlapping roles and responsibilities among “emergency response stakeholders” and “vaccination
providers” (e.g., if a local health department is administering COVID-19 vaccines; if a pharmacy is acting in an
official capacity under the authority of the state health department to administer COVID-19 vaccines). In such
cases, it is expected that the conditions of authorization that apply to emergency response stakeholders and
vaccination providers will all be met.
17
   For purposes of this letter, “vaccination provider” refers to the facility, organization, or healthcare provider
licensed or otherwise authorized by the emergency response stakeholder (e.g., non-physician healthcare
professionals, such as nurses and pharmacists pursuant to state law under a standing order issued by the state health
officer) to administer or provide vaccination services in accordance with the applicable emergency response
stakeholder’s official COVID-19 vaccination and emergency response plan(s) and who is enrolled in the CDC
COVID-19 Vaccination Program. If the vaccine is exported from the United States, a “vaccination provider” is a
provider that is authorized to administer this vaccine in accordance with the laws of the country in which it is
administered. For purposes of this letter, “healthcare provider” also refers to a person authorized by the U.S.
Department of Health and Human Services (e.g., under the PREP Act Declaration for Medical Countermeasures
against COVID-19) to administer FDA-authorized COVID-19 vaccine (e.g., qualified pharmacy technicians and
State-authorized pharmacy interns acting under the supervision of a qualified pharmacist). See, e.g., HHS. Fourth
Amendment to the Declaration Under the Public Readiness and Emergency Preparedness Act for Medical
Countermeasures Against COVID-19 and Republication of the Declaration. 85 FR 79190 (December 9, 2020).
     Case 3:21-cv-01211-AW-HTC Document 31-13 Filed 10/21/21 Page 38 of 161

Page 8 – Pfizer Inc.


            o a third primary series dose to individuals 12 years of age or older who have
                undergone solid organ transplantation, or who are diagnosed with conditions that
                are considered to have an equivalent level of immunocompromise;
            o a single booster dose at least 6 months after completion of a primary series of the
                vaccine to individuals: 65 years of age or older; 18 through 64 years of age at high
                risk of severe COVID-19; and 18 through 64 years of age with frequent
                institutional or occupational exposure to SARS-CoV-2; and
            o a single booster dose as a heterologous booster dose following completion of
                primary vaccination with another authorized COVID-19 vaccine, where the
                eligible population(s) and dosing interval for the heterologous booster dose are
                the same as those authorized for a booster dose of the vaccine used for primary
                vaccination.
        Pfizer-                                 may be administered by a vaccination provider
        without an individual prescription for each vaccine recipient.

This authorization also covers the use of the licensed COMIRNATY (COVID-19 Vaccine,
mRNA) product when used to provide: (1) a two-dose primary regimen (0.3 mL each, 3 weeks
apart) for individuals aged 12 through 15 years; (2) a third primary series dose at least 28 days
following the second dose to individuals 12 years of age or older who have undergone solid
organ transplantation or who are diagnosed with conditions that are considered to have an
equivalent level of immunocompromise; (3) a single booster dose (0.3 mL) at least 6 months
after completion of the primary series to individuals 65 years of age and older, 18 through 64
years of age at high risk of severe COVID-19, and 18 through 64 years of age with frequent
institutional or occupational exposure to SARS-CoV-2; and (4) a single booster dose (0.3 mL) as
a heterologous booster dose following completion of primary vaccination with another
authorized COVID-19 vaccine, where the eligible population(s) and dosing interval for the
heterologous booster dose are the same as those authorized for a booster dose of the vaccine used
for primary vaccination.

Product Description 18

The Pfizer-BioNTech COVID-19 Vaccine is supplied as a frozen suspension in multiple dose
vials; each vial must be diluted with 1.8 mL of sterile 0.9% Sodium Chloride Injection, USP
prior to use to form the vaccine. The Pfizer-BioNTech COVID-19 Vaccine does not contain a
preservative.

Each 0.3 mL dose of the Pfizer-BioNTech COVID-19 Vaccine contains 30 mcg of a nucleoside-
modified messenger RNA (modRNA) encoding the viral spike (S) glycoprotein of SARS-CoV-2.
Each dose of the Pfizer-BioNTech COVID-19 Vaccine also includes the following ingredients:
lipids (0.43 mg (4-hydroxybutyl)azanediyl)bis(hexane-6,1-diyl)bis(2-hexyldecanoate), 0.05 mg
2[(polyethylene glycol)-2000]-N,N-ditetradecylacetamide, 0.09 mg 1,2-distearoyl-sn-glycero-3-
phosphocholine, and 0.2 mg cholesterol), 0.01 mg potassium chloride, 0.01 mg monobasic

18
  For COMIRNATY (COVID-19 Vaccine, mRNA) product description, please see the COMIRNATY (COVID-19
Vaccine, mRNA) prescribing information, found here:
https://www.fda.gov/media/151707/download.
     Case 3:21-cv-01211-AW-HTC Document 31-13 Filed 10/21/21 Page 39 of 161

Page 9 – Pfizer Inc.


potassium phosphate, 0.36 mg sodium chloride, 0.07 mg dibasic sodium phosphate dihydrate,
and 6 mg sucrose. The diluent (0.9% Sodium Chloride Injection) contributes an additional 2.16
mg sodium chloride per dose.

The manufacture of the authorized Pfizer-                                    is limited to those
facilities identified and agreed upon in Pfizer’s request for authorization.

The Pfizer-BioNTech COVID-19 Vaccine vial label and carton labels are clearly marked for
“Emergency Use Authorization.” The Pfizer-                                    is authorized to be
distributed, stored, further redistributed, and administered by emergency response stakeholders
when packaged in the authorized manufacturer packaging (i.e., vials and cartons), despite the
fact that the vial and carton labels may not contain information that otherwise would be required
under the FD&C Act.

Pfizer-                                  is authorized for emergency use with the following
product-specific information required to be made available to vaccination providers and
recipients, respectively (referred to as “authorized labeling”):

        Fact Sheet for Healthcare Providers Administering Vaccine (Vaccination Providers):
        Emergency Use Authorization (EUA) of Pfizer-                                 to Prevent
        Coronavirus Disease 2019 (COVID-19)
        Vaccine Information Fact Sheet for Recipients and Caregivers About COMIRNATY
        (COVID-19 Vaccine, mRNA) and Pfizer-BioNTech COVID-19 Vaccine to Prevent
        Coronavirus Disease (COVID-19)

I have concluded, pursuant to Section 564(d)(2) of the Act, that it is reasonable to believe that
the known and potential benefits of Pfizer-                                 , 19 when used to
prevent COVID-19 and used in accordance with this Scope of Authorization (Section II),
outweigh its known and potential risks.

I have concluded, pursuant to Section 564(d)(3) of the Act, based on the totality of scientific
evidence available to FDA, that it is reasonable to believe that Pfizer-
Vaccine may be effective in preventing COVID-19 when used in accordance with this Scope of
Authorization (Section II), pursuant to Section 564(c)(2)(A) of the Act.

Having reviewed the scientific information available to FDA, including the information
supporting the conclusions described in Section I above, I have concluded that Pfizer-BioNTech
                     (as described in this Scope of Authorization (Section II)) meets the criteria set
forth in Section 564(c) of the Act concerning safety and potential effectiveness.

The emergency use of Pfizer-                                   under this EUA must be consistent
with, and may not exceed, the terms of the Authorization, including the Scope of Authorization
(Section II) and the Conditions of Authorization (Section III). Subject to the terms of this EUA and

19
  The conclusions supporting authorization stated in this section (Section II) also apply to COMIRNATY (COVID-
19 Vaccine, mRNA).
     Case 3:21-cv-01211-AW-HTC Document 31-13 Filed 10/21/21 Page 40 of 161

Page 10 – Pfizer Inc.


under the circumstances set forth in the Secretary of HHS’s determination under Section
564(b)(1)(C) described above and the Secretary of HHS’s corresponding declaration under Section
564(b)(1), Pfizer-                                   is authorized to prevent COVID-19 in individuals
12 years of age and older as described in the Scope of Authorization (Section II) under this EUA,
despite the fact that it does not meet certain requirements otherwise required by applicable federal
law.

III.     Conditions of Authorization

Pursuant to Section 564 of the Act, I am establishing the following conditions on this authorization:

Pfizer Inc. and Authorized Distributor(s)

            A. Pfizer Inc. and authorized distributor(s) will ensure that the authorized Pfizer-
                                        Vaccine is distributed, as directed by the U.S. government,
               including CDC and/or other designee, and the authorized labeling (i.e., Fact Sheets)
               will be made available to vaccination providers, recipients, and caregivers consistent
               with the terms of this letter.

            B. Pfizer Inc. and authorized distributor(s) will ensure that appropriate storage and cold
               chain is maintained until delivered to emergency response stakeholders’ receipt sites.

            C. Pfizer Inc. will ensure that the terms of this EUA are made available to all relevant
               stakeholders (e.g., emergency response stakeholders, authorized distributors, and
               vaccination providers) involved in distributing or receiving authorized Pfizer-
                                                 . Pfizer Inc. will provide to all relevant stakeholders a
               copy of this letter of authorization and communicate any subsequent amendments that
               might be made to this letter of authorization and its authorized labeling.

            D. Pfizer Inc. may develop and disseminate instructional and educational materials (e.g.,
               video regarding vaccine handling, storage/cold-chain management, preparation,
               disposal) that are consistent with the authorized emergency use of the vaccine as
               described in the letter of authorization and authorized labeling, without FDA’s review
               and concurrence, when necessary to meet public health needs during an emergency.
               Any instructional and educational materials that are inconsistent with the authorized
               labeling are prohibited.

            E. Pfizer Inc. may request changes to this authorization, including to the authorized Fact
               Sheets for the vaccine. Any request for changes to this EUA must be submitted to
               Office of Vaccines Research and Review (OVRR)/Center for Biologics Evaluation
               and Research (CBER). Such changes require appropriate authorization prior to
               implementation.20

20
  The following types of revisions may be authorized without reissuing this letter: (1) changes to the authorized
labeling; (2) non-substantive editorial corrections to this letter; (3) new types of authorized labeling, including new
fact sheets; (4) new carton/container labels; (5) expiration dating extensions; (6) changes to manufacturing
   Case 3:21-cv-01211-AW-HTC Document 31-13 Filed 10/21/21 Page 41 of 161

Page 11 – Pfizer Inc.



            F. Pfizer Inc. will report to Vaccine Adverse Event Reporting System (VAERS):
                   Serious adverse events (irrespective of attribution to vaccination);
                   Cases of Multisystem Inflammatory Syndrome in children and adults; and
                   Cases of COVID-19 that result in hospitalization or death, that are reported to
                   Pfizer Inc.
               These reports should be submitted to VAERS as soon as possible but no later than
               15 calendar days from initial receipt of the information by Pfizer Inc.

            G. Pfizer Inc. must submit to Investigational New Drug application (IND) number
               19736 periodic safety reports at monthly intervals in accordance with a due date
               agreed upon with the Office of Biostatistics and Epidemiology (OBE)/CBER
               beginning after the first full calendar month after authorization. Each periodic safety
               report is required to contain descriptive information which includes:
                   A narrative summary and analysis of adverse events submitted during the
                   reporting interval, including interval and cumulative counts by age groups, special
                   populations (e.g., pregnant women), and adverse events of special interest;
                   A narrative summary and analysis of vaccine administration errors, whether or
                   not associated with an adverse event, that were identified since the last reporting
                   interval;
                   Newly identified safety concerns in the interval; and
                   Actions taken since the last report because of adverse experiences (for example,
                   changes made to Healthcare Providers Administering Vaccine (Vaccination
                   Providers) Fact Sheet, changes made to studies or studies initiated).

            H. No changes will be implemented to the description of the product, manufacturing
               process, facilities, or equipment without notification to and concurrence by FDA.

            I. All manufacturing facilities will comply with Current Good Manufacturing Practice
               requirements.

            J. Pfizer Inc. will submit to the EUA file Certificates of Analysis (CoA) for each drug
               product lot at least 48 hours prior to vaccine distribution. The CoA will include the
               established specifications and specific results for each quality control test performed
               on the final drug product lot.

            K. Pfizer Inc. will submit to the EUA file quarterly manufacturing reports, starting in
               July 2021, that include a listing of all Drug Substance and Drug Product lots
               produced after issuance of this authorization. This report must include lot number,
               manufacturing site, date of manufacture, and lot disposition, including those lots that

processes, including tests or other authorized components of manufacturing; (7) new conditions of authorization to
require data collection or study. For changes to the authorization, including the authorized labeling, of the type
listed in (3), (6), or (7), review and concurrence is required from the Preparedness and Response Team
(PREP)/Office of the Center Director (OD)/CBER and the Office of Counterterrorism and Emerging Threats
(OCET)/Office of the Chief Scientist (OCS).
   Case 3:21-cv-01211-AW-HTC Document 31-13 Filed 10/21/21 Page 42 of 161

Page 12 – Pfizer Inc.


              were quarantined for investigation or those lots that were rejected. Information on the
              reasons for lot quarantine or rejection must be included in the report.

          L. Pfizer Inc. and authorized distributor(s) will maintain records regarding release of
             Pfizer-                                 for distribution (i.e., lot numbers, quantity,
             release date).

          M. Pfizer Inc. and authorized distributor(s) will make available to FDA upon request any
             records maintained in connection with this EUA.

          N. Pfizer Inc. will conduct post-authorization observational studies to evaluate the
             association between Pfizer-BioNTech COVID-19 Vaccine and a pre-specified list of
             adverse events of special interest, including myocarditis and pericarditis, along with
             deaths and hospitalizations, and severe COVID-19. The study population should
             include individuals administered the authorized Pfizer-BioNTech COVID-19
             Vaccine under this EUA in the general U.S. population (12 years of age and older),
             individuals who receive a booster dose, populations of interest such as healthcare
             workers, pregnant women, immunocompromised individuals, subpopulations with
             specific comorbidities. The studies should be conducted in large scale databases with
             an active comparator. Pfizer Inc. will provide protocols and status update reports to
             the IND 19736 with agreed-upon study designs and milestone dates.

Emergency Response Stakeholders

          O. Emergency response stakeholders will identify vaccination sites to receive authorized
             Pfizer-                                   and ensure its distribution and administration,
             consistent with the terms of this letter and CDC’s COVID-19 Vaccination Program.

          P. Emergency response stakeholders will ensure that vaccination providers within their
             jurisdictions are aware of this letter of authorization, and the terms herein and any
             subsequent amendments that might be made to the letter of authorization, instruct
             them about the means through which they are to obtain and administer the vaccine
             under the EUA, and ensure that the authorized labeling [i.e., Fact Sheet for Healthcare
             Providers Administering Vaccine (Vaccination Providers) and Vaccine Information
             Fact Sheet for Recipients and Caregivers] is made available to vaccination providers
             through appropriate means (e.g., e-mail, website).

          Q. Emergency response stakeholders receiving authorized Pfizer-
             Vaccine will ensure that appropriate storage and cold chain is maintained.

Vaccination Providers

          R. Vaccination providers will administer the vaccine in accordance with the
             authorization and will participate and comply with the terms and training required by
             CDC’s COVID-19 Vaccination Program.
   Case 3:21-cv-01211-AW-HTC Document 31-13 Filed 10/21/21 Page 43 of 161

Page 13 – Pfizer Inc.


          S. Vaccination providers will provide the Vaccine Information Fact Sheet for Recipients
             and Caregivers to each individual receiving vaccination and provide the necessary
             information for receiving their second dose and/or third dose.

          T. Vaccination providers administering the vaccine must report the following
             information associated with the administration of the vaccine of which they become
             aware to VAERS in accordance with the Fact Sheet for Healthcare Providers
             Administering Vaccine (Vaccination Providers):
                 Vaccine administration errors whether or not associated with an adverse event
                 Serious adverse events (irrespective of attribution to vaccination)
                 Cases of Multisystem Inflammatory Syndrome in children and adults
                 Cases of COVID-19 that result in hospitalization or death
             Complete and submit reports to VAERS online at
             https://vaers.hhs.gov/reportevent.html. The VAERS reports should include the
             words “Pfizer-                                    EUA” in the description section of
             the report. More information is available at vaers.hhs.gov or by calling 1-800-822-
             7967. To the extent feasible, report to Pfizer Inc. by contacting 1-800-438-1985 or
             by providing a copy of the VAERS form to Pfizer Inc.; Fax: 1-866-635-8337.

          U. Vaccination providers will conduct any follow-up requested by the U.S
             government, including CDC, FDA, or other designee, regarding adverse events to
             the extent feasible given the emergency circumstances.

          V. Vaccination providers will monitor and comply with CDC and/or emergency
             response stakeholder vaccine management requirements (e.g., requirements
             concerning obtaining, tracking, and handling vaccine) and with requirements
             concerning reporting of vaccine administration data to CDC.

          W. Vaccination providers will ensure that any records associated with this EUA are
             maintained until notified by FDA. Such records will be made available to CDC,
             and FDA for inspection upon request.
Conditions Related to Printed Matter, Advertising, and Promotion

          X. All descriptive printed matter, advertising, and promotional material, relating to the
             use of the Pfizer-                                 shall be consistent with the
             authorized labeling, as well as the terms set forth in this EUA, and meet the
             requirements set forth in Section 502(a) and (n) of the FD&C Act and FDA
             implementing regulations.

          Y. All descriptive printed matter, advertising, and promotional material relating to the
             use of the Pfizer-                                 clearly and conspicuously shall state
             that:
   Case 3:21-cv-01211-AW-HTC Document 31-13 Filed 10/21/21 Page 44 of 161

Page 14 – Pfizer Inc.


                  This product has not been approved or licensed by FDA, but has been authorized
                  for emergency use by FDA, under an EUA to prevent Coronavirus Disease 2019
                  (COVID-19) for use in individuals 12 years of age and older; and
                  The emergency use of this product is only authorized for the duration of the
                  declaration that circumstances exist justifying the authorization of emergency use
                  of the medical product under Section 564(b)(1) of the FD&C Act unless the
                  declaration is terminated or authorization revoked sooner.

Condition Related to Export

          Z. If the Pfizer-                                 is exported from the United States,
             conditions C, D, and O through Y do not apply, but export is permitted only if 1) the
             regulatory authorities of the country in which the vaccine will be used are fully
             informed that this vaccine is subject to an EUA and is not approved or licensed by
             FDA and 2) the intended use of the vaccine will comply in all respects with the laws
             of the country in which the product will be used. The requirement in this letter that
             the authorized labeling (i.e., Fact Sheets) be made available to vaccination providers,
             recipients, and caregivers in condition A will not apply if the authorized labeling (i.e.,
             Fact Sheets) are made available to the regulatory authorities of the country in which
             the vaccine will be used.

Conditions With Respect to Use of Licensed Product

          AA. COMIRNATY (COVID-19 Vaccine, mRNA) is licensed for individuals 16 years of
            age and older. There remains, however, a significant amount of Pfizer-BioNTech
            COVID-19 Vaccine that was manufactured and labeled in accordance with this
            emergency use authorization. The authorization remains in place with respect to the
            Pfizer-BioNTech COVID-19 Vaccine for this population.

          BB. This authorization also covers the use of the licensed COMIRNATY (COVID-19
             Vaccine, mRNA) product when used to provide: (1) a two-dose primary regimen for
             individuals aged 12 through 15 years; (2) a third primary series dose to individuals 12
             years of age or older who have undergone solid organ transplantation or who are
             diagnosed with conditions that are considered to have an equivalent level of
             immunocompromise; (3) a single booster dose at least 6 months after completing the
             primary series to individuals 65 years of age or older, 18 through 64 years of age at
             high risk of severe COVID-19, and 18 through 64 years of age with frequent
             institutional or occupational exposure to SARS-CoV-2; and (4) a heterologous
             booster dose to certain individuals who have completed primary vaccination with a
             different authorized COVID-19 vaccine as described in the Scope of Authorization
             (Section II) under this EUA. Conditions A through W in this letter apply when
             COMIRNATY (COVID-19 Vaccine, mRNA) is provided for the uses described in
             this subsection III.BB., except that product manufactured and labeled in accordance
             with the approved BLA is deemed to satisfy the manufacturing, labeling, and
             distribution requirements of this authorization.
   Case 3:21-cv-01211-AW-HTC Document 31-13 Filed 10/21/21 Page 45 of 161

Page 15 – Pfizer Inc.


IV.    Duration of Authorization

This EUA will be effective until the declaration that circumstances exist justifying the
authorization of the emergency use of drugs and biological products during the COVID-19
pandemic is terminated under Section 564(b)(2) of the Act or the EUA is revoked under Section
564(g) of the Act.

                                           Sincerely,

                                                  --/S/--

                                           ____________________________
                                           Jacqueline A. O'Shaughnessy, Ph.D.
                                           Acting Chief Scientist
                                           Food and Drug Administration


Enclosures
Case 3:21-cv-01211-AW-HTC Document 31-13 Filed 10/21/21 Page 46 of 161




      Marks Decl.
       Exhibit C
    Case 3:21-cv-01211-AW-HTC Document 31-13 Filed 10/21/21 Page 47 of 161




                                                                                  August 23, 2021

Pfizer Inc.
Attention: Ms. Elisa Harkins
500 Arcola Road
Collegeville, PA 19426

Dear Ms. Harkins:

On February 4, 2020, pursuant to Section 564(b)(1)(C) of the Federal Food, Drug, and Cosmetic
Act (the FD&C Act or the Act), the Secretary of the Department of Health and Human Services
(HHS) determined that there is a public health emergency that has a significant potential to affect
national security or the health and security of United States citizens living abroad, and that
involves the virus that causes Coronavirus Disease 2019 (COVID-19). 1 On the basis of such
determination, the Secretary of HHS on March 27, 2020, declared that circumstances exist
justifying the authorization of emergency use of drugs and biological products during the
COVID-19 pandemic, pursuant to Section 564 of the Act (21 U.S.C. 360bbb-3), subject to terms
of any authorization issued under that section. 2

On December 11, 2020, the Food and Drug Administration (FDA) issued an Emergency Use
Authorization (EUA) for emergency use of Pfizer-                                     the
prevention of COVID-19 for individuals 16 years of age and older pursuant to Section 564 of the
Act. FDA reissued the letter of authorization on: December 23, 2020, 3 February 25, 2021, 4 May
1
 U.S. Department of Health and Human Services, Determination of a Public Health Emergency and Declaration that
Circumstances Exist Justifying Authorizations Pursuant to Section 564(b) of the Federal Food, Drug, and Cosmetic
Act, 21 U.S.C. § 360bbb-3. February 4, 2020.
2
 U.S. Department of Health and Human Services, Declaration that Circumstances Exist Justifying Authorizations
Pursuant to Section 564(b) of the Federal Food, Drug, and Cosmetic Act, 21 U.S.C. § 360bbb-3, 85 FR 18250
(April 1, 2020).
3
  In the December 23, 2020 revision, FDA removed reference to the number of doses per vial after dilution from the
letter of authorization, clarified the instructions for vaccination providers reporting to VAERS, and made other
technical corrections. FDA also revised the Fact Sheet for Healthcare Providers Administering Vaccine
(Vaccination Providers) to clarify the number of doses of vaccine per vial after dilution and the instructions for
reporting to VAERS. In addition, the Fact Sheet for Healthcare Providers Administering Vaccine (Vaccination
Providers) and the Fact Sheet for Recipients and Caregivers were revised to include additional information on safety
monitoring and to clarify information about the availability of other COVID-19 vaccines.
4
  In the February 25, 2021 revision, FDA allowed flexibility on the date of submission of monthly periodic safety
reports and revised the requirements for reporting of vaccine administration errors by Pfizer Inc. The Fact Sheet for
Health Care Providers Administering Vaccine (Vaccination Providers) was revised to provide an update to the
storage and transportation temperature for frozen vials, direct the provider to the correct CDC website for
information on monitoring vaccine recipients for the occurrence of immediate adverse reactions, to include data
from a developmental toxicity study, and add adverse reactions that have been identified during post authorization
use. The Fact Sheet for Recipients and Caregivers was revised to add adverse reactions that have been identified
during post authorization use.
    Case 3:21-cv-01211-AW-HTC Document 31-13 Filed 10/21/21 Page 48 of 161




10, 2021, 5 June 25, 2021, 6 and August 12, 2021. 7

On August 23, 2021, FDA approved the biologics license application (BLA) submitted by
BioNTech Manufacturing GmbH for COMIRNATY (COVID-19 Vaccine, mRNA) for active
immunization to prevent COVID-19 caused by SARS-CoV-2 in individuals 16 years of age and
older.

On August 23, 2021, having concluded that revising this EUA is appropriate to protect the public
health or safety under section 564(g)(2) of the Act, FDA is reissuing the August 12, 2021 letter
of authorization in its entirety with revisions incorporated to clarify that the EUA will remain in
place for the Pfizer-BioNTech COVID-19 vaccine for the previously-authorized indication and
uses, and to authorize use of COMIRNATY (COVID-19 Vaccine, mRNA) under this EUA for
certain uses that are not included in the approved BLA. In addition, the Fact Sheet for
Healthcare Providers Administering Vaccine (Vaccination Providers) was revised to provide
updates on expiration dating of the authorized Pfizer-BioNTech COVID-19 Vaccine and to
update language regarding warnings and precautions related to myocarditis and pericarditis. The
Fact Sheet for Recipients and Caregivers was updated as the Vaccine Information Fact Sheet for
Recipients and Caregivers, which comprises the Fact Sheet for the authorized Pfizer-BioNTech
COVID-19 Vaccine and information about the FDA-licensed vaccine, COMIRNATY (COVID-
19 Vaccine, mRNA).

Pfizer-                             contains a nucleoside-modified messenger RNA
(modRNA) encoding the viral spike (S) glycoprotein of SARS-CoV-2 formulated in lipid
particles. COMIRNATY (COVID-19 Vaccine, mRNA) is the same formulation as the Pfizer-
BioNTech COVID-19 Vaccine and can be used interchangeably with the Pfizer-BioNTech
COVID-19 Vaccine to provide the COVID-19 vaccination series. 8
5
  In the May 10, 2021 revision, FDA authorized Pfizer-BioNTech Vaccine for the prevention of COVID-19 in
individuals 12 through 15 years of age, as well as for individuals 16 years of age and older. In addition, FDA
revised the Fact Sheet for Healthcare Providers Administering Vaccine (Vaccination Providers) to include the

particular in adolescents. Procedures should be in place to avoid injury from
for Recipients and Caregivers was revised to instruct vaccine recipients or their caregivers to tell the vaccination
provider about fainting in association with a previous injection.
6
 In the June 25, 2021 revision, FDA clarified terms and conditions that relate to export of Pfizer-BioNTech
                                             In addition, the Fact Sheet for Healthcare Providers Administering
Vaccine (Vaccination Providers) was revised to include a Warning about myocarditis and pericarditis following
administration of the Pfizer-BioNTech COVID-19 Vaccine. The Fact Sheet for Recipients and Caregivers was
updated to include information about myocarditis and pericarditis following administration of the Pfizer-BioNTech

7
 In the August 12, 2021 revision, FDA authorized a third dose of the Pfizer-BioNTech COVID-19 Vaccine
administered at least 28 days following the two dose regimen of this vaccine in individuals 12 years of age or older
who have undergone solid organ transplantation, or individuals 12 years of age or older who are diagnosed with
conditions that are considered to have an equivalent level of immunocompromise.
8
  The licensed vaccine has the same formulation as the EUA-authorized vaccine and the products can be used
interchangeably to provide the vaccination series without presenting any safety or effectiveness concerns. The
products are legally distinct with certain differences that do not impact safety or effectiveness.
   Case 3:21-cv-01211-AW-HTC Document 31-13 Filed 10/21/21 Page 49 of 161




For the December 11, 2020 authorization for individuals 16 years of age and older, FDA
reviewed safety and efficacy data from an ongoing phase 1/2/3 trial in approximately 44,000
participants randomized 1:1 to receive Pfizer-BioNTech                    accine or saline control.
The trial has enrolled participants 12 years of                         review at that time
considered the safety and effectiveness data as they relate to the request for emergency use
authorization in individuals 16 year                                     of the available safety data
from 37,586 of the participants 16 years of age and older, who were followed for a median of
two months after receiving the second dose, did not identify specific safety concerns that would
                                                 of the available efficacy data from 36,523
participants 12 years of age and older without evidence of SARS-CoV-2 infection prior to 7 days
after dose 2 confirmed the vaccine was 95% effective (95% credible interval 90.3, 97.6) in
preventing COVID-19 occurring at least 7 days after the second dose (with 8 COVID-19 cases in
the vaccine group compared to 162 COVID-19 cases in the placebo group). Based on these data,
and review of manufacturing information regarding product quality and consistency, FDA
concluded that it is reasonable to believe that Pfizer-                                  may be
effective. Additionally, FDA determined it is reasonable to conclude, based on the totality of the
scientific evidence available, that the known and potential benefits of Pfizer-BioNTech
                      outweigh the known and potential risks of the vaccine, for the prevention of
COVID-19 in individuals 16 years of age and older. Finally, on December 10, 2020, the
Vaccines and Related Biological Products Advisory Committee voted in agreement with this
conclusion.

For the May 10, 2021 authorization for individuals 12 through 15 years of age, FDA reviewed
safety and effectiveness data from the above-referenced, ongoing Phase 1/2/3 trial that has
enrolled approximately 46,000 participants, including 2,260 participants 12 through 15 years of
age. Trial participants were randomized 1:1 to receive Pfizer-BioNTech COVID-19 Vaccine or
                                              e safety data from 2,260 participants 12 through 15
years of age, who were followed for a median of 2 months after receiving the second dose, did
not identify specific safety concerns that would preclude issuance of
SARS-CoV-2 50% neutralizing antibody titers 1 month after the second dose of Pfizer-
BioNTech COVID-19 Vaccine in a subset of participants who had no serological or virological
evidence of past SARS-CoV-2 infection confirm the geometric mean antibody titer in
participants 12 through 15 years of age was non-inferior to the geometric mean antibody titer in
                                                    alysis of available descriptive efficacy data
from 1,983 participants 12 through 15 years of age without evidence of SARS-CoV-2 infection
prior to 7 days after dose 2 confirm that the vaccine was 100% effective (95% confidence
interval 75.3, 100.0) in preventing COVID-19 occurring at least 7 days after the second dose
(with no COVID-19 cases in the vaccine group compared to 16 COVID-19 cases in the placebo
group). Based on these data, FDA concluded that it is reasonable to believe that Pfizer-

Additionally, FDA determined it is reasonable to conclude, based on the totality of the scientific
evidence available, that the known and potential benefits of Pfizer-
Vaccine outweigh the known and potential risks of the vaccine, for the prevention of COVID-19
in individuals 12 through 15 years of age.
   Case 3:21-cv-01211-AW-HTC Document 31-13 Filed 10/21/21 Page 50 of 161




For the August 12, 2021 authorization of a third dose of the Pfizer-BioNTech COVID-19
Vaccine in individuals 12 years of age or older who have undergone solid organ transplantation,
or individuals 12 years of age or older who are diagnosed with conditions that are considered to
have an equivalent level of immunocompromise, FDA reviewed safety and effectiveness data
reported in two manuscripts on solid organ transplant recipients. The first study was a single
arm study conducted in 101 individuals who had undergone various solid organ transplant
procedures (heart, kidney, liver, lung, pancreas) a median of 97±8 months earlier. A third dose
of the Pfizer-BioNTech COVID-19 Vaccine was administered to 99 of these individuals
approximately 2 months after they had received a second dose. Levels of total SARS-CoV-2
binding antibodies meeting the pre-specified criteria for success occurred four weeks after the
third dose in 26/59 (44.0%) of those who were initially considered to be seronegative and
received a third dose of the Pfizer-BioNTech COVID-19 Vaccine; 67/99 (68%) of the entire
group receiving a third vaccination were subsequently considered to have levels of antibodies
indicative of a significant response. In those who received a third vaccine dose, the adverse
event profile was similar to that after the second dose and no grade 3 or grade 4 events were
reported. A supportive secondary study describes a double-blind, randomized-controlled study
conducted in 120 individuals who had undergone various solid organ transplant procedures
(heart, kidney, kidney-pancreas, liver, lung, pancreas) a median of 3.57 years earlier (range 1.99-
6.75 years). A third dose of a similar mRNA vaccine (the Moderna COVID-19 vaccine) was
administered to 60 individuals approximately 2 months after they had received a second dose
(i.e., doses at 0, 1 and 3 months); saline placebo was given to 60 individuals or comparison. The
primary outcome was anti-RBD antibody at 4 months greater than 100 U/mL. This titer was
selected based on NHP challenge studies as well as a large clinical cohort study to indicate this
antibody titer was protective. Secondary outcomes were based on a virus neutralization assay
and polyfunctional T cell responses. Baseline characteristics were comparable between the two
study arms as were pre-intervention anti-RBD titer and neutralizing antibodies. Levels of total
SARS-CoV-2 binding antibodies indicative of a significant response occurred four weeks after
the third dose in 33/60 (55.0%) of the Moderna COVID-19 vaccinated group and 10/57 (17.5%)
of the placebo individuals. In the 60 individuals who received a third vaccine dose, the adverse
event profile was similar to that after the second dose and no grade 3 or grade 4 adverse events
were reported. Despite the moderate enhancement in antibody titers, the totality of data (i.e.,
supportive paper by Hall et al. demonstrated efficacy of the product in the elderly and persons
with co-morbidities) supports the conclusion that a third dose of the Pfizer-BioNTech COVID-19
vaccine may be effective in this population, and that the known and potential benefits of a third
dose of Pfizer-BioNTech COVID-19 Vaccine outweigh the known and potential risks of the
vaccine for immunocompromised individuals at least 12 years of age who have received two
doses of the Pfizer-BioNTech COVID-19 Vaccine and who have undergone solid organ
transplantation, or who are diagnosed with conditions that are considered to have an equivalent
level of immunocompromise.

Having concluded that the criteria for issuance of this authorization under Section 564(c) of the
Act are met, I am authorizing the emergency use of Pfizer-                                  for the
prevention of COVID-19, as described in the Scope of Authorization section of this letter
(Section II) and subject to the terms of this authorization. Additionally, as specified in
subsection III.BB, I am authorizing use of COMIRNATY (COVID-19 Vaccine, mRNA) under
this EUA when used to provide a two-dose regimen for individuals aged 12 through 15 years, or
      Case 3:21-cv-01211-AW-HTC Document 31-13 Filed 10/21/21 Page 51 of 161




to provide a third dose to individuals 12 years of age or older who have undergone solid organ
transplantation or who are diagnosed with conditions that are considered to have an equivalent
level of immunocompromise.

I.         Criteria for Issuance of Authorization

I have concluded that the emergency use of Pfizer-                                   for the
prevention of COVID-19 when administered as described in the Scope of Authorization (Section
II) meets the criteria for issuance of an authorization under Section 564(c) of the Act, because:

          A. SARS-CoV-2 can cause a serious or life-threatening disease or condition, including
             severe respiratory illness, to humans infected by this virus;

          B. Based on the totality of scientific evidence available to FDA, it is reasonable to believe
             that Pfizer-                                may be effective in preventing COVID-19,
             and that, when used under the conditions described in this authorization, the known and
             potential benefits of Pfizer-                               when used to prevent
             COVID-19 outweigh its known and potential risks; and

          C. There is no adequate, approved, and available 9 alternative to the emergency use of
             Pfizer-                               to prevent COVID-19. 10

II.        Scope of Authorization

I have concluded, pursuant to Section 564(d)(1) of the Act, that the scope of this authorization is
limited as follows:

           Pfizer Inc. will supply Pfizer-                               either directly or through
           authorized distributor(s), 11 to emergency response stakeholders 12 as directed by the U.S.

9
  Although COMIRNATY (COVID-19 Vaccine, mRNA) is approved to prevent COVID-19 in individuals 16 years
of age and older, there is not sufficient approved vaccine available for distribution to this population in its entirety at
the time of reissuance of this EUA. Additionally, there are no products that are approved to prevent COVID-19 in
individuals age 12 through 15, or that are approved to provide an additional dose to the immunocompromised
population described in this EUA.
10
     No other criteria of issuance have been prescribed by regulation under Section 564(c)(4) of the Act.
11
                                  identified by Pfizer Inc. or, if applicable, by a U.S. government entity, such as the
Centers for Disease Control and Prevention (CDC) and/or other designee, as an entity or entities allowed to
distribute authorized Pfizer-BioNTec
12

that have legal responsibility and authority for responding to an incident, based on political or geographical
boundary lines (e.g., city, county, tribal, territorial, State, or Federal), or functional (e.g., law enforcement or public
health range) or sphere of authority to administer, deliver, or distribute vaccine in an emergency situation. In some
     Case 3:21-cv-01211-AW-HTC Document 31-13 Filed 10/21/21 Page 52 of 161




         government, including the Centers for Disease Control and Prevention (CDC) and/or
         other designee, for use consistent with the terms and conditions of this EUA;
         The Pfizer-                                  covered by this authorization will be
                                                13
         administered by vaccination providers and used only to prevent COVID-19 in
         individuals ages 12 and older; and
         Pfizer-                                may be administered by a vaccination provider
         without an individual prescription for each vaccine recipient.

This authorization also covers the use of the licensed COMIRNATY (COVID-19 Vaccine,
mRNA) product when used to provide a two-dose regimen for individuals aged 12 through 15
years, or to provide a third dose to individuals 12 years of age or older who have undergone solid
organ transplantation or who are diagnosed with conditions that are considered to have an
equivalent level of immunocompromise.

Product Description

The Pfizer-BioNTech COVID-19 Vaccine is supplied as a frozen suspension in multiple dose
vials; each vial must be diluted with 1.8 mL of sterile 0.9% Sodium Chloride Injection, USP
prior to use to form the vaccine. The Pfizer-BioNTech COVID-19 Vaccine does not contain a
preservative.

Each 0.3 mL dose of the Pfizer-BioNTech COVID-19 Vaccine contains 30 mcg of a nucleoside-
modified messenger RNA (modRNA) encoding the viral spike (S) glycoprotein of SARS-CoV-2.
Each dose of the Pfizer-BioNTech COVID-19 Vaccine also includes the following ingredients:
lipids (0.43 mg (4-hydroxybutyl)azanediyl)bis(hexane-6,1-diyl)bis(2-hexyldecanoate), 0.05 mg
2[(polyethylene glycol)-2000]-N,N-ditetradecylacetamide, 0.09 mg 1,2-distearoyl-sn-glycero-3-
phosphocholine, and 0.2 mg cholesterol), 0.01 mg potassium chloride, 0.01 mg monobasic
potassium phosphate, 0.36 mg sodium chloride, 0.07 mg dibasic sodium phosphate dihydrate,
and 6 mg sucrose. The diluent (0.9% Sodium Chloride Injection) contributes an additional 2.16
mg sodium chloride per dose.


official capacity under the authority of the state health department to administer COVID-19 vaccines). In such
cases, it is expected that the conditions of authorization that apply to emergency response stakeholders and
vaccination providers will all be met.
13
                                                                          , organization, or healthcare provider
licensed or otherwise authorized by the emergency response stakeholder (e.g., non-physician healthcare
professionals, such as nurses and pharmacists pursuant to state law under a standing order issued by the state health
officer) to administer or provide vaccination services in accordance with the applicable emergency response
                             D-19 vaccination and emergency response plan(s) and who is enrolled in the CDC
COVID-19 Vaccination Program. If the vaccine is exported
provider that is authorized to administer this vaccine in accordance with the laws of the country in which it is
administered. For purposes of this lett                           so refers to a person authorized by the U.S.
Department of Health and Human Services (e.g., under the PREP Act Declaration for Medical Countermeasures
against COVID-19) to administer FDA-authorized COVID-19 vaccine (e.g., qualified pharmacy technicians and
State-authorized pharmacy interns acting under the supervision of a qualified pharmacist). See, e.g., HHS. Fourth
Amendment to the Declaration Under the Public Readiness and Emergency Preparedness Act for Medical
Countermeasures Against COVID-19 and Republication of the Declaration. 85 FR 79190 (December 9, 2020).
   Case 3:21-cv-01211-AW-HTC Document 31-13 Filed 10/21/21 Page 53 of 161




The dosing regimen is two doses of 0.3 mL each, 3 weeks apart. A third dose may be
administered at least 28 days following the second dose of the two dose regimen of this vaccine
to individuals 12 years of age or older who have undergone solid organ transplantation, or
individuals 12 years of age or older who are diagnosed with conditions that are considered to
have an equivalent level of immunocompromise.

The manufacture of the authorized Pfizer-                                       is limited to those
facilities identified and agreed upon in                     r authorization.

The Pfizer-BioNTech COVID-19 Vaccine vial label and carton labels are clearly marked for
                                                                      Vaccine is authorized to be
distributed, stored, further redistributed, and administered by emergency response stakeholders
when packaged in the authorized manufacturer packaging (i.e., vials and cartons), despite the
fact that the vial and carton labels may not contain information that otherwise would be required
under the FD&C Act.

Pfizer-                               is authorized for emergency use with the following
product-specific information required to be made available to vaccination providers and
recipients, respectively (referred

        Fact Sheet for Healthcare Providers Administering Vaccine (Vaccination Providers):
        Emergency Use Authorization (EUA) of Pfizer-                                 to Prevent
        Coronavirus Disease 2019 (COVID-19)

        Vaccine Information Fact Sheet for Recipients and Caregivers About COMIRNATY
        (COVID-19 Vaccine, mRNA) and Pfizer-BioNTech COVID-19 Vaccine to Prevent
        Coronavirus Disease (COVID-19).

I have concluded, pursuant to Section 564(d)(2) of the Act, that it is reasonable to believe that
the known and potential benefits of Pfizer-                                 , when used to prevent
COVID-19 and used in accordance with this Scope of Authorization (Section II), outweigh its
known and potential risks.

I have concluded, pursuant to Section 564(d)(3) of the Act, based on the totality of scientific
evidence available to FDA, that it is reasonable to believe that Pfizer-
Vaccine may be effective in preventing COVID-19 when used in accordance with this Scope of
Authorization (Section II), pursuant to Section 564(c)(2)(A) of the Act.

Having reviewed the scientific information available to FDA, including the information
supporting the conclusions described in Section I above, I have concluded that Pfizer-BioNTech
                     (as described in this Scope of Authorization (Section II)) meets the criteria set
forth in Section 564(c) of the Act concerning safety and potential effectiveness.

The emergency use of Pfizer-                                   under this EUA must be consistent
with, and may not exceed, the terms of the Authorization, including the Scope of Authorization
(Section II) and the Conditions of Authorization (Section III). Subject to the terms of this EUA and
     Case 3:21-cv-01211-AW-HTC Document 31-13 Filed 10/21/21 Page 54 of 161




under the circumstances set fort                                determination under Section
564(b)(1)(C) described above and                                          ing declaration under Section
564(b)(1), Pfizer-                                   is authorized to prevent COVID-19 in individuals
12 years of age and older as described in the Scope of Authorization (Section II) under this EUA,
despite the fact that it does not meet certain requirements otherwise required by applicable federal
law.

III.     Conditions of Authorization

Pursuant to Section 564 of the Act, I am establishing the following conditions on this authorization:

Pfizer Inc. and Authorized Distributor(s)

            A. Pfizer Inc. and authorized distributor(s) will ensure that the authorized Pfizer-
                                                is distributed, as directed by the U.S. government,
               including CDC and/or other designee, and the authorized labeling (i.e., Fact Sheets)
               will be made available to vaccination providers, recipients, and caregivers consistent
               with the terms of this letter.

            B. Pfizer Inc. and authorized distributor(s) will ensure that appropriate storage and cold
               chain is maintained until delivered to emergency response stakehol

            C. Pfizer Inc. will ensure that the terms of this EUA are made available to all relevant
               stakeholders (e.g., emergency response stakeholders, authorized distributors, and
               vaccination providers) involved in distributing or receiving authorized Pfizer-
                                                 . Pfizer Inc. will provide to all relevant stakeholders a
               copy of this letter of authorization and communicate any subsequent amendments that
               might be made to this letter of authorization and its authorized labeling.

            D. Pfizer Inc. may develop and disseminate instructional and educational materials (e.g.,
               video regarding vaccine handling, storage/cold-chain management, preparation,
               disposal) that are consistent with the authorized emergency use of the vaccine as
               described in the letter of authorization and authorized
               and concurrence, when necessary to meet public health needs during an emergency.
               Any instructional and educational materials that are inconsistent with the authorized
               labeling are prohibited.

            E. Pfizer Inc. may request changes to this authorization, including to the authorized Fact
               Sheets for the vaccine. Any request for changes to this EUA must be submitted to
               Office of Vaccines Research and Review (OVRR)/Center for Biologics Evaluation
               and Research (CBER). Such changes require appropriate authorization prior to
               implementation.14

14
  The following types of revisions may be authorized without reissuing this letter: (1) changes to the authorized
labeling; (2) non-substantive editorial corrections to this letter; (3) new types of authorized labeling, including new
fact sheets; (4) new carton/container labels; (5) expiration dating extensions; (6) changes to manufacturing
   Case 3:21-cv-01211-AW-HTC Document 31-13 Filed 10/21/21 Page 55 of 161




            F. Pfizer Inc. will report to Vaccine Adverse Event Reporting System (VAERS):
                   Serious adverse events (irrespective of attribution to vaccination);
                   Cases of Multisystem Inflammatory Syndrome in children and adults; and
                   Cases of COVID-19 that result in hospitalization or death, that are reported to
                   Pfizer Inc.
               These reports should be submitted to VAERS as soon as possible but no later than
               15 calendar days from initial receipt of the information by Pfizer Inc.

            G. Pfizer Inc. must submit to Investigational New Drug application (IND) number
               19736 periodic safety reports at monthly intervals in accordance with a due date
               agreed upon with the Office of Biostatistics and Epidemiology (OBE)/CBER
               beginning after the first full calendar month after authorization. Each periodic safety
               report is required to contain descriptive information which includes:
                   A narrative summary and analysis of adverse events submitted during the
                   reporting interval, including interval and cumulative counts by age groups, special
                   populations (e.g., pregnant women), and adverse events of special interest;
                   A narrative summary and analysis of vaccine administration errors, whether or
                   not associated with an adverse event, that were identified since the last reporting
                   interval;
                   Newly identified safety concerns in the interval; and
                   Actions taken since the last report because of adverse experiences (for example,
                   changes made to Healthcare Providers Administering Vaccine (Vaccination
                   Providers) Fact Sheet, changes made to studies or studies initiated).

            H. No changes will be implemented to the description of the product, manufacturing
               process, facilities, or equipment without notification to and concurrence by FDA.

            I. All manufacturing facilities will comply with Current Good Manufacturing Practice
               requirements.

            J. Pfizer Inc. will submit to the EUA file Certificates of Analysis (CoA) for each drug
               product lot at least 48 hours prior to vaccine distribution. The CoA will include the
               established specifications and specific results for each quality control test performed
               on the final drug product lot.

            K. Pfizer Inc. will submit to the EUA file quarterly manufacturing reports, starting in
               July 2021, that include a listing of all Drug Substance and Drug Product lots
               produced after issuance of this authorization. This report must include lot number,
               manufacturing site, date of manufacture, and lot disposition, including those lots that

processes, including tests or other authorized components of manufacturing; (7) new conditions of authorization to
require data collection or study. For changes to the authorization, including the authorized labeling, of the type
listed in (3), (6), or (7), review and concurrence is required from the Preparedness and Response Team
(PREP)/Office of the Center Director (OD)/CBER and the Office of Counterterrorism and Emerging Threats
(OCET)/Office of the Chief Scientist (OCS).
   Case 3:21-cv-01211-AW-HTC Document 31-13 Filed 10/21/21 Page 56 of 161




              were quarantined for investigation or those lots that were rejected. Information on the
              reasons for lot quarantine or rejection must be included in the report.

          L. Pfizer Inc. and authorized distributor(s) will maintain records regarding release of
             Pfizer-BioNTech                         for distribution (i.e., lot numbers, quantity,
             release date).

          M. Pfizer Inc. and authorized distributor(s) will make available to FDA upon request any
             records maintained in connection with this EUA.

          N. Pfizer Inc. will conduct post-authorization observational studies to evaluate the
             association between Pfizer-BioNTech COVID-19 Vaccine and a pre-specified list of
             adverse events of special interest, along with deaths and hospitalizations, and severe
             COVID-19. The study population should include individuals administered the
             authorized Pfizer-BioNTech COVID-19 Vaccine under this EUA in the general U.S.
             population (12 years of age and older), populations of interest such as healthcare
             workers, pregnant women, immunocompromised individuals, subpopulations with
             specific comorbidities. The studies should be conducted in large scale databases with
             an active comparator. Pfizer Inc. will provide protocols and status update reports to
             the IND 19736 with agreed-upon study designs and milestone dates.

Emergency Response Stakeholders

          O. Emergency response stakeholders will identify vaccination sites to receive authorized
             Pfizer-                                  and ensure its distribution and administration,
             consistent with the terms of this letter                           accination Program.

          P. Emergency response stakeholders will ensure that vaccination providers within their
             jurisdictions are aware of this letter of authorization, and the terms herein and any
             subsequent amendments that might be made to the letter of authorization, instruct
             them about the means through which they are to obtain and administer the vaccine
             under the EUA, and ensure that the authorized labeling [i.e., Fact Sheet for Healthcare
             Providers Administering Vaccine (Vaccination Providers) and Vaccine Information
             Fact Sheet for Recipients and Caregivers] is made available to vaccination providers
             through appropriate means (e.g., e-mail, website).

          Q. Emergency response stakeholders receiving authorized Pfizer-
             Vaccine will ensure that appropriate storage and cold chain is maintained.

Vaccination Providers

          R. Vaccination providers will administer the vaccine in accordance with the
             authorization and will participate and comply with the terms and training required by
   Case 3:21-cv-01211-AW-HTC Document 31-13 Filed 10/21/21 Page 57 of 161




          S. Vaccination providers will provide the Vaccine Information Fact Sheet for Recipients
             and Caregivers to each individual receiving vaccination and provide the necessary
             information for receiving their second dose and/or third dose.

          T. Vaccination providers administering the vaccine must report the following
             information associated with the administration of the vaccine of which they become
             aware to VAERS in accordance with the Fact Sheet for Healthcare Providers
             Administering Vaccine (Vaccination Providers):
                 Vaccine administration errors whether or not associated with an adverse event
                 Serious adverse events (irrespective of attribution to vaccination)
                 Cases of Multisystem Inflammatory Syndrome in children and adults
                 Cases of COVID-19 that result in hospitalization or death
              Complete and submit reports to VAERS online at
              https://vaers.hhs.gov/reportevent.html. The VAERS reports should include the

              the report. More information is available at vaers.hhs.gov or by calling 1-800-822-
              7967. To the extent feasible, report to Pfizer Inc. by contacting 1-800-438-1985 or
              by providing a copy of the VAERS form to Pfizer Inc.; Fax: 1-866-635-8337.

          U. Vaccination providers will conduct any follow-up requested by the U.S
             government, including CDC, FDA, or other designee, regarding adverse events to
             the extent feasible given the emergency circumstances.

          V. Vaccination providers will monitor and comply with CDC and/or emergency
             response stakeholder vaccine management requirements (e.g., requirements
             concerning obtaining, tracking, and handling vaccine) and with requirements
             concerning reporting of vaccine administration data to CDC.

          W. Vaccination providers will ensure that any records associated with this EUA are
             maintained until notified by FDA. Such records will be made available to CDC,
             and FDA for inspection upon request.
Conditions Related to Printed Matter, Advertising, and Promotion

          X. All descriptive printed matter, advertising, and promotional material, relating to the
             use of the Pfizer-                                  shall be consistent with the
             authorized labeling, as well as the terms set forth in this EUA, and meet the
             requirements set forth in section 502(a) and (n) of the FD&C Act and FDA
             implementing regulations.

          Y. All descriptive printed matter, advertising, and promotional material relating to the
             use of the Pfizer-                                 clearly and conspicuously shall state
             that:
   Case 3:21-cv-01211-AW-HTC Document 31-13 Filed 10/21/21 Page 58 of 161




                    This product has not been approved or licensed by FDA, but has been
                    authorized for emergency use by FDA, under an EUA to prevent Coronavirus
                    Disease 2019 (COVID-19) for use in individuals 12 years of age and older; and
                    The emergency use of this product is only authorized for the duration of the
                    declaration that circumstances exist justifying the authorization of emergency
                    use of the medical product under Section 564(b)(1) of the FD&C Act unless the
                    declaration is terminated or authorization revoked sooner.

Condition Related to Export

          Z. If the Pfizer-                                 is exported from the United States,
             conditions C, D, and O through Y do not apply, but export is permitted only if 1) the
             regulatory authorities of the country in which the vaccine will be used are fully
             informed that this vaccine is subject to an EUA and is not approved or licensed by
             FDA and 2) the intended use of the vaccine will comply in all respects with the laws
             of the country in which the product will be used. The requirement in this letter that
             the authorized labeling (i.e., Fact Sheets) be made available to vaccination providers,
             recipients, and caregivers in condition A will not apply if the authorized labeling (i.e.,
             Fact Sheets) are made available to the regulatory authorities of the country in which
             the vaccine will be used.

Conditions With Respect to Use of Licensed Product

          AA. COMIRNATY (COVID-19 Vaccine, mRNA) is now licensed for individuals
            16 years of age and older. There remains, however, a significant amount of Pfizer-
            BioNTech COVID-19 vaccine that was manufactured and labeled in accordance with
            this emergency use authorization. This authorization thus remains in place with
            respect to that product for the previously-authorized indication and uses (i.e., for use
            to prevent COVID-19 in individuals 12 years of age and older with a two-dose
            regimen, and to provide a third dose to individuals 12 years of age or older who have
            undergone solid organ transplantation, or who are diagnosed with conditions that are
            considered to have an equivalent level of immunocompromise).

          BB. This authorization also covers the use of the licensed COMIRNATY (COVID-19
             Vaccine, mRNA) product when used to provide a two-dose regimen for individuals
             aged 12 through 15 years, or to provide a third dose to individuals 12 years of age or
             older who have undergone solid organ transplantation or who are diagnosed with
             conditions that are considered to have an equivalent level of immunocompromise.
             Conditions A through W in this letter apply when COMIRNATY (COVID-19
             Vaccine, mRNA) is provided for the uses described in this subsection III.BB, except
             that product manufactured and labeled in accordance with the approved BLA is
             deemed to satisfy the manufacturing, labeling, and distribution requirements of this
             authorization.

IV.    Duration of Authorization
   Case 3:21-cv-01211-AW-HTC Document 31-13 Filed 10/21/21 Page 59 of 161




This EUA will be effective until the declaration that circumstances exist justifying the
authorization of the emergency use of drugs and biological products during the COVID-19
pandemic is terminated under Section 564(b)(2) of the Act or the EUA is revoked under Section
564(g) of the Act.

                                           Sincerely,



                                           ____________________________
                                           RADM Denise M. Hinton
                                           Chief Scientist
                                           Food and Drug Administration


Enclosures
Case 3:21-cv-01211-AW-HTC Document 31-13 Filed 10/21/21 Page 60 of 161




      Marks Decl.
       Exhibit D
  Case 3:21-cv-01211-AW-HTC Document 31-13 Filed 10/21/21 Page 61 of 161


                    Summary Basis for Regulatory Action
Date:                      08/23/2021
From:                      Ramachandra Naik, PhD, Review Committee Chair,
                           DVRPA/OVRR



BLA STN:                   125742/0
                           BioNTech Manufacturing GmbH (in partnership with
Applicant:
                           Pfizer, Inc.)
Submission Receipt
                           May 18, 2021
Date:
PDUFA Action Due Date:     January 16, 2022
Proper Name:               COVID-19 Vaccine, mRNA
Proprietary Name:          COMIRNATY
                           Active immunization to prevent coronavirus disease
                           2019 (COVID-19) caused by severe acute respiratory
Indication:
                           syndrome coronavirus 2 (SARS-CoV-2) in individuals 16
                           years of age and older

Recommended Action: The Review Committee recommends approval of this product.




______________________________________________________________________
Director, Office of Vaccines Research and Review




______________________________________________________________________
Director, Office of Compliance and Biologics Quality
Case 3:21-cv-01211-AW-HTC Document 31-13 Filed 10/21/21 Page 62 of 161
     Case 3:21-cv-01211-AW-HTC Document 31-13 Filed 10/21/21 Page 63 of 161


                                                   Table of Contents
1.   Introduction .................................................................................................................3
2.   Background ................................................................................................................4
3.   Chemistry, Manufacturing and Controls (CMC) ..........................................................6
        a.       Product Quality ............................................................................................. 6
        b.       Testing Specifications................................................................................. 10
        c.       CBER Lot Release ..................................................................................... 11
        d.       Facilities Review / Inspection...................................................................... 11
        e.       Container/Closure System.......................................................................... 14
        f.    Environmental Assessment ........................................................................... 14
4.   Nonclinical Pharmacology/Toxicology ......................................................................14
5.   Clinical Pharmacology ..............................................................................................15
6.   Clinical/Statistical......................................................................................................15
        a.       Clinical Program ......................................................................................... 15
        b.       Bioresearch Monitoring (BIMO) – Clinical/Statistical/Pharmacovigilance ... 22
7.   Safety and Pharmacovigilance .................................................................................22
8.   Labeling ....................................................................................................................25
9.   Advisory Committee Meetings ..................................................................................26
10. Other Relevant Regulatory Issues ............................................................................27
11. Recommendations and Benefit/Risk Assessment ....................................................27
        a.       Recommended Regulatory Action .............................................................. 27
        b.       Benefit/Risk Assessment ............................................................................ 28
        c.       Recommendation for Postmarketing Activities ........................................... 28


1. Introduction

BioNTech Manufacturing GmbH (in partnership with Pfizer Inc.) submitted a Biologics
License Application (BLA) STN BL 125742 for licensure of COVID-19 Vaccine, mRNA.
The proprietary name of the vaccine is COMIRNATY. COMIRNATY is a vaccine
indicated for active immunization to prevent coronavirus disease 2019 (COVID-19)
caused by severe acute respiratory syndrome coronavirus 2 (SARS-CoV-2) in individuals
16 years of age and older. The vaccine is administered intramuscularly (IM) as a series
of two 30                          3 weeks apart.

COMIRNATY (also referred to as BNT162b2 in this document) contains a nucleoside-
modified messenger RNA (mRNA) encoding the viral spike glycoprotein (S) of SARS-
CoV-2 that is formulated in lipids including ((4-hydroxybutyl)azanediyl)bis(hexane-6,1-
diyl)bis(2-hexyldecanoate), 2-(polyethylene glycol 2000)-N,N-ditetradecylacetamide, 1,2-
distearoyl-sn-glycero-3-phosphocholine, and cholesterol.

                                                                3
Case 3:21-cv-01211-AW-HTC Document 31-13 Filed 10/21/21 Page 64 of 161
Case 3:21-cv-01211-AW-HTC Document 31-13 Filed 10/21/21 Page 65 of 161
   Case 3:21-cv-01211-AW-HTC Document 31-13 Filed 10/21/21 Page 66 of 161


3. Chemistry, Manufacturing and Controls (CMC)

a. Product Quality

COMIRNATY Manufacturing Overview
COMIRNATY contains a nucleoside-modified messenger RNA (mRNA) encoding the
viral spike glycoprotein (S) of SARS-CoV-2 that is formulated in lipids including ((4-
hydroxybutyl)azanediyl)bis(hexane-6,1-diyl)bis(2- hexyldecanoate), 2-(polyethylene
glycol 2000)-N,N-ditetradecylacetamide, 1,2-distearoyl-sn-glycero-3-phosphocholine,
and cholesterol. COMIRNATY is supplied as a frozen suspension to be diluted with a
diluent, 0.9% Sodium Chloride Injection, USP, that is supplied separately or can be
acquired elsewhere, if necessary. Manufacture of the mRNA drug substance will take
place in Andover, MA, USA. The final formulated drug product will be manufactured,
filled, finished, labeled and packaged in Puurs, Belgium or in Kalamazoo, MI, USA. The
0.9% Sodium Chloride Injection, USP diluent will be manufactured by Fresenius-Kabi
USA, LLC                            ) and Hospira, Inc.

The mRNA in COMIRNATY is a single-stranded, 5’-capped mRNA encoding the full-
length SARS-CoV-2 spike glycoprotein derived from the Wuhan-Hu-1 isolate (GenBank
MN908947.3 and GenBank QHD43416.1). The antigen-coding RNA sequence is codon-
optimized and contains two proline mutations (                     ), which ensures an
antigenically optimal trimerized pre-fusion confirmation (S-2P). The RNA also contains
common structural elements, including 5’-cap, 5’-UTR, 3’-UTR, and poly(A) tail, all of
which are designed for mediating high RNA stability and translation efficiency. During
RNA transcription,         is replaced with the                                   . This
nucleoside substitution has been demonstrated to enhance translation of in vitro
transcribed mRNA while reducing its reactogenicity.

Drug Substance (DS)
The manufacture of mRNA DS is divided into       major manufacturing process stages:




                                           6
Case 3:21-cv-01211-AW-HTC Document 31-13 Filed 10/21/21 Page 67 of 161
Case 3:21-cv-01211-AW-HTC Document 31-13 Filed 10/21/21 Page 68 of 161
   Case 3:21-cv-01211-AW-HTC Document 31-13 Filed 10/21/21 Page 69 of 161


COMIRNATY
Product Composition
COMIRNATY Multiple Dose Vial is supplied as a frozen suspension that is diluted at the
time of use with 1.8 mL of saline diluent. A single dose of COMIRNATY contains 30 ug
mRNA in a volume of 0.3 mL, and it does not contain preservative. [See section 10.b
regarding exception to the 21 CFR 610.15(a) requirement for a preservative.]

Stability of COMIRNATY
The Applicant conducted in-use stability studies to support the maximum temperature
and time period that COMIRNATY can retain its physicochemical properties. Based on
the data generated, COMIRNATY retains its quality attributes for up to 6 hours when
stored between 2°C to 25°C (35°F to 77°F).

The carton labels and the Package Insert (PI) state that after dilution, vials should be
stored between 2°C to 25°C (35°F to 77°F) and used within 6 hours from the time of
dilution. During storage, exposure to room light should be minimized, and direct
exposure to sunlight and ultraviolet light should be avoided. Any vaccine remaining in
vials must be discarded after 6 hours and cannot be refrozen.

Assays used in clinical studies

Diagnostic Assays Used to Support Clinical Efficacy Endpoints
Two clinical diagnostic assays (Cepheid Xpert Xpress RT-PCR assay for the detection of
SARS-CoV-2 in clinical specimens and Roche Elecsys Anti-SARS-CoV-2 assay for the
evaluation of serostatus to SARS-CoV-2) were used to assess clinical endpoints. Both
assays have received FDA authorization under EUA.

The Cepheid Xpert Xpress RT-PCR assay is a rapid, automated in vitro diagnostic test
for the qualitative detection of the N and E gene sequences from nasopharyngeal, nasal,
or mid-turbinate swab and/or nasal wash/aspirate specimens collected from patients
suspected of having COVID-19. This assay is used to assess viral infection of the
participants before vaccination and to confirm COVID-19 cases during study follow-up.

The Roche Elecsys Anti-SARS-CoV-2 assay is a rapid, automated in vitro diagnostic test
for detecting the presence of antibodies to nucleocapsid (N) protein of SARS-CoV-2
(antigen not present in COMIRNATY) in serum or plasma samples. This is a qualitative
assay marketed as an aid in identifying individuals with an adaptive immune response to
SARS-CoV-2, which would indicate a recent or prior infection. This assay is used to
assess serostatus of the participants before vaccination.

Data were submitted to support the suitability of both the Cepheid Xpert Xpress assay
and the Roche Elecsys Anti-SARS-CoV-2 assay for their intended uses in Phase 2/3
clinical studies when performed at Pfizer’s testing facility (Pfizer Vaccine Research and
Development; Pearl River, NY).

Immunogenicity Assays Used for Exploratory Immunogenicity Endpoints
Two immunogenicity assays (SARS-CoV-2 mNeonGreen (mNG) virus
microneutralization assay and       direct Luminex assay (dLIA) for IgG

                                             9
Case 3:21-cv-01211-AW-HTC Document 31-13 Filed 10/21/21 Page 70 of 161
Case 3:21-cv-01211-AW-HTC Document 31-13 Filed 10/21/21 Page 71 of 161
  Case 3:21-cv-01211-AW-HTC Document 31-13 Filed 10/21/21 Page 72 of 161


Table 5. Facilities involved in the manufacture of COMIRNATY
                                   FEI         DUNS      Inspection/        Results/
      Name/address
                                 Number       number       waiver         Justification
Pfizer Inc.
875 Chesterfield Parkway
West
Chesterfield, MO 63017
                                                                              ORA
                                                                          Surveillance
Manufacture                      1940118     004954111     Waiver
                                                                       August 19-20, 2019
                                                                              NAI
Drug Substance
Release and stability testing

Drug Product
Release and stability testing
Wyeth BioPharma Division
of Wyeth Pharmaceuticals
LLC
1 Burtt Road                                                                  CBER
Andover, MA 01810                                                           Pre-license
                                                         Pre-License
                                 1222181     174350868                      inspection
Drug Substance                                            Inspection
                                                                         July 19-23, 2021
Manufacture, release and
                                                                               VAI
stability testing

Drug Product
Release and stability testing
Pharmacia & Upjohn
Company LLC
7000 Portage Road
Kalamazoo, MI 49001
                                                                         ORA/OBPO
                                                                         Surveillance
Drug Product                     1810189     618054084     Waiver
                                                                        May 11-20, 2021
LNP production, bulk drug
                                                                             VAI
product formulation, fill and
finish, primary packaging,
secondary packaging,
release and stability testing
Pfizer Manufacturing
Belgium NV
Rijksweg 12
Puurs, 2870
                                                                              CBER
Belgium
                                                                           Pre-license
                                                         Pre-license
                                1000654629   370156507                      inspection
Drug Product                                             inspection
                                                                       June 24-July 2, 2021
LNP production, bulk drug
                                                                               NAI
product formulation, fill and
finish, primary packaging,
secondary packaging,
release and stability testing




                                             12
Case 3:21-cv-01211-AW-HTC Document 31-13 Filed 10/21/21 Page 73 of 161
Case 3:21-cv-01211-AW-HTC Document 31-13 Filed 10/21/21 Page 74 of 161
   Case 3:21-cv-01211-AW-HTC Document 31-13 Filed 10/21/21 Page 75 of 161


Nonclinical Pharmacology and Pharmacokinetics
COMIRNATY was evaluated in nonclinical pharmacology studies using animal models of
mice, rats and nonhuman primates (NHP). The data from these studies indicate: (1)
strong antigen-binding IgG and high titer neutralizing antibodies in mice, rat and rhesus
macaques; (2) Th1-biased CD4+ T-                              , CD8+ T-cell response to
BNT162b2 in both mouse and NHP studies; and (3) protection of rhesus macaques from
an infectious SARS-CoV-2 challenge, with reduced detection of viral RNA in the
BNT162b2-immunized animals as compared with the control-immunized macaques.

Nonclinical pharmacokinetics (PK) evaluation included (1) biodistribution of COMIRNATY
using             expressing RNA as a surrogate reporter in            mice and in rats, and
(2) the biodistribution and metabolism of the two novel lipids (ALC-0315 and ALC-0159)
contained in COMIRNATY in in vitro studies and in a PK study in rats following
administration of             expressing RNA encapsulated in LNPs made with
radiolabeled lipid markers. The study results indicate that following IM injection, the RNA
encapsulated in LNP mainly localizes to the site of injection and, to a lesser extent,
distributes to the liver. The metabolism of ALC-0315 and ALC-0159 was evaluated in
vitro using blood, liver microsomes, S9 fractions, and hepatocytes from mice, rats,
monkeys and humans and in vivo by examining the plasma, urine, feces, and liver
samples from the PK study in rats. Approximately 50% of ALC-0159 is excreted
unchanged in feces, while metabolism appears to play a role in the elimination of ALC-
0315.

5. Clinical Pharmacology

Pharmacodynamic data, comprised of humoral immune responses to COMIRNATY,
were obtained in the clinical studies. The data demonstrated that COMIRNATY induces
a humoral immune response against the SARS-CoV-2 spike protein. The exact
immunologic mechanism that confers protection against SARS-CoV-2 is unknown.

6. Clinical/Statistical

a. Clinical Program

Overview
The Applicant included data from two clinical studies in the BLA. The clinical studies
which will be discussed in this SBRA are shown in Table 6.

Table 6. Overview of Clinical Studies
 Study ID            C4591001                              BNT162-01
 NCT ID              04368728                              04380701
 Phase               1/2/3                                 1/2
                     Argentina, Brazil, Germany, South
 Countries                                                 Germany
                     Africa, Turkey, U.S.
                     Phase 1: 30 participants
 Enrollment                                                24
                     Phase 2/3: 43,847 participants
 Age                 16 - 85 YOA                           18 - 85 YOA
                     Evaluate VE for prevention of
                                                           Evaluate safety and
 Purpose             COVID-19 (pivotal clinical endpoint
                                                           immunogenicity
                     study)
                                             15
    Case 3:21-cv-01211-AW-HTC Document 31-13 Filed 10/21/21 Page 76 of 161


 Study ID                  C4591001                                  BNT162-01
 Control                   Saline Placebo                            None
                           Phase 2/3: 2 groups, randomized
                                                                     1 group, randomized received
 Groups                    1:1 to receive COMIRNATY or
                                                                     COMIRNATY IM
                           Placebo IM
 Schedule                  D0, D21                                   D0, D21
 Total follow-up           6 Months (follow-up ongoing)              6 Months (follow-up ongoing)
YOA: years of age; VE: vaccine efficacy; IM: intramuscular; D: day


Study C4591001
Study C4591001 is an ongoing, randomized, placebo-controlled, observer-blind Phase
1/2/3 study being conducted in the U.S., Argentina, Brazil, Germany, South Africa and
Turkey. Initially the study was designed as a Phase 1/2 study in healthy adults in the
U.S. for vaccine candidate and dosage selection, as well as evaluation of
immunogenicity and preliminary efficacy. The protocol was expanded to include a Phase
2/3 portion of the study to evaluate clinical disease efficacy endpoint in individuals 12
years of age and older in the U.S. and additional sites outside of the U.S.

The Phase 1 portion of the study was designed to identify a preferred vaccine candidate,
vaccine dose, and administration schedule for further development based on the
vaccine’s safety, tolerability, and immunogenicity. To this end, two age groups were
evaluated in separate cohorts, younger adults 18 through 55 years of age (N=45) and
older adults 65 through 85 years of age (N=45). The study population included healthy
men and women and excluded participants at high risk of SARS-CoV-2 infection or with
serological evidence of prior or current SARS-CoV-2 infection. Two different vaccine
candidates were evaluated, and younger participants received increasing dose levels
(10, 20 and 30 ) with progression to higher dose levels in a stepwise manner.
Evaluation of increasing doses in the older age group (65 through 85 years) was based
on recommendations from an internal review committee that reviewed safety and
immunogenicity data derived from adults 18 through 55 years of age. For each vaccine
candidate and dose, participants were randomized 4:1, such that 12 participants
received the vaccine candidate and 3 participants received placebo. Review of the safety
and immunogenicity from the Phase 1 portion of Study C4591001, in combination with
data from Study BNT162-01, supported the final vaccine candidate, dose and dosing
regimen (BNT162b2 administered at                   3 weeks apart) to proceed to the
Phase 2/3 portion of Study C4591001.

In Phase 2/3, participants were enrolled with stratification by age (younger adults: 18
through 55 years of age; older adults: over 55 years of age) with the goal for the older
age strata to consist of 40% of the entire study population. Adolescents were added to
the protocol, based on review of safety data in younger adults enrolled in the ongoing
study; thus, the age strata were revised as follows: 16 through 55 years of age, and 56
years of age and older. The study population for Phase 2/3 includes participants at
higher risk for acquiring COVID-19 and at higher risk of severe COVID-19, such as
participants working in the healthcare field, participants with autoimmune disease, and
participants with chronic but stable medical conditions such as hypertension, asthma,
diabetes, and infection with HIV, hepatitis B or hepatitis C. Participants were randomized
1:1 to receive 2 doses of either COMIRNATY or placebo, 3 weeks apart. The Phase 2
portion of the study evaluated reactogenicity and immunogenicity of the vaccine in 360

                                                         16
   Case 3:21-cv-01211-AW-HTC Document 31-13 Filed 10/21/21 Page 77 of 161


participants in the early stage of Phase 2/3, and these participants also contribute to the
overall efficacy and safety data in the Phase 3 portion.

The ongoing Phase 3 portion of the study is evaluating the safety and efficacy of
COMIRNATY for the prevention of COVID-19 occurring at least 7 days after the second
dose of vaccine. Efficacy is being assessed throughout a participant’s blinded follow-up
in the study through surveillance for potential cases of COVID-19. If, at any time, a
participant develops acute respiratory illness, an illness visit occurs. Assessments for
illness visits include a nasal (mid-turbinate) swab, which is tested at a central laboratory
using a reverse transcription-polymerase chain reaction (RT-PCR) test (i.e., Cepheid;
FDA- authorized under EUA), or other sufficiently validated nucleic acid amplification-
based test (NAAT), to detect SARS-CoV-2. The central laboratory NAAT result is used
for the case definition, unless it was not possible to test the sample at the central
laboratory. In that case, the following NAAT results are acceptable: Cepheid Xpert
Xpress SARS-CoV-2, Roche cobas SARS-CoV-2 real-time RT-PCR test
(EUA200009/A001), and Abbott Molecular/RealTime SARS-CoV-2 assay
(EUA200023/A001).

The study design included a planned interim analysis of the first primary efficacy
endpoint (the efficacy of BNT162b2 against confirmed COVID-19 occurring from 7 days
after Dose 2 in participants without evidence of SARS-CoV-2 infection before
vaccination) at pre-specified numbers of COVID-19 cases (at least 62, 92, and 120
cases). All primary and secondary efficacy endpoints were analyzed in the final efficacy
analysis after at least 164 COVID-19 cases were accrued. Participants are expected to
participate for a maximum of approximately 26 months.

Per protocol, since December 14, 2020, following issuance of the emergency use
authorization for the Pfizer-BioNTech COVID-19 Vaccine, study participants 16 years of
age and older have been progressively unblinded to their treatment assignment (when
eligible per local recommendations) and offered BNT162b2 vaccination if they were
randomized to placebo.

The study was unblinded in stages as all ongoing participants were either individually
unblinded (when eligible per local recommendations) or the subject had concluded their
6-month post–Dose 2 study visit. Participants 16 years of age and older who participated
in the Phase 2/3 study were given the opportunity to receive COMIRNATY no later than
the 6-month timepoint after the second study vaccination. Participants who originally
received placebo but received COMIRNATY were moved to a new visit schedule to
receive both doses of COMIRNATY, 3 weeks apart.

The primary safety and efficacy endpoints were:

   1. Primary safety endpoint (descriptive): Solicited local adverse reactions (injection
      site pain, redness, swelling), solicited systemic adverse events (AE) (fever,
      fatigue, headache, chills, vomiting, diarrhea, new or worsened muscle pain, and
      new or worsened joint pain), unsolicited AEs, serious adverse events (SAEs).



                                             17
   Case 3:21-cv-01211-AW-HTC Document 31-13 Filed 10/21/21 Page 78 of 161


   2. First primary efficacy endpoint: COVID-19 incidence per 1000 person-years of
      follow-up based on laboratory-confirmed NAAT in participants with no serological
      or virological evidence (up to 7 days after Dose 2) of past SARS-CoV-2 infection.

   3. Second primary efficacy endpoint: COVID-19 incidence per 1000 person-years of
      follow-up based on laboratory-confirmed NAAT in participants with and without
      serological or virological evidence (up to 7 days after Dose 2) of past SARS-CoV-
      2 infection.

The pertinent secondary endpoint was:

   1. Severe COVID-19 incidence per 1000 person-years of follow-up.

Study C4591001 results
The population in the protocol-specified, event-driven final primary efficacy analysis
included all participants 12 years of age and older who had been enrolled from July 27,
2020 and followed for the development of COVID-19 through November 14, 2020. For
participants without evidence of SARS-CoV-2 infection prior to 7 days after Dose 2, VE
against confirmed COVID-19 occurring at least 7 days after Dose 2 was 95.0% (95%
credible interval: 90.0, 97.9), which met the pre-specified success criterion. The case
split was 8 COVID-19 cases in the BNT162b2 group compared to 162 COVID-19 cases
in the placebo group. This protocol-specified, event-driven final primary efficacy analysis
was the basis for issuance of the emergency use authorization for the Pfizer-BioNTech
COVID-19 Vaccine on December 11, 2020.

Therefore, the primary study objective of VE against COVID-19 was met as the point
estimate was above 50% and the lower bound of the 95% CI of the point estimate of VE
was above 30%.

The population for the updated vaccine efficacy analysis per protocol included
participants 16 years of age and older who had been enrolled from July 27, 2020, and
followed for the development of COVID-19 during blinded placebo-controlled follow-up
through March 13, 2021, representing up to ~6 months of follow-up after Dose 2. Overall,
60.8% of participants in the COMIRNATY group and 58.7% of participants in the placebo
                               -up time after Dose 2 in the blinded placebo-controlled
follow-up period. The overall VE against COVID-19 in participants without evidence of
prior SARS-CoV-2 infection was 91.1% (95% CI: 88.8 to 93.1). The overall VE against
COVID-19 in participants with or without evidence of prior SARS-CoV-2 infection was
90.9% (95% CI: 88.5 to 92.8).




The updated vaccine efficacy information is presented in Tables 7a and 7b.



                                            18
    Case 3:21-cv-01211-AW-HTC Document 31-13 Filed 10/21/21 Page 79 of 161



Table 7a: First COVID-19 occurrence from 7 days after Dose 2 in participants
without evidence of prior SARS-CoV-2 infection - Evaluable Efficacy (7 Days)
Population During the Placebo-Controlled Follow-up Period *
                                      COMIRNATY                            Placebo
                                        Na=19,993                         Na=20,118
                                          Cases                             Cases
                                            n1b                              n1b
                                    Surveillance Timec               Surveillance Timec               Vaccine Efficacy %
 Subgroup                                  (n2d)                            (n2d)                         (95% CIe)
                                             77                              833                             91.1
 All participants                     6.092 (19,711)                   5.857 (19,741)                    (88.8, 93.1)
                                             70                              709                             90.5
   16 through 64 years                4.859 (15,519)                   4.654 (15,515)                    (87.9, 92.7)
                                              7                              124                             94.5
   65 years and older                  1.233 (4192)                     1.202 (4226)                     (88.3, 97.8)
* Participants who had no evidence of past SARS-CoV-2 infection (i.e., N-binding antibody [serum] negative at Visit 1 and SARS-CoV-2
not detected by NAAT [nasal swab] at Visits 1 and 2), and had negative NAAT (nasal swab) at any unscheduled visit prior to 7 days
after Dose 2 were included in the analysis.
a. N = Number of participants in the specified group.
b. n1 = Number of participants meeting the endpoint definition.
c. Total surveillance time in 1000 person-years for the given endpoint across all participants within each group at risk for the
     endpoint. Time period for COVID-19 case accrual is from 7 days after Dose 2 to the end of the surveillance period.
d. n2 = Number of participants at risk for the endpoint.
e. Two-sided confidence interval (CI) for vaccine efficacy is derived based on the Clopper and Pearson method adjusted to the
surveillance time.


Table 7b: First COVID-19 occurrence from 7 days after Dose 2 in participants with
or without* evidence of prior SARS-CoV-2 infection - Evaluable Efficacy (7 Days)
Population During the Placebo-Controlled Follow-up Period *
                                                                                 Placebo
                                          COMIRNATY                             Na=21,210
                                            Na=21,047                             Cases
                                               Cases                                n1b                    Vaccine Efficacy
                                                n1b                         Surveillance Timec                    %
Subgroup                              Surveillance Timec (n2d)                     (n2d)                      (95% CIe)
                                                 81                                 854                          90.9
All participants                          6.340 (20,533)                      6.110 (20,595)                 (88.5, 92.8)
                                                 74                                 726                          90.2
  16 through 64 years                     5.073 (16,218)                      4.879 (16,269)                 (87.5, 92.4)
                                                 7                                  128                          94.7
  65 years and older                       1.267 (4315)                        1.232 (4326)                  (88.7, 97.9)
Note: Confirmed cases were determined by Reverse Transcription-Polymerase Chain Reaction (RT-PCR) and at least 1 symptom
consistent with COVID-19 (symptoms included: fever; new or increased cough; new or increased shortness of breath; chills; new or
increased muscle pain; new loss of taste or smell; sore throat; diarrhea; vomiting).
*    Participants who had no evidence of past SARS-CoV-2 infection (i.e., N-binding antibody [serum] negative at Visit 1 and
     SARS-CoV-2 not detected by NAAT [nasal swab] at Visits 1 and 2), and had negative NAAT (nasal swab) at any unscheduled visit
     prior to 7 days after Dose 2 were included in the analysis.
a. N = Number of participants in the specified group.
b. n1 = Number of participants meeting the endpoint definition.
c. Total surveillance time in 1000 person-years for the given endpoint across all participants within each group at risk for the
     endpoint. Time period for COVID-19 case accrual is from 7 days after Dose 2 to the end of the surveillance period.
d. n2 = Number of participants at risk for the endpoint.
e. Two-sided confidence interval (CI) for vaccine efficacy is derived based on the Clopper and Pearson method adjusted to the
     surveillance time.




                                                                19
    Case 3:21-cv-01211-AW-HTC Document 31-13 Filed 10/21/21 Page 80 of 161


Efficacy Against Severe COVID-19
Vaccine efficacy against severe COVID-19 for participants with or without prior SARS-
CoV-2 infection is shown in Tables 8a and 8b. The VE against severe COVID-19 in
participants with or without evidence of prior SARS-CoV-2 infection was 95.3% (95% CI:
71.0 to 99.9) using the protocol definition of severe COVID-19 and 100.0% (95% CI: 87.6
to 100.0) based on the CDC definition of severe COVID-19.

Table 8a: Vaccine Efficacy – First Severe COVID-19 Occurrence in Participants 16
Years of Age and Older With or Without* Prior SARS-CoV-2 Infection Based on
Protocol† Definition From 7 Days After Dose 2 – Evaluable Efficacy (7 Days)
Population During the Placebo-Controlled Follow-up
                                        COMIRNATY                            Placebo
                                            Cases                             Cases
                                              n1a                               n1a                        Vaccine Efficacy
                                      Surveillance Timeb                Surveillance Timeb                        %
                                             (n2c)                             (n2c)                          (95% CId)
 7 days after Dose 2d                          1                                 21                              95.3
                                        6.353 (20,540)                    6.237 (20,629)                     (70.9, 99.9)

Table 8b: Vaccine Efficacy – First Severe COVID-19 Occurrence in Participants 16
Years of Age and Older With or Without* Prior SARS-CoV-2 Infection Based on
Centers for Disease Control and Prevention (CDC)‡ Definition From 7 Days After
Dose 2 – Evaluable Efficacy (7 Days) Population During the Placebo-Controlled
Follow-up
                                              COMIRNATY                            Placebo
                                                 Cases                              Cases
                                                   n1a                                n1a                     Vaccine Efficacy
                                            Surveillance Timeb                Surveillance Timeb                      %
                                                   (n2c)                             (n2c)                        (95% CId)
 7 days after Dose 2d                                0                                31                             100
                                              6.345 (20,513)                    6.225 (20,593)                  (87.6, 100.0)
Note: Confirmed cases were determined by Reverse Transcription-Polymerase Chain Reaction (RT-PCR) and at least 1 symptom
consistent with COVID-19 (symptoms included: fever; new or increased cough; new or increased shortness of breath; chills; new or
increased muscle pain; new loss of taste or smell; sore throat; diarrhea; vomiting).
 * Participants who had no evidence of past SARS-CoV-2 infection (i.e., N-binding antibody [serum] negative at Visit 1 and
     SARS-CoV-2 not detected by NAAT [nasal swab] at Visits 1 and 2), and had negative NAAT (nasal swab) at any unscheduled visit
     prior to 7 days after Dose 2 were included in the analysis.
†
  Severe illness from COVID-19 is defined in the protocol as confirmed COVID-19 and presence of at least 1 of the following:

                                                                                                                               tional
           inspired oxygen <300 mm Hg);
           Respiratory failure [defined as needing highflow oxygen, noninvasive ventilation, mechanical ventilation or extracorporeal
           membrane oxygenation (ECMO)];
           Evidence of shock (systolic blood pressure <90 mm Hg, diastolic blood pressure <60 mm Hg, or requiring vasopressors);
           Significant acute renal, hepatic, or neurologic dysfunction;
           Admission to an Intensive Care Unit;
           Death.
‡
  Severe illness from COVID-19 as defined by CDC is confirmed COVID-19 and presence of at least 1 of the following:
           Hospitalization;
           Admission to the Intensive Care Unit;
           Intubation or mechanical ventilation;
           Death.
a. n1 = Number of participants meeting the endpoint definition.
b. Total surveillance time in 1000 person-years for the given endpoint across all participants within each group at risk for the
     endpoint. Time period for COVID-19 case accrual is from 7 days after Dose 2 to the end of the surveillance period.
c. n2 = Number of participants at risk for the endpoint.


                                                                  20
     Case 3:21-cv-01211-AW-HTC Document 31-13 Filed 10/21/21 Page 81 of 161

d.   Two-side confidence interval (CI) for vaccine efficacy is derived based on the Clopper and Pearson method adjusted to the
     surveillance time

Study BNT162-01
Study BNT162-01 is an ongoing Phase 1/2, open-label, dose-finding study to evaluate
the safety and immunogenicity of several candidate vaccines, including BNT162b2 (1, 3,
10, 20, and 30 g), conducted in Germany in healthy and immunocompromised adults.
Only safety and immunogenicity data in individuals 16 years of age and older, the
population for the intended use and who received the final vaccine formulation (30 µg
BNT162b2) are used to support this application. The 30 µg dosage of BNT162b2 was
administered to 12 adults 18 to 55 years of age and 12 adults 56 to 85 years of age.

The primary objective was to evaluate the safety of the BNT162 candidate vaccines.
Secondary and exploratory objectives were to describe humoral and cellular immune
responses following vaccination, measured at baseline and various time points after
vaccination, specifically 7 days post Dose 2. Adverse event monitoring was the same as
the safety monitoring in study C4591001.

The study started April 23, 2020. The BLA contains safety data (reactogenicity and AE
analyses) up to 1 month after Dose 2 (data cutoff date: October 23, 2020), neutralizing
antibody data up to ~2 months after Dose 2 (data cutoff date: October 23, 2020), and T-
cell data up to ~6 months after Dose 2 (data cutoff date: March 2, 2021).

Study BNT162-01 Results
Disposition of 30 g BNT162b2 group:
 - Safety: Of a total of 24 participants, 12 participants 18 to 55 years of age and 12
    participants 56 to 85 years of age completed the visit at 1- month post-Dose 2.
 - Immunogenicity: Of the 12 participants, serum neutralizing antibody and T-cell
    responses were available for 10 and 12 participants, respectively.

Safety: The safety profiles for adult participants 18-55 and 56-85 years of age receiving
30 g BNT162b2 in this study were similar to age-matched participants in study
C4591001.

Immunogenicity: Dose-dependent increases were noted 42 days after Dose 2, compared
to SARS-CoV-2 neutralizing GMTs at baseline (pre-Dose 1), and most pronounced at
                                                 -helper response was indicated by
          -2 production, and only minimal IL-4 production upon antigen-specific
(SARS-CoV-2 S protein peptide pools) re-stimulation.

Review of the safety and immunogenicity from Phase 1 part of Study C4591001, in
combination with data from Study BNT162-01, supported selection of the final vaccine
                                                  as two doses 3 weeks apart) to
proceed into Phase 2/3 part of Study C4591001.

Lot Consistency
Consistency of process performance qualification (PPQ) batches manufactured at both
Pfizer Puurs and Pfizer Kalamazoo was demonstrated by verifying process parameters
and in-process testing results as well as DP release testing. Data obtained from the
analytical comparability assessments on the PPQ batches manufactured at both sites
                                                                 21
   Case 3:21-cv-01211-AW-HTC Document 31-13 Filed 10/21/21 Page 82 of 161


provide evidence of reproducible and consistent manufacture of COMIRNATY DP of
acceptable product quality across all supply nodes.

b. Bioresearch Monitoring (BIMO) – Clinical/Statistical/Pharmacovigilance
BIMO inspection assignments were issued for a total of nine (9) clinical study sites that
participated in the conduct of study Protocol C4591001. Three (3) of these inspection
assignments focused on clinical study sites that enrolled the pediatric population and six
(6) of the study sites enrolled the adult population. The inspections did not reveal
findings that impact the BLA.

c. Pediatrics
The Applicant’s Pediatric Plan was presented to the FDA Pediatric Review Committee
(PeRC) on August 3, 2021. The committee agreed with the Applicant’s request for a
deferral for studies in participants 0 to <16 years of age because the biological product is
ready for approval for use in individuals 16 years of age and older before pediatric
studies in participants 0 to <16 years of age are completed (Section 505B(a)(3)(A)(i) of
PREA).

The PREA-required studies specified in the approval letter and agreed upon with the
Applicant are as follows:

   1. Study C4591001 to evaluate the safety and effectiveness of COMIRNATY in
      children 12 years through 15 years of age

   2. Study C4591007 to evaluate the safety and effectiveness of COMIRNATY in
      children 6 months to <12 years of age

   3. Study C4591023 to evaluate the safety and effectiveness of COMIRNATY in
      infants <6 months of age

7. Safety and Pharmacovigilance

The                                    solicited adverse reactions in COMIRNATY
recipients 16 through 55 years of age following any dose were pain at the injection site
(88.6%), fatigue (70.1%), headache (64.9%), muscle pain (45.5%), chills (41.5%), joint
pain (27.5%), fever (17.8%), and injection site swelling (10.6%). The most commonly
                  solicited adverse reactions in COMIRNATY recipients 56 years of age
and older following any dose were pain at the injection site (78.2%), fatigue (56.9%),
headache, (45.9%), muscle pain (32.5%), chills (24.8%), joint pain (21.5%), injection site
swelling (11.8%), fever (11.5%), and injection site redness (10.4%).




                                             22
   Case 3:21-cv-01211-AW-HTC Document 31-13 Filed 10/21/21 Page 83 of 161


follow-up after Dose 2. There were no notable patterns between treatment groups for
specific categories of serious adverse events (including neurologic, neuro-inflammatory,
and thrombotic events) that would suggest a causal relationship to COMIRNATY.

From Dose 1 through the March 13, 2021 data cutoff date, there were a total of 38
deaths, 21 in the COMIRNATY group and 17 in the placebo group. None of the deaths
were considered related to vaccination.

Since the issuance of the EUA (December 11, 2020), post-authorization safety data has
been reported from individuals 16 years of age and older following any dose of
COMIRNATY. Because these reactions are reported from a population of uncertain size,
it is not always possible to reliably estimate their frequency or establish a causal
relationship to vaccine exposure. Below are presented adverse reactions categorized as
important identified risks in the pharmacovigilance plan that have occurred during the
conduct of the clinical trial and have been reported following the issuance of the EUA.

Myocarditis/Pericarditis
During the time from Dose 1 to unblinding in Study C4591001, one report of pericarditis
was identified in the COMIRNATY
age, with no medical history, 28 days after Dose 2; the event was assessed by the
investigator as not related to the study intervention and was ongoing at the time of the
data cutoff. One report of myocarditis was identified in a male participant <55 years of
age in the placebo group, occurring 5 days after his second placebo dose.

Post-EUA safety surveillance reports received by FDA and CDC identified serious risks
for myocarditis and pericarditis following administration of COMIRNATY. Reporting rates
for medical chart-confirmed myocarditis/pericarditis in VAERS have been higher among
males under 40 years of age than among females and older males and have been
highest in males 12-17 years of age (65 cases per million doses administered as per
CDC communication on August 20, 2021), particularly following the second dose, and
onset of symptoms within 7 days following vaccination. Although some cases of vaccine-
associated myocarditis/pericarditis required intensive care support, available data from
short-term follow up suggest that most individuals have had resolution of symptoms with
conservative management. Information is not yet available about potential long-term
sequelae and outcomes in affected individuals. A mechanism of action by which the
vaccine could cause myocarditis and pericarditis has not been established.

These safety findings of increased risk for myocarditis/pericarditis led to warning in
section 5.2 Warning and Precautions of the PI.

Myocarditis and pericarditis are considered important identified risks in the
pharmacovigilance plan included in the BLA. Of note, the Applicant will be required to
conduct postmarketing requirement (PMR) safety studies under Section 505(o) of the
Federal Food, Drug, and Cosmetic Act (FDCA) to assess the known serious risks of
myocarditis and pericarditis as well as an unexpected serious risk for subclinical
myocarditis (see Section 11c Recommendation for Postmarketing Activities, for study
details).


                                             23
   Case 3:21-cv-01211-AW-HTC Document 31-13 Filed 10/21/21 Page 84 of 161


Moreover, since vaccine-associated myocarditis/pericarditis is the most clinically
significant identified risk, FDA undertook a quantitative benefit-risk assessment to model
the excess risk of myocarditis/pericarditis vs. the expected benefits of preventing COVID-
19 and associated hospitalizations, ICU admissions, and deaths. For estimation of risk,
the model took a conservative approach by relying on non-chart-confirmed cases from a
US healthcare claims database (OPTUM) that could provide a control group and greater
confidence in denominators for vaccine exposures. Thus, the estimates of excess risk in
this model are higher than the rates estimated from reports to VAERS (an uncontrolled
passive surveillance system), with an estimated excess risk approaching 200 cases per
million vaccinated males 16-17 years of age (the age/sex-stratified group with the
highest risk). For estimation of benefit, the model output was highly dependent on the
assumed COVID-19 incidence, as well as assumptions about vaccine efficacy and
duration of protection. The assessment therefore considered a range of scenarios
including but not limited to a “most likely” scenario associated with recent Delta variant
surge and diminished vaccine effectiveness (70% overall, 80% against COVID-19
hospitalization) compared to that observed in the clinical trial. The “worst-case” scenario
with low COVID-19 incidence reflecting the July 2021 nadir and the same somewhat
diminished vaccine effectiveness as in the “most likely” scenario.

For males and females 18 years of age and older and for females 16-17 years of age,
even before accounting for morbidity prevented from non-hospitalized COVID-19, the
model predicts that the benefits of prevented COVID-19 hospitalizations, ICU admissions
and deaths would clearly outweigh the predicted excess risk of vaccine-associated
myocarditis/pericarditis under all conditions examined. For males 16-17 years of age, the
model predicts that the benefits of prevented COVID-19 hospitalizations, ICU admissions
and deaths would clearly outweigh the predicted excess risk of vaccine-associated
myocarditis/pericarditis under the “most likely” scenario, but that predicted excess cases
of vaccine-associated myocarditis/pericarditis would exceed COVID-19 hospitalizations
and deaths under the “worst case” scenario. However, this predicted numerical
imbalance does not account for the greater severity and length of hospitalization, on
average, for COVID-19 compared with vaccine-associated myocarditis/pericarditis.
Additionally, the “worst case” scenario model predicts prevention of >13,000 cases of
non-hospitalized COVID-19 per million vaccinated males 16-17 years of age, which
would include prevention of clinically significant morbidity and/or long-term sequelae
associated with some of these cases. Finally, the model does not account for indirect
societal/public health benefits of vaccination. Considering these additional factors, FDA
concluded that even under the “worst case” scenario the benefits of vaccination
sufficiently outweigh risks to support approval of the vaccine in males 16-17 years of
age.

Mitigation of the observed risks and associated uncertainties will be accomplished
through labeling (including warning statements) and through continued safety
surveillance and postmarketing studies to further assess and understand these risks,
including an immunogenicity and safety study of lower dose levels of COMIRNATY in
individuals 12 through <30 years of age. The Applicant will be required to conduct
postmarketing requirement (PMR) safety studies under Section 505(o) of the Federal
Food, Drug, and Cosmetic Act (FDCA) to assess the known serious risks of myocarditis
and pericarditis and an unexpected serious risk for subclinical myocarditis (see section
11c for study details).
                                            24
   Case 3:21-cv-01211-AW-HTC Document 31-13 Filed 10/21/21 Page 85 of 161



Anaphylaxis
The risk of anaphylaxis was recognized early in the post-authorization time period and it
is included as an important identified risk in the PVP. The estimated crude reporting rate
for anaphylaxis is 6.0 cases per million doses. Therefore, the incidence of anaphylaxis
after receipt of COMIRNATY is comparable with those reported after receipt of other
vaccines.

There were no reports of anaphylaxis associated with COMIRNATY in clinical study
participants through the cutoff date of March 13, 2021.

A contraindication for individuals with known history of a severe allergic reaction (e.g.,
anaphylaxis) to any component of COMIRNATY is included in section 4 of the PI.
Additionally, a warning statement is included in section 5.1 of the PI instructing that
“appropriate medical treatment used to manage immediate allergic reactions must be
immediately available in the event an acute anaphylactic reaction occurs following
administration of COMIRNATY”

Pharmacovigilance Plan (PVP)
The Applicant’s proposed pharmacovigilance plan (version 1.1) includes the following
important risks and missing information:
      Important identified risks: Anaphylaxis; Myocarditis and Pericarditis
      Important potential risk: Vaccine-Associated Enhanced Disease (VAED), including
      Vaccine-Associated Enhanced Respiratory Disease (VAERD)
      Missing information: Use in pregnancy and lactation; Vaccine effectiveness; Use
      in pediatric individuals <12 years of age

In addition to routine pharmacovigilance, the Applicant will conduct the postmarketing
studies listed in Section 11c Recommendation for Postmarketing Activities.

Adverse event reporting under 21 CFR 600.80 and the postmarketing studies in Section
11c are adequate to monitor the postmarketing safety for COMIRNATY.

8. Labeling

The proprietary name, COMIRNATY, was reviewed by CBER’s Advertising and
Promotional Labeling Branch (APLB) on July 2, 2021, and found to be acceptable. CBER
communicated this decision to the Applicant on July 6, 2021. The APLB found the PI and
package/container labels to be acceptable from a promotional and comprehension
perspective. The Review Committee negotiated revisions to the PI, including modifying
the proposed proper name from “COVID-19 mRNA vaccine (nucleoside-modified)” to
“COVID-19 Vaccine, mRNA” and including a warning for an increased risk of myocarditis
and pericarditis following administration of COMIRNATY. All labeling issues regarding
the PI and the carton and container labels were acceptably resolved after exchange of
information and discussions with the Applicant.




                                             25
  Case 3:21-cv-01211-AW-HTC Document 31-13 Filed 10/21/21 Page 86 of 161


9. Advisory Committee Meetings

Vaccines and Related Biological Products Committee (VRBPAC) meetings were
convened on October 22, 2020 to discuss, in general, development for EUA and
licensure of vaccines to prevent COVID-19 and on December 10, 2020, to discuss
BioNTech Manufacturing GmbH/Pfizer’s EUA request for the Pfizer-BioNTech COVID-19
Vaccine.

On October 22, 2020, the VRBPAC was presented with the following items for
discussion (no vote):
   1. Please discuss FDA’s approach to safety and effectiveness data as outlined in the
      respective guidance documents.

   2. Please discuss considerations for continuation of blinded Phase 3 clinical trials if
      an EUA has been issued for an investigational COVID-19 vaccine.

   3. Please discuss studies following licensure and/or issuance of an EUA for COVID-
      19 vaccines to
         a. Further evaluate safety, effectiveness and immune markers of protection
         b. Evaluate the safety and effectiveness in specific populations

In general, the VRBPAC endorsed FDA’s approach and recommendations on the safety
and effectiveness data necessary to support a BLA and EUA for COVID-19 vaccines as
outlined in the respective guidance documents. VRBPAC members recommended for
the median follow-up of 2 month to be the minimum follow-up period and suggested
longer follow-up periods to evaluate, both safety and efficacy, if feasible. The VRBPAC
endorsed the importance of additional studies to further evaluate safety and
effectiveness of the vaccine after EUA issuance and/or licensure and underscored the
need to evaluate the safety and effectiveness of COVID-19 vaccines in specific
populations.

On December 10, 2020, VRBPAC discussed Pfizer- BioNTech Manufacturing GmbH’s
EUA request for their vaccine to prevent COVID-19 in individuals 16 years of age and
older. The committee discussed the safety and efficacy data derived from the clinical
disease endpoint efficacy study C4591001.

The VRPBAC voted on one question:

   1. Based on the totality of scientific evidence available, do the benefits of the Pfizer-
      BioNTech COVID-19 Vaccine outweigh its risks for use in individuals 16 years of
      age and older?

             The results of the vote were as follows:
             Yes = 17        No = 4        Abstain = 1

The VRBPAC was presented with the following items for discussion (no vote):

   1. Pfizer has proposed a plan for continuation of blinded, placebo-controlled follow-
      up in ongoing trials if the vaccine were made available under EUA. Please discuss
                                             26
   Case 3:21-cv-01211-AW-HTC Document 31-13 Filed 10/21/21 Page 87 of 161


      Pfizer’s plan, including how loss of blinded, placebo-controlled follow-up in
      ongoing trials should be addressed.

   2. Please discuss any gaps in plans described today and in the briefing documents
      for further evaluation of vaccine safety and effectiveness in populations who
      receive the Pfizer-BioNTech COVID-19 Vaccine under an EUA.

The committee discussed potential implications of loss of blinded, placebo-controlled
follow-up in ongoing trials including how this may impact availability of safety data to
support a BLA. The VRBPAC commented on the need to further assess vaccine effect
on asymptomatic infection and viral shedding, and further evaluation of safety and
effectiveness in subpopulations such as HIV-infected individuals, individuals with prior
exposure to SARS-CoV-2.

FDA did not refer this application to the VRBPAC because our review of the information
submitted to this BLA did not raise concerns or controversial issues that would have
benefited from an advisory committee discussion.

10. Other Relevant Regulatory Issues

a. Identification of BLA Lots
Upon CBER’s request inquiring about what BLA-compliant EUA-labeled lots may be
available for use upon licensure of COMIRNATY, the Applicant submitted information
listing which lots they considered to be manufactured according to the BLA. To address
the issue of these lots not bearing the vial label associated with BLA approval, CBER
worked with the Applicant to develop a Dear HCP letter to be included with lots
considered by CBER to be BLA-compliant. This letter explained that some lots labeled
for EUA use were also considered BLA-compliant and refers HCP to a website for
additional information. CBER requested and the Applicant agreed that only EUA-labeled
lots that had also undergone CBER lot release according to the BLA would be
considered BLA-compliant and listed at the website included in the Dear HCP letter.

b. Exception to the 21 CFR 610.15(a) Requirement for a Preservative
Under 21 CFR 610.15(a), a vaccine product in multiple-dose containers must (absent
certain exceptions) contain a preservative. The Applicant submitted a request for
exception to this requirement and provided a justification for the multi-dose presentation
of COMIRNATY not containing a preservative. CBER considered the Applicant’s request
for an exception to the 21 CFR 610.15(a) for COMIRNATY as a multiple dose
preservative-free presentation acceptable.

11. Recommendations and Benefit/Risk Assessment

a. Recommended Regulatory Action
   Based on the review of the clinical, pre-clinical, and product-related data submitted in
   the original BLA, the Review Committee recommends approval of COMIRNATY for
   the labeled indication and usage.



                                            27
   Case 3:21-cv-01211-AW-HTC Document 31-13 Filed 10/21/21 Page 88 of 161


b. Benefit/Risk Assessment
   Considering the data submitted to support the safety and effectiveness of
   COMIRNATY that have been presented and discussed in this document, as well as
   the seriousness of COVID-19, the Review Committee is in agreement that the
   risk/benefit balance for COMIRNATY is favorable and supports approval for use in
   individuals 16 years of age and older.

c. Recommendation for Postmarketing Activities
   BioNTech Manufacturing GmbH has committed to conduct the following
   postmarketing activities, which will be included in the approval letter.

POSTMARKETING REQUIREMENTS UNDER SECTION 505(o)

1. Study C4591009, entitled “A Non-Interventional Post-Approval Safety Study of the
   Pfizer-BioNTech COVID-19 mRNA Vaccine in the United States,” to evaluate the
   occurrence of myocarditis and pericarditis following administration of COMIRNATY

      Final Protocol Submission: August 31, 2021
      Monitoring Report Submission: October 31, 2022
      Interim Report Submission: October 31, 2023
      Study Completion: June 30, 2025
      Final Report Submission: October 31, 2025

2. Study C4591021, entitled “Post Conditional Approval Active Surveillance Study
   Among Individuals in Europe Receiving the Pfizer-BioNTech Coronavirus Disease
   2019 (COVID-19) Vaccine,” to evaluate the occurrence of myocarditis and pericarditis
   following administration of COMIRNATY

      Final Protocol Submission: August 11, 2021
      Progress Report Submission: September 30, 2021
      Interim Report 1 Submission: March 31, 2022
      Interim Report 2 Submission: September 30, 2022
      Interim Report 3 Submission: March 31, 2023
      Interim Report 4 Submission: September 30, 2023
      Interim Report 5 Submission: March 31, 2024
      Study Completion: March 31, 2024
      Final Report Submission: September 30, 2024

3. Study C4591021 substudy to describe the natural history of myocarditis and
   pericarditis following administration of COMIRNATY

      Final Protocol Submission: January 31, 2022
      Study Completion: March 31, 2024
      Final Report Submission: September 30, 2024

4. Study C4591036, a prospective cohort study with at least 5 years of follow-up for
   potential long-term sequelae of myocarditis after vaccination (in collaboration with
   Pediatric Heart Network)

                                            28
  Case 3:21-cv-01211-AW-HTC Document 31-13 Filed 10/21/21 Page 89 of 161


      Final Protocol Submission: November 30, 2021
      Study Completion: December 31, 2026
      Final Report Submission: May 31, 2027

5. Study C4591007 substudy to prospectively assess the incidence of subclinical
   myocarditis following administration of the second dose of COMIRNATY in a subset
   of participants 5 through 15 years of age

      Final Protocol Submission: September 30, 2021
      Study Completion: November 30, 2023
      Final Report Submission: May 31, 2024

6. Study C4591031 substudy to prospectively assess the incidence of subclinical
   myocarditis following administration of a third dose of COMIRNATY in a subset of
   participants 16 to 30 years of age

      Final Protocol Submission: November 30, 2021
      Study Completion: June 30, 2022
      Final Report Submission: December 31, 2022

POSTMARKETING COMMITMENTS SUBJECT TO REPORTING REQUIREMENTS
UNDER SECTION 506B

7. Study C4591022, entitled “Pfizer-BioNTech COVID-19 Vaccine Exposure during
   Pregnancy: A Non-Interventional Post-Approval Safety Study of Pregnancy and Infant
   Outcomes in the Organization of Teratology Information Specialists
   (OTIS)/MotherToBaby Pregnancy Registry”

      Final Protocol Submission: July 1, 2021
      Study Completion: June 1, 2025
      Final Report Submission: December 1, 2025

8. Study C4591007 substudy to evaluate the immunogenicity and safety of lower dose
   levels of COMIRNATY in individuals 12 through <30 years of age

      Final Protocol Submission: September 30, 2021
      Study Completion: November 30, 2023
      Final Report Submission: May 31, 2024

9. Study C4591012, entitled “Post-emergency Use Authorization Active Safety
   Surveillance Study Among Individuals in the Veteran’s Affairs Health System
   Receiving Pfizer-BioNTech Coronavirus Disease 2019 (COVID-19) Vaccine”

      Final Protocol Submission: January 29, 2021
      Study Completion: June 30, 2023
      Final Report Submission: December 31, 2023

10. Study C4591014, entitled “Pfizer-BioNTech COVID-19 BNT162b2 Vaccine
    Effectiveness Study - Kaiser Permanente Southern California”
                                          29
   Case 3:21-cv-01211-AW-HTC Document 31-13 Filed 10/21/21 Page 90 of 161



      Final Protocol Submission: March 22, 2021
      Study Completion: December 31, 2022
      Final Report Submission: June 30, 2023

PEDIATRIC REQUIREMENTS

11. Deferred pediatric study C4591001 to evaluate the safety and effectiveness of
    COMIRNATY in children 12 years through 15 years of age

      Final Protocol Submission: October 7, 2020
      Study Completion: May 31, 2023
      Final Report Submission: October 31, 2023

12. Deferred pediatric study C4591007 to evaluate the safety and effectiveness of
    COMIRNATY in children 6 months to <12 years of age

      Final Protocol Submission: February 8, 2021
      Study Completion: November 30, 2023
      Final Report Submission: May 31, 2024

13. Deferred pediatric study C4591023 to evaluate the safety and effectiveness of
    COMIRNATY in infants <6 months of age

      Final Protocol Submission: January 31, 2022
      Study Completion: July 31, 2024
      Final Report Submission: October 31, 2024




                                           30
Case 3:21-cv-01211-AW-HTC Document 31-13 Filed 10/21/21 Page 91 of 161




      Marks Decl.
       Exhibit E
Case 3:21-cv-01211-AW-HTC Document 31-13 Filed 10/21/21 Page 92 of 161

                  Contains Nonbinding Recommendations



    Development and Licensure of
    Vaccines to Prevent COVID-19
             Guidance for Industry




                                 U.S. Department of Health and Human Services
                                                 Food and Drug Administration
                                   Center for Biologics Evaluation and Research
                                                                      June 2020
   Case 3:21-cv-01211-AW-HTC Document 31-13 Filed 10/21/21 Page 93 of 161

                           Contains Nonbinding Recommendations


                                      Preface
Public Comment
This guidance is being issued to address the coronavirus disease 2019 (COVID-19) public health
emergency. This guidance is being implemented without prior public comment because the
Food and Drug Administration (FDA or Agency) has determined that prior public participation
for this guidance is not feasible or appropriate (see section 701(h)(1)(C) of the Federal Food,
Drug, and Cosmetic Act (FD&C Act) (21 U.S.C. 371(h)(1)(C)) and 21 CFR 10.115(g)(2)). This
guidance document is being implemented immediately, but it remains subject to comment in
accordance with the Agency’s good guidance practices.

Comments may be submitted at any time for Agency consideration. Submit written comments to
the Dockets Management Staff (HFA-305), Food and Drug Administration, 5630 Fishers Lane,
Rm. 1061, Rockville, MD 20852. Submit electronic comments to https://www.regulations.gov.
All comments should be identified with the docket FDA-2020-D-1137 and complete title of the
guidance in the request.

Additional Copies
Additional copies are available from the FDA webpage titled “COVID-19-Related Guidance
Documents for Industry, FDA Staff, and Other Stakeholders,” available at
https://www.fda.gov/emergency-preparedness-and-response/mcm-issues/covid-19-related-
guidance-documents-industry-fda-staff-and-other-stakeholders, the FDA webpage titled “Search
for FDA Guidance Documents,” available at https://www.fda.gov/regulatory-
information/search-fda-guidance-documents, and the FDA webpage titled “Biologics
Guidances,” available at https://www.fda.gov/vaccines-blood-biologics/guidance-compliance-
regulatory-information-biologics/biologics-guidances. You may also send an email request to
ocod@fda.hhs.gov to receive an additional copy of the guidance. Please include the docket
number FDA-2020-D-1137 and complete title of the guidance in the request.

Questions
For questions about this document, contact the Office of Communication, Outreach, and
Development (OCOD) by email at ocod@fda.hhs.gov or at 800-835-4709 or 240-402-8010.
       Case 3:21-cv-01211-AW-HTC Document 31-13 Filed 10/21/21 Page 94 of 161

                                             Contains Nonbinding Recommendations


                                                       Table of Contents

I.          INTRODUCTION..................................................................................................................... 1
II.         BACKGROUND ....................................................................................................................... 2
III.        CHEMISTRY, MANUFACTURING, AND CONTROLS – KEY CONSIDERATIONS . 3
       A.        General Considerations ..................................................................................................... 3
       B.        Manufacture of Drug Substance and Drug Product....................................................... 3
       C.        Facilities and Inspections................................................................................................... 5
IV.         NONCLINICAL DATA – KEY CONSIDERATIONS ......................................................... 6
       A.        General Considerations ..................................................................................................... 6
       B.        Toxicity Studies (Refs. 10-14)............................................................................................ 6
       C.        Characterization of the Immune Response in Animal Models ...................................... 7
       D.        Studies to Address the Potential for Vaccine-associated Enhanced Respiratory
                 Disease ................................................................................................................................. 8
V.          CLINICAL TRIALS – KEY CONSIDERATIONS .............................................................. 9
       A.        General Considerations ..................................................................................................... 9
       B.        Trial Populations .............................................................................................................. 10
       C.        Trial Design....................................................................................................................... 12
       D.        Efficacy Considerations ................................................................................................... 13
       E.        Statistical Considerations ................................................................................................ 14
       F.        Safety Considerations ...................................................................................................... 15
VI.         POST-LICENSURE SAFETY EVALUATION – KEY CONSIDERATIONS ................ 16
       A.        General Considerations ................................................................................................... 16
       B.        Pharmacovigilance Activities for COVID-19 Vaccines ................................................ 16
       C.        Required Postmarketing Safety Studies......................................................................... 17
VII.        DIAGNOSTIC AND SEROLOGICAL ASSAYS – KEY CONSIDERATIONS.............. 17
VIII. ADDITIONAL CONSIDERATIONS ................................................................................... 18
       A.        Additional Considerations in Demonstrating Vaccine Effectiveness .......................... 18
       B.        Emergency Use Authorization ........................................................................................ 19
IX.         REFERENCES........................................................................................................................ 20




                                                                             i
     Case 3:21-cv-01211-AW-HTC Document 31-13 Filed 10/21/21 Page 95 of 161

                              Contains Nonbinding Recommendations


           Development and Licensure of
           Vaccines to Prevent COVID-19
                       Guidance for Industry
This guidance represents the current thinking of the Food and Drug Administration (FDA or Agency)
on this topic. It does not establish any rights for any person and is not binding on FDA or the public.
You can use an alternative approach if it satisfies the requirements of the applicable statutes and
regulations. To discuss an alternative approach, contact the FDA staff responsible for this guidance
as listed on the title page.


I.     INTRODUCTION

FDA plays a critical role in protecting the United States from threats such as emerging infectious
diseases, including the Coronavirus Disease 2019 (COVID-19) pandemic which has been caused by
the severe acute respiratory syndrome coronavirus 2 (SARS-CoV-2). FDA is committed to
providing timely guidance to support response efforts to this pandemic.

FDA is issuing this guidance to assist sponsors in the clinical development and licensure of vaccines
for the prevention of COVID-19.

This guidance is intended to remain in effect for the duration of the public health emergency related
to COVID-19 declared by the Secretary of Health and Human Services (HHS) on January 31, 2020,
effective January 27, 2020, including any renewals made by the HHS Secretary in accordance with
section 319(a)(2) of the Public Health Service Act (PHS Act) (42 U.S.C. 247d(a)(2)). The
recommendations described in the guidance are expected to assist the Agency and sponsors in the
clinical development and licensure of vaccines for the prevention of COVID-19 and reflect the
Agency’s current thinking on this issue.

Given this public health emergency, and as discussed in the Notice in the Federal Register of March
25, 2020, titled “Process for Making Available Guidance Documents Related to Coronavirus Disease
2019” (85 FR 16949), available at https://www.govinfo.gov/content/pkg/FR-2020-03-25/pdf/2020-
06222.pdf, this guidance is being implemented without prior public comment because FDA has
determined that prior public participation for this guidance is not feasible or appropriate (see section
701(h)(1)(C) of the Federal Food, Drug, and Cosmetic Act (FD&C Act), (21 U.S.C. 371(h)(1)(C)),
and 21 CFR 10.115(g)(2)). This guidance document is being implemented immediately, but it
remains subject to comment in accordance with the Agency’s good guidance practices. However,
FDA expects that the recommendations set forth in this revised guidance will continue to apply
outside the context of the current public health emergency.



                                                   1
      Case 3:21-cv-01211-AW-HTC Document 31-13 Filed 10/21/21 Page 96 of 161

                                  Contains Nonbinding Recommendations

Therefore, within 60 days following the termination of the public health emergency, FDA intends to
revise and replace this guidance with an updated guidance that incorporates any appropriate changes
based on comments received on this guidance and the Agency’s experience with implementation.

In general, FDA’s guidance documents, including this guidance, do not establish legally enforceable
responsibilities. Instead, guidances describe the Agency’s current thinking on a topic and should be
viewed only as recommendations, unless specific regulatory or statutory requirements are cited. The
use of the word should in Agency guidance means that something is suggested or recommended, but
not required.


II.     BACKGROUND

There is currently an outbreak of respiratory disease caused by a novel coronavirus. The virus has
been named “SARS-CoV-2” and the disease it causes has been named “COVID-19.” On January 31,
2020, the Secretary of HHS issued a declaration of a public health emergency related to COVID-19
and mobilized the Operating Divisions of HHS. 1 In addition, on March 13, 2020, the President
declared a national emergency in response to COVID-19. 2

The SARS-CoV-2 pandemic presents an extraordinary challenge to global health. There are
currently no FDA-licensed vaccines to prevent COVID-19. Commercial vaccine manufacturers and
other entities are developing COVID-19 vaccine candidates using different technologies including
RNA, DNA, protein, and viral vectored vaccines.

This guidance describes FDA’s current recommendations regarding the data needed to facilitate
clinical development and licensure of vaccines to prevent COVID-19. There are currently no
accepted surrogate endpoints that are reasonably likely to predict clinical benefit of a COVID-19
vaccine. Thus, at this time, the goal of development programs should be to pursue traditional
approval via direct evidence of vaccine safety and efficacy in protecting humans from SARS-CoV-2
infection and/or clinical disease.

This guidance provides an overview of key considerations to satisfy regulatory requirements set forth
in the investigational new drug application (IND) regulations in 21 CFR Part 312 and licensing
regulations in 21 CFR Part 601 for chemistry, manufacturing, and controls (CMC), and nonclinical
and clinical data through development and licensure, and for post-licensure safety evaluation of
COVID-19 preventive vaccines. 3 FDA is committed to supporting all scientifically sound
approaches to attenuating the clinical impact of COVID-19. Sponsors engaged in the development
of vaccines to prevent COVID-19 should also see the guidance for industry and investigators,
COVID-19 Public Health Emergency: General Considerations for Pre-IND Meeting Requests for
COVID-19 Related Drugs and Biological Products (Ref. 1).



1
  Secretary of Health and Human Services Alex M. Azar, Determination that a Public Health Emergency Exists. (Jan. 31,
2020, renewed April 21, 2020), available at https://www.phe.gov/emergency/news/healthactions/phe/Pages/default.aspx.
2
  Proclamation on Declaring a National Emergency Concerning the Novel Coronavirus Disease (COVID-19) Outbreak
(Mar. 13, 2020), available at https://www.whitehouse.gov/presidential-actions/proclamation-declaring-national-
emergency-concerning-novel-coronavirus-disease-covid-19-outbreak/.
3
  Novel devices used to administer COVID-19 vaccines raise additional issues which are not addressed in this guidance.
                                                          2
       Case 3:21-cv-01211-AW-HTC Document 31-13 Filed 10/21/21 Page 97 of 161

                             Contains Nonbinding Recommendations


There are many COVID-19 vaccines currently in development and FDA recognizes that the
considerations presented here do not represent all the considerations necessary to satisfy statutory
and regulatory requirements applicable to the licensure of vaccines intended to prevent COVID-19.
The nature of a particular vaccine and its intended use may impact specific data needs. We encourage
sponsors to contact the Center for Biologics Evaluation and Research (CBER) Office of Vaccines
Research and Review (OVRR) with specific questions.


III.     CHEMISTRY, MANUFACTURING, AND CONTROLS – KEY CONSIDERATIONS

         A.    General Considerations

                  COVID-19 vaccines licensed in the United States must meet the statutory and
                  regulatory requirements for vaccine development and approval, including for
                  quality, development, manufacture, and control (section 351(a) of the Public
                  Health Service Act (PHS Act), (42 U.S.C. 262)). The vaccine product must be
                  adequately characterized and its manufacture in compliance with applicable
                  standards including current good manufacturing practice (cGMP) (section
                  501(a)(2)(B) of the FD&C Act (21 U.S.C. 351(a)(2)( B)) and 21 CFR Parts 210,
                  211, and 610). It is critical that vaccine production processes for each vaccine are
                  well defined and appropriately controlled to ensure consistency in manufacturing.

                  COVID-19 vaccine development may be accelerated based on knowledge gained
                  from similar products manufactured with the same well-characterized platform
                  technology, to the extent legally and scientifically permissible. Similarly, with
                  appropriate justification, some aspects of manufacture and control may be based
                  on the vaccine platform, and in some instances, reduce the need for product-
                  specific data. FDA recommends that vaccine manufacturers engage in early
                  communications with OVRR to discuss the type and extent of chemistry,
                  manufacturing, and control information needed for development and licensure of
                  their COVID-19 vaccine.

         B.    Manufacture of Drug Substance and Drug Product

                  Data should be provided to show that all source material used in manufacturing is
                  adequately controlled, including, for example, history and qualification of cell
                  banks, history and qualification of virus banks, and identification of all animal
                  derived materials used for cell culture and virus growth.

                  Complete details of the manufacturing process must be provided in a Biologics
                  License Application (BLA) to support licensure of a COVID-19 vaccine (21 CFR
                  601.2). Accordingly, sponsors should submit data and information identifying
                  critical process parameters, critical quality attributes, batch records, defined hold
                  times, and the in-process testing scheme. Specifications should be established for



                                                  3
Case 3:21-cv-01211-AW-HTC Document 31-13 Filed 10/21/21 Page 98 of 161

                     Contains Nonbinding Recommendations

          each critical parameter. Validation data from the manufacture of platform-related
          products may provide useful supportive information, particularly in the
          identification of critical parameters.

          In-process control tests must be established that allow quality to be monitored for
          each lot for all stages of production (section 501(a)(2)(B) of the FD&C Act (21
          U.S.C. 351(a)(2)(B)) and, as applicable, 21 CFR 211.110(a)).

          Data to support the consistency of the manufacturing process should be provided,
          including process validation protocols and study reports, data from engineering
          lots, and drug substance process performance qualification.

          The manufacturing process must be adequately validated (section 501(a)(2)(B) of
          the FD&C Act (21 U.S.C. 351(a)(2)(B)) and, as applicable, 21 CFR 211.100(a)
          and 211.110). Validation would typically include a sufficient number of
          commercial-scale batches that can be manufactured routinely, meeting
          predetermined in-process controls, critical process parameters, and lot release
          specifications. Typically, data on the manufacture of at least three commercial-
          scale batches are sufficient to support the validation of the manufacturing process
          (Ref. 2).

          A quality control system should be in place for all stages of manufacturing,
          including a well-defined testing program to ensure in process/intermediate product
          quality and product quality throughout the formulation and filling process. This
          system should also include a well-defined testing program to ensure drug
          substance quality profile and drug product quality for release. Data on the
          qualification/validation for all quality indicating assays should be submitted to the
          BLA to support licensure.

          All quality-control release tests, including key tests for vaccine purity, identity and
          potency, should be validated and shown to be suitable for the intended purpose.
          Release specifications are product specific and will be discussed with the sponsor
          as part of the review of a BLA.

          If adequately justified, final validation of formulation and filling operations may
          be completed after product approval if the impact on product quality is not
          compromised. It is important that any data that will be submitted after product
          approval be agreed upon prior to licensure and be submitted as a postmarketing
          commitment using the appropriate submission category.

          For vaccine licensure, the stability and expiry date of the vaccine in its final
          container, when maintained at the recommended storage temperature, should be
          demonstrated using final containers from at least three final lots made from
          different vaccine bulks.

          Storage conditions, including container closure integrity, must be fully validated
          (21 CFR 211.166).

                                           4
Case 3:21-cv-01211-AW-HTC Document 31-13 Filed 10/21/21 Page 99 of 161

                    Contains Nonbinding Recommendations

          The vaccine must have been shown to maintain its potency for a period equal to
          that from the date of release to the expiry date (21 CFR 601.2 and 610.10). Post
          marketing commitments to provide full shelf life data may be acceptable with
          appropriate justification.

          A product specific stability program should be established to verify that licensed
          product maintains quality over the defined shelf life.

  C.   Facilities and Inspections

          Facilities must be of suitable size and construction to facilitate operations and
          should be adequately designed to prevent contamination, cross-contamination and
          mix-ups (section 501(a)(2)(B) of the FD&C Act (21 U.S.C. 351(a)(2)(B)) and, as
          applicable,21 CFR 211.42(a)). All utilities (including plumbing and sanitation)
          must be validated, and HVAC systems must provide adequate control over air
          pressure, micro-organisms, dust, humidity, and temperature, and sufficient
          protection or containment as needed (section 501(a)(2)(B) of the FD&C Act (21
          U.S.C. 351(a)(2)(B)) and, as applicable, 21 CFR 211.46(c)) (Ref. 3). Facility and
          equipment cleaning and maintenance processes must be developed and validated
          (section 501(a)(2)(B) of the FD&C Act (21 U.S.C. 351(a)(2)(B)) and, as
          applicable, 21 CFR 211.56(c) and 211.67(b)) .

          Manufacturing equipment should be qualified and sterile filtration and sterilization
          processes validated. Aseptic processes should be adequately validated using
          media simulations and personnel should be trained and qualified for their intended
          duties.

          A quality control unit must be established and must have the responsibility for
          oversight of manufacturing, and review and release of components, containers and
          closures, labeling, in-process material, and final products (section 501(a)(2)(B) of
          the FD&C Act (21 U.S.C. 351(a)(2)(B)) and, as applicable, 21 CFR 211.22). The
          quality control unit must have the responsibility for approving validation
          protocols, reports, investigate deviations, and institute corrective and preventive
          actions.

          FDA recommends that vaccine manufacturers engage in early communication
          with CBER’s Office of Compliance and Biologics Quality, Division of
          Manufacturing and Product Quality to discuss facility preparation and inspection
          timing.

          Pre-license inspections of manufacturing sites are considered part of the review of
          a BLA and are generally conducted following the acceptance of a BLA filing (21
          CFR 601.20). During the COVID-19 public health emergency, FDA is utilizing
          all available tools and sources of information to support regulatory decisions on
          applications that include sites impacted by FDA’s ability to inspect due to
          COVID-19. During this interim period, we are using additional tools, where
          available, to determine the need for an on-site inspection and to support the
                                          5
      Case 3:21-cv-01211-AW-HTC Document 31-13 Filed 10/21/21 Page 100 of 161

                                   Contains Nonbinding Recommendations

                      application assessment, such as reviewing a firm’s previous compliance history,
                      and requesting records in advance of or in lieu of on-site inspections or voluntarily
                      from facilities and sites.


IV.      NONCLINICAL DATA – KEY CONSIDERATIONS

         A.       General Considerations

                      The purpose of nonclinical studies of a COVID-19 vaccine candidate is to define
                      its immunogenicity and safety characteristics through in vitro and in vivo testing.
                      Nonclinical studies in animal models 4 help identify potential vaccine related
                      safety risks and guide the selection of dose, dosing regimen, and route of
                      administration to be used in clinical studies. The extent of nonclinical data
                      required to support proceeding to first in human (FIH) clinical trials depends on
                      the vaccine construct, the supportive data available for the construct and data from
                      closely related vaccines.

                      Data from studies in animal models administered certain vaccine constructs
                      against other coronaviruses (SARS-CoV and MERS-CoV) have raised concerns of
                      a theoretical risk for COVID-19 vaccine-associated enhanced respiratory disease
                      (ERD). In these studies, animal models were administered vaccine constructs
                      against other coronaviruses and subsequently challenged with the respective wild-
                      type virus. These studies have shown evidence of immunopathologic lung
                      reactions characteristic of a Th-2 type hypersensitivity similar to ERD described
                      in infants and animals that were administered formalin-inactivated respiratory
                      syncytial virus (RSV) vaccine and that were subsequently challenged with RSV
                      virus due to natural exposure or in the laboratory, respectively (Refs. 4-9).
                      Vaccine candidates should be assessed in light of these studies as described in
                      section D, below.

                      FDA recommends that vaccine manufacturers engage in early communications
                      with FDA to discuss the type and extent of nonclinical testing required for the
                      particular COVID-19 vaccine candidate to support proceeding to FIH clinical
                      trials and further clinical development.

         B.       Toxicity Studies (Refs. 10-14)

                      For a COVID-19 vaccine candidate consisting of a novel product type and for
                      which no prior nonclinical and clinical data are available, nonclinical safety
                      studies will be required prior to proceeding to FIH clinical trials 21 CFR
                      312.23(a)(8).

4
 The preclinical program for any investigational product should be individualized with respect to scope, complexity, and
overall design. We support the principles of the “3Rs,” to reduce, refine, and replace animal use in testing when feasible.
Proposals, with justification for any potential alternative approaches (e.g., in vitro or in silico testing), should be
submitted during early communication meetings with FDA (see section VI of this document). We will consider if such
an alternative method could be used in place of an animal test method.
                                                             6
Case 3:21-cv-01211-AW-HTC Document 31-13 Filed 10/21/21 Page 101 of 161

                     Contains Nonbinding Recommendations


           In some cases, it may not be necessary to perform nonclinical safety studies prior
           to FIH clinical trials because adequate information to characterize product safety
           may be available from other sources. For example, if the COVID-19 vaccine
           candidate is made using a platform technology utilized to manufacture a licensed
           vaccine or other previously studied investigational vaccines and is sufficiently
           characterized, it may be possible to use toxicology data (e.g., data from repeat
           dose toxicity studies, biodistribution studies) and clinical data accrued with other
           products using the same platform to support FIH clinical trials for that COVID-19
           vaccine candidate. Vaccine manufacturers should summarize the findings and
           provide a rationale if considering using these data in lieu of performing
           nonclinical safety studies.

           When needed to support proceeding to FIH clinical trials, nonclinical safety
           assessments including toxicity and local tolerance studies must be conducted
           under conditions consistent with regulations prescribing good laboratory practices
           for conducting nonclincial laboratory studies (GLP) (21 CFR Part 58). Such
           studies should be completed and analysed prior to initiation of FIH clinical trials.
           When toxicology studies do not adequately characterize risk, additional safety
           testing should be conducted as appropriate.

           Data from toxicity studies may be submitted as unaudited final draft toxicicologic
           reports to accelerate proceeding to FIH clincial trials with COVID-19 vaccine
           candidates. The final, fully quality-assured reports should be available to FDA
           within 120 days of the start of the FIH clinical trial.

           Use of COVID-19 preventive vaccines in pregnancy and in women of
           childbearing potential will be an important consideration for vaccination
           programs. Therefore, FDA recommends that prior to enrolling pregnant women
           and women of childbearing potential who are not actively avoiding pregnancy in
           clinical trials, sponsors conduct developmental and reproductive toxicity (DART)
           studies with their respective COVID-19 vaccine candidate. Alternatively,
           sponsors may submit available data from DART studies with a similar product
           using comparable platform technology if, after consultation with the agency, the
           agency agrees those data are scientifically sufficient.

           Biodistribution studies in an animal species should be considered if the vaccine
           construct is novel in nature and there are no existing biodistribution data from the
           platform technology. These studies should be conducted if there is a likelihood of
           altered infectivity and tissue tropism or if a novel route of administration and
           formulation is to be used.

  C.    Characterization of the Immune Response in Animal Models

           Immunogenicity studies in animal models responsive to the selected COVID-19
           vaccine antigen should be conducted to evaluate the immunologic properties of
           the COVID-19 vaccine candidate and to support FIH clinical trials. The aspects of

                                           7
Case 3:21-cv-01211-AW-HTC Document 31-13 Filed 10/21/21 Page 102 of 161

                     Contains Nonbinding Recommendations

           immunogenicity to be measured should be appropriate for the vaccine construct
           and its intended mechanism of action.

           Studies should include an evaluation of humoral, cellular, and functional immune
           responses, as appropriate to each of the included COVID-19 antigens. Use of
           antigen-specific enyzme linked immunosorbent assays (ELISA) should be
           considered to characterize the humoral response. Evaluation of cellular reponses
           should include the examination of CD8+ and CD4+ T cell responses using
           sensitive and specific assays. The functional activity of immune responses should
           be evaluated in vitro in neutralization assays using either wild-type virus or
           pseudovirion virus. The assays used for immunogencity evaluation should be
           demonstrated to be suitable for their intended purpose.

  D.    Studies to Address the Potential for Vaccine-associated Enhanced Respiratory
        Disease

           Current knowledge and understanding of the potential risk of COVID-19 vaccine
           associated ERD is limited, as is understanding of the value of available animal
           models in predicting the likelihood of such occurrence in humans. Nevertheless,
           studies in animal models (e.g., rodents and non-human primates) are considered
           important to address the potential for vaccine-associated ERD.

           Post-vaccination animal challenge studies and the characterization of the type of
           the nonclinical and clinical immune response induced by the particular COVID-19
           vaccine candidate can be used to evaluate the likelihood of the vaccine to induce
           vaccine-associated ERD in humans.

           To support proceeding to FIH clinical trials, sponsors should conduct studies
           characterizing the vaccine-induced immune response in animal models evaluating
           immune markers of potential ERD outcomes. These should include assessments
           of functional immune responses (e.g., neutralizing antibody) versus total antibody
           responses and Th1/Th2 balance in animals vaccinated with clinically relevant
           doses of the COVID-19 vaccine candidate.

           COVID-19 vaccine candidates with immunogenicity data demonstrating high
           neutralizing antibody titers and Th1-type T cell polarization may be allowed to
           proceed to FIH trials without first completing postvaccination challenge studies in
           appropriate animal models, provided adequate risk mitigation strategies are put in
           place in the FIH trials. In these situations, postvaccination challenge studies are
           expected to be conducted in parallel with FIH trials to ensure the potential for
           vaccine-associated ERD is addressed prior to enrolling large numbers of human
           subjects into Phase 2 and 3 clinical trials. For COVID-19 vaccine candidates for
           which other data raise increased concerns about ERD, postvaccination animal
           challenge data and/or animal immunopathology studies are critical to assess
           protection and/or ERD prior to advancing to FIH clinical trials.



                                          8
     Case 3:21-cv-01211-AW-HTC Document 31-13 Filed 10/21/21 Page 103 of 161

                          Contains Nonbinding Recommendations

                The totality of data for a specific COVID-19 vaccine candidate, including data
                from postvaccination challenge studies in small animal models and from FIH
                clinical trials characterizing the type of immune responses induced by the vaccine
                will be considered in determining whether Phase 3 studies can proceed in the
                absence of postvaccination challenge data to address risk of ERD.


V.     CLINICAL TRIALS – KEY CONSIDERATIONS

       A.    General Considerations

                Understanding of SARS-CoV-2 immunology, and specifically vaccine immune
                responses that might predict protection against COVID-19, is currently limited
                and evolving. Thus, while evaluation of immunogenicity is an important
                component of COVID-19 vaccine development, at this time, the goal of
                development programs should be to pursue traditional approval via direct evidence
                of vaccine efficacy in protecting humans from SARS-CoV-2 infection and/or
                disease.

                Clinical development programs for COVID-19 vaccines might be expedited by
                adaptive and/or seamless clinical trial designs (described below) that allow for
                selection between vaccine candidates and dosing regimens and for more rapid
                progression through the usual phases of clinical development.

                Regardless of whether clinical development programs proceed in discrete phases
                with separate studies or via a more seamless approach, an adequate body of data,
                including data to inform the risk of vaccine-associated ERD, will be needed as
                clinical development progresses to support the safety of vaccinating the proposed
                study populations and number of participants and, for later stage development, to
                ensure that the study design is adequate to meet its objectives.

                FDA can provide early advice, and potentially concurrence in principle, on plans
                for expedited/seamless clinical development. However, sponsors should plan to
                submit summaries of data available at each development milestone for FDA
                review and concurrence prior to advancing to the next phase of development.

                Conducting clinical trials in the setting of a public health emergency presents
                operational challenges. FDA has issued guidance to provide general
                considerations to assist sponsors in assuring the safety of trial participants,
                maintaining compliance with good clinical practice (GCP), and minimizing risks
                to trial integrity for the duration of the COVID-19 public health emergency. It
                should be noted that not all of the recommendations in that guidance may be
                applicable to vaccine development, given some of the different considerations for
                these products (Ref. 15).




                                               9
Case 3:21-cv-01211-AW-HTC Document 31-13 Filed 10/21/21 Page 104 of 161

                      Contains Nonbinding Recommendations

  B.    Trial Populations

           Once acceptable pre-clinical data are available, FIH and other early phase studies
           (which typically expose 10–100 participants to each vaccine candidate being
           evaluated) should first enroll healthy adult participants who are at low risk of
           severe COVID-19. Exclusion of participants at higher risk of severe COVID-19
           from early phase studies is necessary to mitigate potential risk of vaccine-
           associated ERD until additional data to inform that potential risk becomes
           available through ongoing product development.

           o As the understanding of COVID-19 pathogenesis continues to evolve,
             exclusion criteria should reflect the current understanding of risk factors for
             more severe COVID-19, such as those described by the Centers for Disease
             Control and Prevention (Ref. 16).

           o Older adult participants (e.g., over 55 years of age) may be enrolled in FIH
             and other early phase studies so long as they do not have medical
             comorbidities associated with an increased risk of severe COVID-19. Some
             preliminary safety data in younger adults (e.g., 7 days after a single
             vaccination) should be available prior to enrolling older adult participants,
             especially for vaccine platforms without prior clinical experience.

           o If possible, early clinical studies should also exclude participants at high risk
             of SARS-CoV-2 exposure (e.g., healthcare workers).

          Sponsors should collect and evaluate at least preliminary clinical safety and
          immunogenicity data for each dose level and age group (e.g., younger versus older
          adults) to support progression of clinical development to include larger numbers
          (e.g., hundreds) of participants and participants at higher risk of severe COVID-19.

           o Preliminary immunogenicity data from early phase development should
             include assessments of neutralizing vs. total antibody responses and Th1 vs.
             Th2 polarization.

           o Additional data to further inform potential risk of vaccine-associated ERD and
             to support progression of clinical development, if available, may include
             preliminary evaluation of COVID-19 disease outcomes from earlier clinical
             development and results of non-clinical studies evaluating protection and/or
             histopathological markers of vaccine-associated ERD following SARS-CoV-2
             challenge.

           To generate sufficient data to meet the BLA approval standard, late phase clinical
           trials to demonstrate vaccine efficacy with formal hypothesis testing will likely
           need to enroll many thousands of participants, including many with medical
           comorbidities for trials seeking to assess protection against severe COVID-19.

           o Initiation of late phase trials should be preceded by adequate characterization
             of safety and immunogenicity (e.g., in a few hundred participants for each
                                           10
Case 3:21-cv-01211-AW-HTC Document 31-13 Filed 10/21/21 Page 105 of 161

                     Contains Nonbinding Recommendations

              vaccine candidate, dose level, and age group to be evaluated) to support
              general safety, potential for vaccine efficacy, and low risk of vaccine-
              associated ERD.

           o Results of non-clinical studies evaluating protection and/or histopathological
             markers of vaccine-associated ERD following SARS-CoV-2 challenge and
             COVID-19 disease outcomes from earlier clinical development are other
             potentially important sources of information to support clinical trials with
             thousands of participants.

           Although establishing vaccine safety and efficacy in SARS-CoV-2 naïve
           individuals is critical, vaccine safety and COVID-19 outcomes in individuals with
           prior SARS-CoV-2 infection, which might have been asymptomatic, is also
           important to examine because pre-vaccination screening for prior infection is
           unlikely to occur in practice with the deployment of licensed COVID-19 vaccines.
           Therefore, COVID-19 vaccine trials need not screen for or exclude participants
           with history or laboratory evidence of prior SARS-CoV-2 infection. However,
           individuals with acute COVID-19 (or other acute infectious illness) should be
           excluded from COVID-19 vaccine trials.

           FDA encourages the inclusion of diverse populations in all phases of vaccine
           clinical development. This inclusion helps to ensure that vaccines are safe and
           effective for everyone in the indicated populations.

           o FDA strongly encourages the enrollment of populations most affected by
             COVID-19, specifically racial and ethnic minorities.

           o Evaluation of vaccine safety and efficacy in late phase clinical development in
             adults should include adequate representation of elderly individuals and
             individuals with medical comorbidities.

           o FDA encourages vaccine developers to consider early in their development
             programs data that might support inclusion of pregnant women and women of
             childbearing potential who are not actively avoiding pregnancy in pre-
             licensure clinical trials (Ref. 17).

           o It is important for developers of COVID-19 vaccines to plan for pediatric
             assessments of safety and effectiveness, given the nature of the COVID-19
             public health emergency, and to help ensure compliance with the Pediatric
             Research Equity Act (PREA) (section 505B of the FD&C Act (21 U.S.C.
             355c)) (Ref. 18). The epidemiology and pathogenesis of COVID-19, and the
             safety and effectiveness of COVID-19 vaccines, may be different in children
             compared with adults. In order to ensure compliance with 21 CFR Part 50
             Subpart D (Additional safeguards for children in clinical investigations),
             considerations on the prospect of direct benefit and acceptable risk to support
             initiation of pediatric studies, and the appropriate design and endpoints for
             pediatric studies, should be discussed in the context of specific vaccine
             development programs.
                                         11
Case 3:21-cv-01211-AW-HTC Document 31-13 Filed 10/21/21 Page 106 of 161

                       Contains Nonbinding Recommendations

  C.    Trial Design

           Early phase trials often aim to down-select among multiple vaccine candidates
           and/or dosing regimens via randomization of participants to different treatment
           groups. While including a placebo control and blinding are not required for early
           phase studies, doing so may assist in interpretation of preliminary safety data.

           Later phase trials, including efficacy trials, should be randomized, double-blinded,
           and placebo controlled.

           o An individually randomized controlled trial with 1:1 randomization between
             vaccine and placebo groups is usually the most efficient study design for
             demonstrating vaccine efficacy. Other types of randomization, such as cluster
             randomization, may be acceptable but require careful consideration of
             potential biases that are usually avoided with individual randomization.

           o An efficacy trial that evaluates multiple vaccine candidates against a single
             placebo group may be an acceptable approach to further increase efficiency,
             provided that the trial is adequately designed with appropriate statistical
             methods to evaluate efficacy.

           o If the availability of a COVID-19 vaccine proven to be safe and effective
             precludes ethical inclusion of a placebo control group, that vaccine could serve
             as the control treatment in a study designed to evaluate efficacy with non-
             inferiority hypothesis testing.

           Protocols for adaptive trials should include pre-specified criteria for adding or
           removing vaccine candidates or dosing regimens, and protocols for seamless trials
           should include pre-specified criteria (e.g., safety and immunogenicity data) for
           advancing from one phase of the study to the next.

           Follow-up of study participants for COVID-19 outcomes (in particular, for severe
           COVID-19 disease manifestations) should continue as long as feasible, ideally at
           least one to two years, to assess duration of protection and potential for vaccine-
           associated ERD as immune responses to the vaccine wane.

           Efficacy trials should include contingency plans for continued follow up and
           analysis of safety and effectiveness outcomes in the event that a safe and effective
           vaccine becomes available (e.g., as demonstrated in a planned interim analysis or
           as demonstrated in another clinical trial). In that case, discussion with the agency
           may be necessary to address ethical arguments to break the blind and offer vaccine
           to placebo recipients.

           In cases where statistical equivalency testing of vaccine immune responses in
           humans is required to support manufacturing consistency (clinical lot-to-lot
           consistency trial), this testing can be incorporated into the design of an efficacy
           trial and does not need to be conducted in a separate study.

                                           12
Case 3:21-cv-01211-AW-HTC Document 31-13 Filed 10/21/21 Page 107 of 161

                      Contains Nonbinding Recommendations

  D.    Efficacy Considerations

           Either laboratory-confirmed COVID-19 or laboratory-confirmed SARS-CoV-2
           infection is an acceptable primary endpoint for a COVID-19 vaccine efficacy trial.

           o Acute cases of COVID-19 should be virologically confirmed (e.g., by RT-
             PCR).

           o SARS-CoV-2 infection, including asymptomatic infection, can be monitored
             for and confirmed either by virologic methods or by serologic methods
             evaluating antibodies to SARS-CoV-2 antigens not included in the vaccine.

           Standardization of efficacy endpoints across clinical trials may facilitate
           comparative evaluation of vaccines for deployment programs, provided that such
           comparisons are not confounded by differences in trial design or study
           populations. To this end, FDA recommends that either the primary endpoint or a
           secondary endpoint (with or without formal hypothesis testing) be defined as
           virologically confirmed SARS-CoV-2 infection with one or more of the following
           symptoms:
           o   Fever or chills
           o   Cough
           o   Shortness of breath or difficulty breathing
           o   Fatigue
           o   Muscle or body aches
           o   Headache
           o   New loss of taste or smell
           o   Sore throat
           o   Congestion or runny nose
           o   Nausea or vomiting
           o   Diarrhea

           As it is possible that a COVID-19 vaccine might be much more effective in
           preventing severe versus mild COVID-19, sponsors should consider powering
           efficacy trials for formal hypothesis testing on a severe COVID-19 endpoint.
           Regardless, severe COVID-19 should be evaluated as a secondary endpoint (with
           or without formal hypothesis testing) if not evaluated as a primary endpoint. FDA
           recommends that severe COVID-19 be defined as virologically confirmed SARS-
           CoV-2 infection with any of the following:

           o

             or PaO2/FiO2 < 300 mm Hg)
           o Respiratory failure (defined as needing high-flow oxygen, noninvasive
             ventilation, mechanical ventilation or ECMO)
           o Evidence of shock (SBP < 90 mm Hg, DBP < 60 mm Hg, or requiring
             vasopressors)
           o Significant acute renal, hepatic, or neurologic dysfunction

                                          13
Case 3:21-cv-01211-AW-HTC Document 31-13 Filed 10/21/21 Page 108 of 161

                      Contains Nonbinding Recommendations

           o Admission to an ICU
           o Death

           SARS-CoV-2 infection (whether or not symptomatic) should be evaluated as a
           secondary or exploratory endpoint, if not evaluated as a primary endpoint.

           The above diagnostic criteria may need to be modified in certain populations; for
           example, in pediatric patients and those with respiratory comorbidities. Sponsors
           should discuss their proposed case definitions with the Agency prior to initiating
           enrollment.

  E.    Statistical Considerations

           To ensure that a widely deployed COVID-19 vaccine is effective, the primary
           efficacy endpoint point estimate for a placebo-controlled efficacy trial should be at
           least 50%, and the statistical success criterion should be that the lower bound of
           the appropriately alpha-adjusted confidence interval around the primary efficacy
           endpoint point estimate is >30%.

           o The same statistical success criterion should be used for any interim analysis
             designed for early detection of efficacy.

           o A lower bound 30% but >0% may be acceptable as a statistical success
             criterion for a secondary efficacy endpoint, provided that secondary endpoint
             hypothesis testing is dependent on success on the primary endpoint.

           For non-inferiority comparison to a COVID-19 vaccine already proven to be
           effective, the statistical success criterion should be that the lower bound of the
           appropriately alpha-adjusted confidence interval around the primary relative
           efficacy point estimate is >-10%.

           For each vaccine candidate, appropriate statistical methods should be used to
           control type 1 error for hypothesis testing on multiple endpoints and/or interim
           efficacy analyses.

           Late phase studies should include interim analyses to assess risk of vaccine-
           associated ERD (see section F) and futility.

           Study sample sizes and timing of interim analyses should be based on the
           statistical success criteria for primary and secondary (if applicable) efficacy
           analyses and realistic, data-driven estimates of vaccine efficacy and incidence of
           COVID-19 (or SARS-CoV-2 infection) for the populations and locales in which
           the trial will be conducted.




                                           14
Case 3:21-cv-01211-AW-HTC Document 31-13 Filed 10/21/21 Page 109 of 161

                     Contains Nonbinding Recommendations

  F.    Safety Considerations

           The general safety evaluation of COVID-19 vaccines, including the size of the
           safety database to support vaccine licensure, should be no different than for other
           preventive vaccines for infectious diseases. Safety assessments throughout
           clinical development should include:

           o Solicited local and systemic adverse events for at least 7 days after each study
             vaccination in an adequate number of study participants to characterize
             reactogenicity (including at least a subset of participants in late phase efficacy
             trials).

           o Unsolicited adverse events in all study participants for at least 21–28 days
             after each study vaccination.

           o Serious and other medically attended adverse events in all study participants
             for at least 6 months after completion of all study vaccinations. Longer safety
             monitoring may be warranted for certain vaccine platforms (e.g., those that
             include novel adjuvants).

           o All pregnancies in study participants for which the date of conception is prior
             to vaccination or within 30 days after vaccination should be followed for
             pregnancy outcomes, including pregnancy loss, stillbirth, and congenital
             anomalies.

           The pre-licensure safety database for preventive vaccines for infectious diseases
           typically consists of at least 3,000 study participants vaccinated with the dosing
           regimen intended for licensure. FDA anticipates that adequately powered efficacy
           trials for COVID-19 vaccines will be of sufficient size to provide an acceptable
           safety database for each of younger adult and elderly populations, provided that no
           significant safety concerns arise during clinical development that would warrant
           further pre-licensure evaluation.

           COVID-19 vaccine trials should periodically monitor for unfavorable imbalances
           between vaccine and control groups in COVID-19 disease outcomes, in particular
           for cases of severe COVID-19 that may be a signal for vaccine-associated ERD.

           o Studies should include pre-specified criteria for halting based on signals of
             potential vaccine-associated ERD.

           o FDA recommends use of an independent data safety monitoring board
             (DSMB) (Ref. 18) for vaccine-associated ERD and other safety signal
             monitoring, especially during later stage development.




                                          15
      Case 3:21-cv-01211-AW-HTC Document 31-13 Filed 10/21/21 Page 110 of 161

                               Contains Nonbinding Recommendations

VI.     POST-LICENSURE SAFETY EVALUATION – KEY CONSIDERATIONS

        A.      General Considerations

                As with all licensed vaccines, there can be limitations in the safety database accrued
             from the pre-licensure clinical studies of a COVID-19 vaccine. For example:
                    o The number of subjects receiving a COVID-19 vaccine in pre-licensure
                      clinical studies may not be adequate to detect some adverse reactions that may
                      occur infrequently.
                    o Pre-licensure safety data in some subpopulations likely to receive a COVID-19
                      vaccine (e.g., pregnant individuals, or individuals with medical comorbidities)
                      may be limited at the time of licensure.
                    o For some COVID-19 vaccines, the safety follow-up period to monitor for
                      possible vaccine-associated ERD and other adverse reactions may not have
                      been completed for all subjects enrolled in pre-licensure clinical studies before
                      the vaccine is licensed.

                    For COVID-19 vaccines, it is likely that during the early postmarketing period, a
                    large population might be vaccinated in a relatively short timeframe. Thus, FDA
                    recommends early planning of pharmacovigilance activities before licensure.

                    To facilitate accurate recording and identification of vaccines in health records,
                    manufacturers should consider establishment of individual Current Procedural
                    Terminology (CPT) codes and the use of bar codes to label the immediate
                    container.

        B.      Pharmacovigilance Activities for COVID-19 Vaccines

                    Routine pharmacovigilance for licensed biological products includes expedited
                    reporting of serious and unexpected adverse events as well as periodic safety
                    reports in accordance with 21 CFR 600.80 (Postmarketing reporting of adverse
                    experiences).

                    FDA recommends that at the time of a BLA submission for a COVID-19 vaccine,
                    applicants submit a Pharmacovigilance Plan (PVP) as described in the FDA
                    Guidance for Industry; E2E Pharmacovigilance Planning (Ref. 20). The contents
                    of a PVP for a COVID-19 vaccine will depend on its safety profile and will be
                    based on data, which includes the pre-licensure clinical safety database, preclinical
                    data, and available safety information for related vaccines, among other
                    considerations.

                    The PVP should include actions designed to address all important identified risks,
                    important potential risks or important missing information.
                    Pharmacoepidemiologic studies or other actions to evaluate notable potential risks,
                    such as vaccine-associated ERD, should be considered. FDA may recommend
                    one or more of the following as components of a PVP for a COVID-19 vaccine:
                                                   16
   Case 3:21-cv-01211-AW-HTC Document 31-13 Filed 10/21/21 Page 111 of 161

                         Contains Nonbinding Recommendations


               o Submission of reports of specific adverse events of interest in an expedited
                 manner beyond routine required reporting;
               o Submission of adverse event report summaries at more frequent intervals than
                 specified for routine required reporting;
               o Ongoing and/or extended safety follow-up (under an IND) for vaccine-
                 associated ERD of subjects enrolled in pre-licensure clinical studies;
               o A pharmacoepidemiologic study to further evaluate (an) important identified
                 or potential risk(s) from the clinical development program, such as vaccine-
                 associated ERD or other uncommon or delayed-onset adverse events of special
                 interest;
               o A pregnancy exposure registry that actively collects information on
                 vaccination during pregnancy and associated pregnancy and infant outcomes
                 (Ref. 21).

       C.   Required Postmarketing Safety Studies

               Section 505(o)(3) of the FD&C Act (21 U.S.C. 355(o)(3)) authorizes FDA to
               require certain postmarketing studies or clinical trials for prescription drugs
               approved under section 505(b) of the FD&C Act (21 U.S.C. 355(b)) and
               biological products approved under section 351 of the PHS Act (42 U.S.C. 262)
               (Ref. 22). Under section 505(o)(3), FDA can require such studies or trials at the
               time of approval to assess a known serious risk related to the use of the drug, to
               assess signals of serious risk related to the use of the drug, or to identify an
               unexpected serious risk when available data indicate the potential for a serious
               risk. Under section 505(o)(3), FDA can also require such studies or trials after
               approval if FDA becomes aware of new safety information, which is defined at
               section 505-1(b)(3) of the FD&C Act (21 U.S.C. 355-1(b)(3)).

               For COVID-19 vaccines, FDA may require postmarketing studies or trials to
               assess known or potential serious risks when such studies or trials are warranted.


VII.   DIAGNOSTIC AND SEROLOGICAL ASSAYS – KEY CONSIDERATIONS

               Diagnostic assays used to support the pivotal efficacy analysis (e.g., RT-PCR)
               should be sensitive and accurate for the purpose of confirming infection and
               should be validated before use.

               Assays used for immunogenicity evaluation should be suitable for their intended
               purpose of assessing relevant immune responses to vaccination and be validated
               before use in pivotal clinical trials.




                                              17
  Case 3:21-cv-01211-AW-HTC Document 31-13 Filed 10/21/21 Page 112 of 161

                       Contains Nonbinding Recommendations

VIII. ADDITIONAL CONSIDERATIONS

    A.    Additional Considerations in Demonstrating Vaccine Effectiveness

             Given the current state of knowledge about COVID-19, the most direct approach
             to demonstrate effectiveness for a COVID-19 vaccine candidate is based on
             clinical endpoint efficacy trials showing protection against disease (see section V.
             D. above).

             Once additional understanding of SARS-CoV-2 immunology, and specifically
             vaccine immune responses that might be reasonably likely to predict protection
             against COVID-19, is acquired, accelerated approval of a COVID-19 vaccine
             pursuant to section 506 of the FD&C Act (21 U.S.C. 356) and 21 CFR 601.40
             may be considered if an applicant provides sufficient data and information to meet
             the applicable legal requirements. For a COVID-19 vaccine, it may be possible to
             approve a product under these provisions based on adequate and well-controlled
             clinical trials establishing an effect of the product on a surrogate endpoint (e.g.,
             immune response) that is reasonably likely to predict clinical benefit.

             A potential surrogate endpoint likely would depend on the characteristics of the
             vaccine, such as antigen structure, mode of delivery, and antigen processing and
             presentation in the individual vaccinated. For example, an immune marker
             established for an adenovirus-based vaccine cannot be presumed applicable to a
             VSV-based vaccine, given that the two vaccines present antigen in different ways
             and engender different types of protective immune responses.

             Since SARS-CoV-2 represents a novel pathogen, a surrogate endpoint reasonably
             likely to predict protection from COVID-19 should ideally be derived from human
             efficacy studies examining clinical disease endpoints. If the surrogate endpoint is
             derived from other data sources, sponsors should consult the FDA to reach
             agreement on the use of the surrogate endpoint.

             An adequate dataset evaluating the safety of the vaccine in humans would need to
             be provided for consideration of licensure.

             For drugs granted accelerated approval, postmarketing confirmatory trials have
             been required to verify and describe the predicted effect on clinical benefit. These
             studies should usually be underway at the time of the accelerated approval, 21
             CFR Part 601, Subpart E, and must be completed with due diligence (section
             506(c)(3)(A) of the FD&C Act (21 U.S.C. 356(c)(3)(A)) and 21 CFR 601.41).

             If it is no longer possible to demonstrate vaccine effectiveness by way of
             conducting clinical disease endpoint efficacy studies, the use of a controlled
             human infection model to obtain evidence to support vaccine efficacy may be
             considered. However, many issues, including logistical, human subject protection,
             ethical, and scientific issues, would need to be satisfactorily addressed. At this


                                            18
Case 3:21-cv-01211-AW-HTC Document 31-13 Filed 10/21/21 Page 113 of 161

                      Contains Nonbinding Recommendations

           time no controlled human infection models for SARS-CoV-2 have been
           established or characterized.

  B.    Emergency Use Authorization

           An Emergency Use Authorization (EUA) may be issued only after several
           statutory requirements are met (section 564 of the FD&C Act (21 U.S.C. 360bbb-
           2)) (Ref. 23). Among these requirements is a determination by FDA that the
           known and potential benefits of a product, when used to diagnose, prevent, or treat
           serious or life-threatening diseases, outweigh the known and potential risks of the
           product.

           Issuance of an EUA (Ref. 23) may be appropriate for a COVID-19 vaccine
           provided the standard for issuing an EUA is met. Issuance of an EUA for a
           COVID-19 vaccine prior to the completion of large randomized clinical efficacy
           trials could reduce the ability to demonstrate effectiveness of the investigational
           vaccine in a clinical disease endpoint efficacy trial to support licensure, and such
           clinical disease endpoint efficacy trials may be needed to investigate the potential
           for vaccine-associated ERD. Thus, for a vaccine for which there is adequate
           manufacturing information, issuance of an EUA may be appropriate once studies
           have demonstrated the safety and effectiveness of the vaccine but before the
           manufacturer has submitted and/or FDA has completed its formal review of the
           biologics license application.

           In the case of investigational vaccines being developed for the prevention of
           COVID-19, any assessment regarding an EUA would be made on a case by case
           basis considering the target population, the characteristics of the product, the
           preclinical and human clinical study data on the product, and the totality of the
           available scientific evidence relevant to the product.




                                          19
      Case 3:21-cv-01211-AW-HTC Document 31-13 Filed 10/21/21 Page 114 of 161

                               Contains Nonbinding Recommendations

IX.     REFERENCES

1.      COVID-19 Public Health Emergency: General Considerations for Pre-IND Meeting Requests
        for COVID-19 Related Drugs and Biological Products; Guidance for Industry, May 2020,
        https://www.fda.gov/media/137927/download.

2.      Guidance for Industry: Process Validation: General Principles and Practices, January 2011,
        https://www.fda.gov/media/71021/download.

3.      Guidance for Industry: Content and Format of Chemistry, Manufacturing and Controls
        Information and Establishment Description Information for a Vaccine or Related Product,
        January 1999, https://www.fda.gov/media/73614/download.

4.      Perlman S and Dandekar AA, 2005, Immunopathogenesis of Coronavirus Infections:
        Implications for SARS, Nat Rev Immunol 5: 917-927, https://doi.org/10.1038/nri1732.

5.      Haagmans BL, Boudet F, Kuiken T, deLang A, et al., 2005, Protective immunity induced by
        the inactivated SARS coronavirus vaccine, Abstract S 12-1 Presented at the X International
        Nidovirus Symposium, Colorado, Springs, CO.

6.      Tseng C-T, Sbrana E, Iwata-Yoshikawa N, Newman P, et al., 2012, Immunization with SARS
        Coronavirus Vaccines Leads to Pulmonary Immunopathology on Challenge with the SARS
        Virus, PloS One, 7(4): e35421,
        https://journals.plos.org/plosone/article?id=10.1371/journal.pone.0035421.

7.      Yasui F, Kai C, Kitabatake M, Inoue S, et al., 2008, Prior Immunization With Severe Acute
        Respiratory Syndrome (SARS) – associated Coronavirus (SARS-CoV) Nucleocapsid Protein
        Causes Severe Pneumonia in Mice Infected with SARS-CoV, J Immunol, 181(9): 6337-6348,
        https://www.jimmunol.org/content/181/9/6337.long.

8.      Bolles M, Deming D, Long K, Agnihothram S, et al., 2011, A Double-Inactivated Severe
        Acute Respiratory Syndrome Coronavirus Vaccine Provides Incomplete Protection In Mice
        And Induces Increased Eosinophilic Proinflammatory Pulmonary Response Upon Challenge,
        J Virol 85(23) 12201-12215, https://www.ncbi.nlm.nih.gov/pmc/articles/PMC3209347/.

9.      Agrawal AS, Tao X, Algaissi A, Garron T, et al., 2016, Immunization With Inactivated
        Middle East Respiratory Syndrome Coronavirus Vaccine Leads To Lung Immunopathology
        On Challenge With Live Virus, Hum Vaccin Immunother, 12(9): 2351-2356,
        https://www.ncbi.nlm.nih.gov/pmc/articles/PMC5027702/.

10.     Guidance for Industry: Considerations For Plasmid DNA Vaccines For Infectious Disease
        Indications, November 2007, https://www.fda.gov/media/73667/download.

11.     [Intentionally left blank.]

12.     Guidance for Industry: Considerations For Developmental Toxicity Studies For Preventive
        And Therapeutic Vaccines For Infectious Disease Indications, February 2006,
        https://www.fda.gov/media/73986/download.

                                                 20
      Case 3:21-cv-01211-AW-HTC Document 31-13 Filed 10/21/21 Page 115 of 161

                             Contains Nonbinding Recommendations


13.     World Health Organization, WHO Guidelines On Nonclinical Evaluation Of Vaccines,
        Annex 1, WHO Technical Report Series, 2005; 927:31-63,
        https://www.who.int/biologicals/publications/trs/areas/vaccines/nonclinical_evaluation/ANN
        EX%201Nonclinical.P31-63.pdf?ua=1.

14.     World Health Organization, Guidelines On The Nonclinical Evaluation Of Vaccine
        Adjuvants And Adjuvanted Vaccines, Annex 2, WHO Technical Report Series, TRS 987:59-
        100, https://www.who.int/biologicals/areas/vaccines/TRS_987_Annex2.pdf?ua=1.

15.     FDA Guidance on Conduct of Clinical Trials of Medical Products during COVID-19 Public
        Health Emergency; Guidance for Industry, Investigators, and Institutional Review Boards,
        March 2020 and updated June 2020, https://www.fda.gov/media/136238/download.

16.     Centers for Disease Control and Prevention, Coronavirus Disease 2019 (COVID-19) At Risk
        for Severe Illness, last reviewed May 14, 2020, https://www.cdc.gov/coronavirus/2019-
        ncov/need-extra-precautions/groups-at-higher-risk.html.

17.     Pregnant Women: Scientific and Ethical Considerations for Inclusion in Clinical Trials; Draft
        Guidance for Industry, April 2018, https://www.fda.gov/media/112195/download.*

18.     Draft Guidance for Industry: How to Comply with the Pediatric Research Equity Act,
        September 2005, https://www.fda.gov/media/72274/download.*

19.     Guidance for Industry: Establishment and Operation of Clinical Trial Data Monitoring
        Committees, March 2006, https://www.fda.gov/media/75398/download.

20.     Guidance for Industry: E2E Pharmacovigilance Planning, April 2005,
        https://www.fda.gov/media/71238/download.

21.     Postapproval Pregnancy Safety Studies; Draft Guidance for Industry, May 2019,
        https://www.fda.gov/media/124746/download.*

22.     Guidance for Industry: Postmarketing Studies and Clinical Trials — Implementation of
        Section 505(o)(3) of the Federal Food, Drug, and Cosmetic Act, April 2011,
        https://www.fda.gov/media/131980/download.

23.     Emergency Use Authorization of Medical Products and Related Authorities; Guidance for
        Industry and Other Stakeholders, January 2017, https://www.fda.gov/media/97321/download.

* When finalized, this guidance will represent FDA’s current thinking on this topic.




                                                 21
Case 3:21-cv-01211-AW-HTC Document 31-13 Filed 10/21/21 Page 116 of 161




      Marks Decl.
       Exhibit F
  Case 3:21-cv-01211-AW-HTC Document 31-13 Filed 10/21/21 Page 117 of 161




July 23, 2021

Electronic Submission

Division of Dockets Management
Food and Drug Administration
Department of Health and Human Services
5630 Fishers Lane, Room 1061
Rockville, MD 20852

                                       CITIZEN PETITION

This petition for administrative action is submitted on behalf of CAALM, the Coalition

related relevant provisions of the Federal Food, Drug, and Cosmetic Act or the Public Health
Service Act to request th

                                                         -19 vaccine.

The Food and Drug Administration (FDA) has granted Emergency Use Authorizations (EUAs) to
three COVID-19 vaccines, enabling rapid, and widespread vaccine rollout across the United
States. These EUAs do not have any built-in expiration date, and therefore vaccines can
continue to be lawfully distributed under EUA even after a future date when a public health
emergency no longer exists.

Approximately seven months have passed since the first EUAs were granted, and two vaccine
manufacturers now seek licensure (approval) and have submitted Biologics License Applications
(BLAs). Other manufacturers have indicated similar intentions, as well as intentions for EUAs for
additional pediatric populations.

We believe the FDA should not prematurely grant a license to any COVID-19 vaccine until all
necessary efficacy and safety studies are completed and substantial evidence demonstrates the
benefits of an individual COVID-19 vaccine product outweigh the harms for the indicated,
recipient population. We are concerned that the premature licensure of a COVID-19 vaccine
can seriously undermine public confidence in regulatory authorities, particularly if long-term
safety issues were to emerge following licensure.

In this petition, we outline efficacy and safety measures that must be met before serious
consideration is given to granting a BLA of any COVID-19 vaccine. These measures include:

   1. Completing at least 2 years of follow-up of participants originally enrolled in pivotal
      clinical trials, even if the trials were unblinded and now lack a placebo control. All
      vaccine manufacturer phase 3 trials were already designed with this planned duration.
  Case 3:21-cv-01211-AW-HTC Document 31-13 Filed 10/21/21 Page 118 of 161




   2. Ensuring, prior to including in the list of populations for which a vaccine is approved,
      that there is substantial evidence of clinical effectiveness that outweighs harms in
      special populations such as: infants, children, and adolescents; those with past SARS-
      CoV-2 infection; immunocompromised; pregnant women; nursing women; frail older
      adults; and individuals with cancer, autoimmune disorders, and hematological
      conditions.
   3. Requiring thorough safety assessment of spike proteins being produced in-situ by the

      pharmacokinetics, and tissue specific toxicity.
   4. Completion of vaccine biodistribution studies from administration site and safety
      implications of mRNA translation in distant tissues.
   5. Thorough investigation of all severe adverse reactions reported following COVID-19
      vaccination, such as deaths, reported in the United States and global pharmacovigilance
      systems.
   6. Assessment of safety in individuals receiving more than two doses.
   7. Inclusion of gene delivery and therapy experts in the Vaccines and Related Biological
      Products Advisory Committee (VRBPAC), in recognition of the fact that the novel COVID
      vaccines work on the premise of gene delivery, in contrast to conventional vaccines.
   8. Enforcing stringent conflict of interest requirements to ensure individuals involved in
      data analysis and BLA-related decision making processes have no conflict of interests
      with vaccine manufacturers.

A COVID-19 vaccine BLA should be approved when and only when substantial evidence
demonstrates the benefits of a specific product outweigh the harms for the indicated, recipient
population.

This means that the following are invalid reasons to approve a COVID-19 vaccine:

       To ensure vaccines are accessible after the public health emergency has ended. COVID-
       19 vaccines granted an emergency use authorization (EUA) can be lawfully used after
       the expiry of the SARS-CoV-2 public health emergency declaration. (This is made clear
       by the many products for Ebola and Zika viruses which still have active EUAs. 1)

       To ensure adequate access to vaccines across the population. A BLA is not necessary to
       assure access to COVID-19 vaccines. Unlike normal licensing, in which widespread use
       of a drug or vaccine follows approval, EUAs for COVID-19 vaccines have enabled, and
       continue to enable, their widespread use. Ensuring access to vaccines is irrelevant to
       the considerations for issuance of a BLA because broad access to COVID-19 vaccines has
       already been accomplished.

       To enable vaccine mandates.
       purview. Furthermore, a mandate should only be considered once the evidentiary
       conditions are met for a BLA (demonstrating that benefits outweigh harms).
  Case 3:21-cv-01211-AW-HTC Document 31-13 Filed 10/21/21 Page 119 of 161




       To bolster public confidence. Like mandates, approving a medical product in order to
       bolster public confidence is backward logic a
       before substantial evidence that population-based evidence of clinical effectiveness is
       superior to harms may contribute to public wariness and hesitancy, not only about
       COVID-19 vaccines, but other vaccines and public health authorities more broadly. An
       approval may bolster public confidence, but it is not a valid reason to approve.

Regardless of any legitimacy of each of the above reasons, none provides grounds to approve a
COVID-19 vaccine.

The widespread use of a COVID-19 vaccine under EUA, particularly for a limited amount of time,
also is not a valid reason to approve a product. Even if vaccine recipients are followed up within
observational studies, such studies may have important design biases and flaws, and their
conclusions, especially concerning clinical effectiveness outcomes, may not be reliable.

Premature FDA approval of any COVID-19 vaccine could negatively impact the health and safety
of US residents, with global ramifications considering the international importance of FDA
decisions. It also could set a precedent of lowered standards for future vaccine approvals. For
these reasons and due to the compelling need to ensure the safety and efficacy of any COVID-
19 vaccine licensed by the FDA and to allow Petitioner the opportunity to seek emergency
judicial relief should the instant Petition be denied, it is respectfully requested that FDA act on
the instant Amended Petition by July 30, 2021.

I. ACTIONS REQUESTED

Petitioner request that the FDA, prior to granting any license for a COVID-19 vaccine:

   1. Confirm, in revised Guidance, that the FDA expects a minimum of 2 years of follow-up of
      participants enrolled in pivotal clinical trials, even if trials are unblinded and lack a
      placebo control.

   2. Require data demonstrating substantial evidence of clinical effectiveness that outweighs
      harms, in all special populations, as a condition of consideration of including these
      populations among the indicated populations. Special populations include: infants,
      children, and adolescents; those with past SARS-CoV-2 infection; immunosuppressed
      individuals; those with history of or current cancer; individuals with hematological
      disorders or autoimmune diseases; pregnant or nursing women; and frail older adults.

   3. Require data on the safety and pharmacokinetic profiles of the spike protein.

   4. Require data from biodistribution studies investigating the actual COVID-19 vaccines.
  Case 3:21-cv-01211-AW-HTC Document 31-13 Filed 10/21/21 Page 120 of 161




   5. Require data from pharmacovigilance systems in the US and globally documenting a
      thorough investigation of serious adverse events, carried out by independent, impartial
      individuals.

   6. Clarify in revised Guidance that safety data from individuals receiving more than 2
      vaccine doses must be submitted.

   7. Ensure the inclusion of experts in gene therapy in the VRBPAC.

   8. Ensure that the analysis of data and decisions regarding any COVID-19 vaccine BLA
      application are informed by experts with no financial or research relationships with any
      vaccine manufacturers within the last 36 months, both within FDA and amongst the
      composition of the VRBPAC.


II. STATEMENT OF GROUNDS

Here, in the order as above, we set out the rationale for each requested action.

   1. Confirm, in revised Guidance, that the FDA expects a minimum of 2 years of follow-up
      of participants enrolled in pivotal clinical trials, even if trials are unblinded and lack a
      placebo control. Rationale:
          a. Requiring at least 2 years is consistent with the 2 year follow-up duration
              prospectively proposed by the manufacturers when they registered their
              ongoing phase 3 trials of COVID-19 vaccines (Moderna: NCT04470427, Pfizer:
              NCT04368728, Janssen: NCT04505722) and consistent with the June 2020 FDA
              guidance on COVID-19 vaccines which stated participants should be followed for
              COVID-                                                                             2

          b. Important adverse event signals can be detected in clinical trials. This is true
              despite enrolling tens of thousands of participants, which is still too few to
              assess rare adverse events. For example, a serious blood clot occurring in the
              phase 3 Janssen clinical trial led to an initial trial pause in October 2020. 3
          c. Two year follow-up from trials allows the detection of commonly experienced
              longer-term adverse effects that may not manifest until many months following
              vaccination.
          d. Two year follow-up from trials would also allow for more detailed assessment of
              infection, re-infection, infectiousness, and the monitoring of immune response
              over time, among all vaccinated participants.
          e. The quality of data collection in clinical trials can be expected to be superior to
              passive data collection systems like the Vaccine Adverse Event Reporting System
              (VAERS). Therefore, trials of at least 2 years duration provide a valuable chance
              to develop a more complete understanding of the adverse event profile in the
              general population as well as in specific groups, such as individuals of
Case 3:21-cv-01211-AW-HTC Document 31-13 Filed 10/21/21 Page 121 of 161




          reproductive age, immunocompromised individuals, and different age groups,
          including adolescents and young children.
       f. The quality of data on adverse events during an ongoing trial can be improved
          while the trial is ongoing (e.g., improving the range of types of adverse events
          that are systematically assessed), as and when evidence from other data sources
          (e.g., pre-clinical or pharmacovigilance) show any trends or indicate specific
          types of adverse events of special interest.
       g. Finally, the expectation of at least 2 years of follow-up prior to BLA also carries
          the advantage of longer-term data collection from other available sources (e.g.,
          MedWatch/VAERS, V-safe, Vaccine Safety Datalink, FDA-CMS, BEST & PRISM, VA
          Electronic Health Records & data warehouse, Department of Defense DMSS, and
          Genesis HealthCare (Brown University & NIH-National Institute of Aging), as well
          as other medical claims databases).

2. Require data demonstrating substantial evidence of clinical effectiveness that
   outweighs harms, in all special populations, as a condition of consideration of
   including these populations among the indicated populations. Special populations
   include: infants, children, and adolescents; those with past SARS-CoV-2 infection;
   immunosuppressed individuals; those with history of or current cancer; individuals
   with hematological disorders or autoimmune diseases; pregnant or nursing women;
   and frail older adults. Rationale:
       a. The efficacy and safety of medicines often differs amongst populations such as
          healthy young adults vs. older adults, men vs. women, or SARS-CoV-2 survivors
          vs. never-exposed individuals.
       b. For example, the relative risks of SARS-CoV-2 infection, hospitalization, and
          death are considerably lower in infants, children, and adolescents in comparison
          to adults.4,5
       c. For example, individuals who experienced past SARS-CoV-2 infection (which are
          now believed to be a significant minority of many subpopulations 6) are likely to
          have immunity to subsequent infections for as long or longer than immunity
          conferred by vaccine,7 10 and may also be at heightened risk for adverse
          effects.11 14
       d. The ongoing phase 3 trials of COVID-19 vaccines (Moderna: NCT04470427,
          Pfizer: NCT04368728, Janssen: NCT04505722) largely (or wholly) excluded the
          following important populations in which there is reason to believe the effects of
          the product may differ from the populations enrolled in the trial:
                 i. Infants, children, and adolescents
                ii. Those with past SARS-CoV-2 infection
               iii. Those who are immunosuppressed
               iv. Those with history of or current cancer
                v. Those with hematological disorders
               vi. Those with autoimmune diseases
              vii. Those who are pregnant or nursing
             viii. Frail older adults (including those living in nursing homes)
Case 3:21-cv-01211-AW-HTC Document 31-13 Filed 10/21/21 Page 122 of 161




       e. The question is not simply whether there is efficacy, but how much efficacy
          exists in these populations, what kind of efficacy (e.g. reduction in risk of
          symptomatic COVID-19 vs. reduction in risk of hospitalization or death), and do
          efficacy advantages outweigh potential harms in these populations.
       f. Before these special populations can be considered for inclusion amongst the
          approved indicated populations, data demonstrating substantial evidence of
          clinical effectiveness that outweighs harms in these specific populations, are
          needed.

3. Require data on the safety and pharmacokinetic profiles of the spike protein.
   Rationale:
      a. In-situ production of SARS-CoV-2 spike protein is the target mechanism of action
          of all COVID-19 vaccines with an EUA at present. Therefore, the safety profile of
          spike protein itself (i.e., in the absence of virus) must be thoroughly understood
          in the range of populations on the indications list.
      b. Recently, evidence of systemic circulation of spike protein or its components in
          subjects post-immunization was reported.15 All studies we are aware of to date
          raise concerns about the safety of spike protein, 16 28 and the concentration of
          circulatory spikes was correlated to the disease severity in COVID-19 patients. 29
      c. Required studies must, at a minimum, address these concerns:
                i. Coagulopathy issues, including blood clots, hemorrhage,
                   thrombocytopenia, heart attack, and strokes. According to the VAERS, as
                   of May 21, 2021, there have been a total of 1,222 reports of
                   thrombocytopenia/low platelets; and 6,494 (112 in 0-24 year-olds)
                   reports of blood clots/strokes.
               ii. Reproductive issues, including menstrual irregularities, reduced fertility,
                   miscarriages, and preterm births. According to VAERS, as of May 21,
                   2021, there were 511 reports of miscarriage and 522 reports of uterine
                   hemorrhage (including 88 in women older than 50 years). The vaccines
                   induce the generation of antibodies to attack spike protein, which are
                   genetically similar to proteins produced by the placenta. 30 To date, no
                   vaccine sponsors have conducted immunologic studies of spike protein
                   involvement with proteins involved in placental development.
              iii. Carcinogenesis. There is preliminary and theoretical evidence that the
                   spike protein may promote cancer.31,32 Considering the potential for
                   annual booster vaccinations, COVID-19 vaccines should be treated
                   similarly to medication taken for chronic conditions on a long term basis.
                   Carcinogenic potential is important to characterize.
              iv. Transmission of spike protein (or its fragments) from vaccinated
                   individuals, such as through breast milk and associated risk in neonates
                   and infants. According to the UK Medicines & Healthcare products
                   Regulatory Agency, there are 921 reports of exposure via breast milk
                   following AstraZ
                   vaccine.
Case 3:21-cv-01211-AW-HTC Document 31-13 Filed 10/21/21 Page 123 of 161




                v. Neurological disorders, including Guillain-Barré syndrome, acute
                   disseminated encephalomyelitis, transverse myelitis, encephalitis,
                   myelitis, encephalomyelitis, meningoencephalitis, meningitis,
                   encephalopathy, demyelinating diseases, and multiple sclerosis.
               vi. Cardiac issues, including myocardial infarction, myocarditis and
                   pericarditis, among others. According to the VAERS, as of May 21, 2021,
                   there have been a total of 1,598 reports of heart attacks (24 reported in
                   0-24 year-olds; 501 resulted in death).
              vii. Autoimmune diseases, including thyroiditis and diabetes mellitus,
                   immune thrombocytopenia, autoimmune hepatitis, primary biliary
                   cholangitis, systemic sclerosis, autoimmune disease for skeletal muscles
                   (myasthenia gravis, myositis such as polymyositis, dermatomyositis, or
                   other inflammatory myopathies)
             viii. Studies should be conducted in individuals of both sexes 33 and all ages.
                   We cannot assume that the effects of spike protein are the same across
                   populations of all ages, sex, and across pre-existing conditions.

4. Require data from biodistribution studies investigating the actual COVID-19 vaccines.
   Rationale:
      a. Data from the biodistribution studies submitted by Moderna and Pfizer suggests
          that the vaccines distribute widely in the body, including to the liver, brain,
          heart, lung, adrenals, ovaries, and testes, among many other tissues. 34,35 (See
          Tables 1a, 1b, and 2 below for studies R-[?]-0072 and 185350 submitted by
          Pfizer and study 5002121 submitted by Moderna.)
      b.
                                         -                                  34 36

      c. Instead of presenting novel biodistribution studies of the COVID-19 vaccine
          formulations, sponsors presented substitute studies to FDA for an EUA during
          the pandemic. 34 36
      d. Therefore, novel biodistribution studies investigating the actual COVID-19
          vaccines are necessary.
      e. Biodistribution studies would be required for any small molecule pharmaceutical
          drug submitted for approval (i.e. New Drug Application), and should be
          conducted on the COVID-19 vaccines as well as these novel vaccines which work
          on the premise of gene delivery--very different to conventional vaccines.
      f. Biodistribution studies help inform an understanding of vaccine transfection to
          various tissues (away from injection site) spurring various distant tissues to
          produce spike proteins and consequent autoimmune response against the
                                                                                        of the
          nature of potential short and long term adverse events. At this point in time, in
          which other data sources exist to characterize short term harms of COVID-19
          vaccines with an EUA, the utility of biodistribution studies to characterize long
          term adverse effects and better understand potential mechanism(s) of action of
          short and long term harms, remains critically important.
Case 3:21-cv-01211-AW-HTC Document 31-13 Filed 10/21/21 Page 124 of 161




       g. Necessary studies must, at a minimum, address these concerns related to
          biodistribution, as well as the effects of vaccines in the body:
               i.   The need to know basic pharmacokinetic parameters, including
                    absorption, distribution, metabolism, and excretion (ADME).
              ii.   Effects of multiple doses. ADME may change depending on dose and
                    cumulative dose and should be investigated. This is more important
                    than usual as the whole purpose of all COVID-19 vaccines with an EUA

                     therefore repeated injections should result in different rates of
                     clearance of spike protein from the blood, and different rates of
                     immune attack on spike protein producing cells.
              iii.   The impact of body mass index (size of deltoid muscle) and vaccine
                     distribution away from injection site, implications for dose estimation
                     for lean or younger age groups or frail older adults.
              iv.    The duration of the studies must be sufficient to fully understand the
                     complete distribution and elimination of the injected vaccine and its
                     carrier and other constituents. For example, data from the substitute
                                                           (see Tables 1a, 1b, and 2 below for
                     studies R-[?]-0072 and 185350 submitted by Pfizer and study 5002121
                     submitted by Moderna) showed levels of drug product increasing at
                     the 48 hour mark, but it is unknown what occurred after 48 hours as
                     this was apparently the study cut off.37
              v.     Potential side effects (safety review) in those organs/tissues with a
                     detectable proportion of injected vaccine (antigen or novel excipients)
                     from the circulatory system.

5. Require data from pharmacovigilance systems in the US and globally documenting a
   thorough investigation of serious adverse events, carried out by independent,
   impartial individuals. Rationale:
      a. A major testament to the overall short-term safety of a medical product is the
          absence of serious adverse events (SAEs) when administered to millions. COVID-
          19 vaccines have now been administered to hundreds of millions of individuals,
          and it is vital that all reports of SAEs are thoroughly investigated to determine
          whether the vaccine played any role in the SAE.
      b. The most serious of all SAEs is death, and a CDC webpage on VAERS discusses
          4,863 reports of death after COVID-19 vaccination reported between December
          14, 2020 and May 24, 2021. 38 CDC states that:
               i.                                                                  al
                     information to learn more about what occurred and to determine

              ii.
                     notified and CDC requests medical records to further asse
Case 3:21-cv-01211-AW-HTC Document 31-13 Filed 10/21/21 Page 125 of 161




              iii.
                 autopsy, and medical records has not established a causal link to
                 COVID-               38

       c. However, the FDA has stated that VAERS staff do not contact family members to

           designed to determine causality of adverse events, there is not a mechanism to
           follow-up with families for additional details. The determination of the cause of
           death is done by the certifying official who completes the death certificate or the
                                                   39

       d. Regulators in other countries have conducted detailed case investigations (e.g.
                                                                        lowing COVID-19
          vaccination  40,41).
       e. FDA must require evidence of a thorough investigation into deaths and other
          SAEs investigations that include contacting families to obtain a full medical
          history and personal accounts (in the case of deaths) and those who experienced
          the adverse event (in the case of other SAEs). Event adjudication, as done on
          data safety monitoring boards, must be in place in order to carry out detailed
          case investigations, and must be carried out by independent, impartial
          individuals.

6. Clarify in revised Guidance that safety data from individuals receiving more than 2
   vaccine doses must be submitted by vaccine manufacturers. Rationale:
       a. There is wide speculation that COVID-19 vaccines may become offered as annual
           vaccines, much like influenza vaccines, and regulators have already released
           guidance to this effect.42
       b. Some manufacturers, such as Pfizer and Moderna, have indicated that a third
           dose may be necessary within the first 12 months. Other manufacturers may
           present similar claims in the future.43
       c. The safety profile of multiple doses, possibly more than 70 doses across an
           average lifetime, must be considered at the time of licensure. Phase 3 trial data
           make clear that the safety profile differs by dose (e.g. dose 2 of the Pfizer and
           Moderna vaccines induce more severe systemic adverse events than dose 1). 44,45
       d. Information on the types and severity of adverse events that emerge following
           the administration of additional doses is necessary to better characterize long
           term safety.

7. Ensure the inclusion of experts in gene therapy in the VRBPAC. Rationale:
      a. The COVID-19 vaccines produced by Pfizer, Moderna, and Janssen (as well as
          AstraZeneca, CanSinoBio (China) and Gamaleya Research Institute (Russia)) are
          gene based vaccines. Their mechanism of action differs substantially from all
          other vaccines that have been used on populations globally, as these novel
          vaccines work on the premise of gene delivery, and may therefore be considered
          a type of gene therapy. These gene based vaccines involve entering the cell,
          where the overwhelming majority of critical body activities occur, and utilizing
 Case 3:21-cv-01211-AW-HTC Document 31-13 Filed 10/21/21 Page 126 of 161




             than that utilized by traditional vaccines such as inactivated, attenuated, subunit
             or protein-based (that are not intended to invade cells). Therefore, there is a
             need to consider safety with the informed perspectives of those with expertise
             in gene therapies.

  8. Ensure that the analysis of data and decisions regarding any COVID-19 vaccine BLA
     application are informed by experts with no financial or research relationships with
     any vaccine manufacturers within the last 36 months, both within FDA and amongst
     the composition of the VRBPAC. Rationale:
         a. The public interest weighs strongly in favor of the evaluation of data and all
            decision making to be performed by competent individuals with independence
            from vaccine manufacturers (institutions that stand to gain or lose from a BLA
            decision on a COVID-19 vaccine). Disclosure requirements should be at least as
            stringent, if not more, than what is expected for writing a manuscript in a
            medical journal namely, disclosure of relationships within the last 36 months,
            as requested by the International Committee of Medical Journal Editors (ICMJE).
            Insisting on this level of disclosure, and transparency of the disclosures, can
                                                                                             46




Table 1a. Pfizer study report R-[?]-0072, biodistribution study submitted by Pfizer to Japane se
regulator (PMDA).




Source: Japan PMDA (PDF page 15).37
 Case 3:21-cv-01211-AW-HTC Document 31-13 Filed 10/21/21 Page 127 of 161




Table 1b. Pfizer study report 185350, biodistribution study submitted by Pfizer to Japanese
regulator (PMDA).




Source: Japan PMDA (PDF page 16).37
 Case 3:21-cv-01211-AW-HTC Document 31-13 Filed 10/21/21 Page 128 of 161




Table 2. Modern study report 5002121, biodistribution study submitted by Moderna to
Japanese regulator (PMDA).
  Case 3:21-cv-01211-AW-HTC Document 31-13 Filed 10/21/21 Page 129 of 161




 Source: Japan PMDA (PDF page 7).47



III. ENVIRONMENT IMPACT
The petitioner hereby states that the relief requested in this petition will have no
environmental impact and therefore an environmental assessment is not required under 21
C.F.R. Sections 25.30 and 25.31.

IV. ECONOMIC IMPACT
Economic impact information will be submitted upon request of the commissioner.

V. CERTIFICATION
The undersigned certifies that, to the best knowledge and belief of the undersigned, this
petition includes all information and views on which the petition relies, and that it includes
representative data and information known to the petitioner which are unfavorable to the
petition.

Respectfully submitted,




Linda Wastila, BSPharm, MSPH, PhD
Representative
Coalition Advocating for Adequately Licensed Medicines (CAALM)
  Case 3:21-cv-01211-AW-HTC Document 31-13 Filed 10/21/21 Page 130 of 161




Coalition Advocating for Adequately Licensed Medicines (CAALM), current members as of July
23, 2021:

Peter Aaby, MSc, DMSc               Anthony J Brookes, PhD            Juan Erviti, PharmD, PhD
Head of Bandim Health Project,      Professor of Genetics             Unit of Innovation and
Guinea-Bissau                       University of Leicester           Organization
University of Southern              Leicester, United Kingdom         Navarre Health Service, Spain
Denmark                                                               Pamplona, Spain
Copenhagen, Denmark                 affiliation is included for
                                    identification purposes only.     affiliation is included for
affiliation is included for                                           identification purposes only.
identification purposes only.       Byram W. Bridle, PhD
                                    Associate Professor of Viral      Peter C. Gøtzsche, Professor,
Christine Stabell Benn, MD,         Immunology                        DrMedSci, MD, MSc
PhD, DMSc                           University of Guelph              Director
Professor of Global Health          Ontario, Canada                   Institute for Scientific Freedom
University of Southern                                                Copenhagen, Denmark
Denmark                             affiliation is included for
Copenhagen, Denmark                 identification purposes only.     Janice E. Graham, PhD, FCAHS,
               organizational                                         FRSC
affiliation is included for         Peter Collignon AM, MB,           University Research Professor
identification purposes only.       BS(Hons), BSc(Med), FRACP,        Dalhousie University
                                    FRCPA, FASM                       Halifax, Canada
Aditi Bhargava, PhD                 Professor
Professor                           Australian National University    affiliation is included for
University of California, San       Medical School                    identification purposes only
Francisco                           Canberra, Australia
San Francisco, California, U.S.A.                                     David Healy, MD FRCPsych
                                    affiliation is included for       Professor of Psychiatry
affiliation is included for         identification purposes only.     McMaster University
identification purposes only.                                         Ontario, Canada
                                    Peter Doshi, PhD
Dick Bijl, PhD, MD, MSc             Associate Prof., Pharmaceutical   affiliation is included for
Pharmacoepidemiologist,             Health Services Research          identification purposes only.
former GP                           University of Maryland School
Utrecht, the Netherlands            of Pharmacy                       Iona Heath, CBE FRCGP
 President, International           Baltimore, Maryland, U.S.A.       Past president of the Royal
Society of Drug Bulletins                                             College of General Practitioners
                                    affiliation is included for       London, United Kingdom
Florence T. Bourgeois MD,           identification purposes only.
MPH                                                                   is included for identification
Associate Professor of                                                purposes only.
Pediatrics
Harvard Medical School
Boston, Massachusetts, U.S.A.

affiliation is included for
identification purposes only.
  Case 3:21-cv-01211-AW-HTC Document 31-13 Filed 10/21/21 Page 131 of 161




Matthew Herder, JSM LLM           Joseph A. Ladapo, MD, PhD         Hamid A. Merchant, BPharm,
Director, Health Law Institute    Associate Prof. of Medicine       MPharm, PhD, RPh, CQP,
Dalhousie University              David Geffen School of            PGCertHE, FHEA, SRPharmS
Nova Scotia, Canada               Medicine at UCLA                  Subject Leader in Pharmacy
                                  Los Angeles, California, U.S.A.   University of Huddersfield
affiliation is included for         Dr. Ladap                       Huddersfield, United Kingdom
identification purposes only.     affiliation is included for
                                  identification purposes only.     affiliation is included for
Tom Jefferson, MD MRCGP                                             identification purposes only.
FFPHM                             Trudo Lemmens, LicJur, LLM
Senior Associate Tutor            bioethics, DCL                    Barbara Mintzes, BA, MSc,
University of Oxford              Professor and Scholl Chair in     PhD
                                  Health Law and Policy             Associate Professor, School of
affiliation is included for       University of Toronto             Pharmacy
identification purposes only.     Toronto, Canada                   The University of Sydney
                                    Dr. Lemmens' organizational     Sydney, Australia
                                  affiliation is included for
Mark Jones, PhD                   identification purposes only      affiliation is included for
Associate Professor of                                              identification purposes only.
Biostatistics                     Tianjing Li, MD, MHS, PhD
Bond University                   Associate Professor
Gold Coast, Queensland,           University of Colorado            Huseyin Naci, MHS, PhD
Australia                         Anschutz Medical Campus           Associate Professor of Health
                                  Aurora, Colorado, U.S.A.          Policy
affiliation is included for                                         London School of Economics
identification purposes only.     affiliation is included for       and Political Science
                                  identification purposes only.     London, United Kingdom
Robert M. Kaplan, PhD
Distinguished Research            Donald W. Light, PhD              affiliation is included for
Professor                         Professor of Comparative          identification purposes only.
UCLA Fielding School of Public    Health Policy and Psychiatry
Health                            Rowan University School of        Allyson M Pollock, MBChB,
Los Angeles, California, U.S.A.   Osteopathic Medicine              FRCPH, FRCP (Ed) FRCGP
                                  Glassboro, New Jersey, U.S.A.     Clinical Professor of Public
affiliation is included for                                   l     Health
identification purposes only.     affiliation is included for       Institute of Health and Society,
                                  identification purposes only.     Newcastle University
Ulrich Keil, MD, PhD, FRCP                                          Newcastle upon Tyne, United
(London)                          Peter A. McCullough, MD,          Kingdom
Professor Emeritus                MPH
University of Muenster            Professor of Medicine             affiliation is included for
Muenster, Germany                 Texas A & M College of            identification purposes only.
                                  Medicine
affiliation is included for       Dallas, Texas, U.S.A.
identification purposes only.
                                  organizational affiliation is
                                  included for identification
                                  purposes only.
     Case 3:21-cv-01211-AW-HTC Document 31-13 Filed 10/21/21 Page 132 of 161




Angela Spelsberg, MD, SM             Linda Wastila, BSPharm,              Patrick Whelan, MD PhD
Comprehensive Cancer Center          MSPH, PhD                            Associate Clinical Professor of
Aachen                               Professor, Pharmaceutical            Pediatrics
Aachen, Germany                      Health Services Research             David Geffen School of
                                     University of Maryland School        Medicine at UCLA
affiliation is included for          of Pharmacy                          Los Angeles, California, U.S.A.
identification purposes only.        220 Arch Street, Baltimore,
                                     Maryland 21201, U.S.A.               affiliation is included for
Erick Turner, MD                     *
                                       Dr. Wastila is serving as the      identification purposes only.
Associate Professor of               Representative of CAALM
Psychiatry                                                                Kim Witczak
Oregon Health & Science              affiliation is included for          President/Co-Founder
University                           identification purposes only.        Woodymatters
Portland, Oregon, U.S.A.                                                  Minneapolis, Minnesota, U.S.A.

affiliation is included for
identification purposes only.




References

1.    Zuckerman DM. Emergency Use Authorizations (EUAs) Versus FDA Approval: Implications for
      COVID-19 and Public Health. Am J Public Health [Internet]. 2021 Jun;111(6):1065 9. Available from:
      http://dx.doi.org/10.2105/AJPH.2021.306273

2.    Food and Drug Administration. Development and Licensure of Vaccines to Prevent COVID-19:
      Guidance for Industry [Internet]. 2020 [cited 2020 Oct 6]. Available from:
      https://www.fda.gov/media/139638/download

3.    Food and Drug Administration. FDA Briefing Document. Janssen Ad26.COV2.S Vaccine for the
      Prevention of COVID-19 [Internet]. 2021 [cited 2021 May 28]. Available from:
      https://www.fda.gov/media/146217/download

4.    CDC. Risk for COVID-19 infection, hospitalization, and death by age group [Internet]. 2021 [cited
      2021 May 28]. Available from: https://www.cdc.gov/coronavirus/2019-ncov/covid-
      data/investigations-discovery/hospitalization-death-by-age.html

5.    CDC. COVID-19 Pandemic Planning Scenarios [Internet]. 2021 [cited 2021 May 28]. Available from:
      https://www.cdc.gov/coronavirus/2019-ncov/hcp/planning-scenarios.html

6.    CDC. Estimated disease burden of COVID-19 [Internet]. 2021 [cited 2021 May 28]. Available from:
      https://www.cdc.gov/coronavirus/2019-ncov/cases-updates/burden.html

7.    Dan JM, Mateus J, Kato Y, Hastie KM, Yu ED, Faliti CE, et al. Immunological memory to SARS-CoV-2
      assessed for up to 8 months after infection. Science [Internet]. 2021 Feb 5;371(6529). Available
      from: http://dx.doi.org/10.1126/science.abf4063

8.    Turner JS, Kim W, Kalaidina E, Goss CW, Rauseo AM, Schmitz AJ, et al. SARS-CoV-2 infection induces
     Case 3:21-cv-01211-AW-HTC Document 31-13 Filed 10/21/21 Page 133 of 161




      long-lived bone marrow plasma cells in humans. Nature [Internet]. 2021 May 24; Available from:
      http://dx.doi.org/10.1038/s41586-021-03647-4

9.    Breton G, Mendoza P, Hagglof T, Oliveira TY, Schaefer-Babajew D, Gaebler C, et al. Persistent
      Cellular Immunity to SARS-CoV-2 Infection. bioRxiv [Internet]. 2020 Dec 9; Available from:
      http://dx.doi.org/10.1101/2020.12.08.416636

10. Hall VJ, Foulkes S, Charlett A, Atti A, Monk EJM, Simmons R, et al. SARS-CoV-2 infection rates of
    antibody-positive compared with antibody-negative health-care workers in England: a large,
    multicentre, prospective cohort study (SIREN). Lancet [Internet]. 2021 Apr 17;397(10283):1459 69.
    Available from: http://dx.doi.org/10.1016/S0140-6736(21)00675-9

11. Krammer F, Srivastava K, Simon V, the PARIS team. Robust spike antibody responses and increased
    reactogenicity in seropositive individuals after a single dose of SARS-CoV-2 mRNA vaccine
    [Internet]. bioRxiv. medRxiv; 2021. Available from:
    http://medrxiv.org/lookup/doi/10.1101/2021.01.29.21250653

12. Samanovic MI, Cornelius AR, Wilson JP, Karmacharya T, Gray-Gaillard SL, Allen JR, et al. Poor
    antigen-specific responses to the second BNT162b2 mRNA vaccine dose in SARS-CoV-2-experienced
    individuals. medRxiv [Internet]. 2021 Feb 9; Available from:
    http://dx.doi.org/10.1101/2021.02.07.21251311

13. Camara C, Lozano-Ojalvo D, Lopez-Granados E, Paz-Artal E, Pion M, Correa-Rocha R, et al.
    Differential effects of the second SARS-CoV-2 mRNA vaccine dose on T cell immunity in naïve and
    COVID-19 recovered individuals [Internet]. bioRxiv. 2021 [cited 2021 May 28]. p.
    2021.03.22.436441. Available from:
    https://www.biorxiv.org/content/10.1101/2021.03.22.436441v1

14. Levi R, Azzolini E, Pozzi C, Ubaldi L, Lagioia M, Mantovani A, et al. A cautionary note on recall
    vaccination in ex-COVID-19 subjects [Internet]. bioRxiv. medRxiv; 2021. Available from:
    http://medrxiv.org/lookup/doi/10.1101/2021.02.01.21250923

15. Ogata AF, Cheng C-A, Desjardins M, Senussi Y, Sherman AC, Powell M, et al. Circulating SARS-CoV-2
    Vaccine Antigen Detected in the Plasma of mRNA-1273 Vaccine Recipients. Clin Infect Dis
    [Internet]. 2021 May 20; Available from: http://dx.doi.org/10.1093/cid/ciab465

16. Kuba K, Imai Y, Rao S, Gao H, Guo F, Guan B, et al. A crucial role of angiotensin converting enzyme 2
    (ACE2) in SARS coronavirus-induced lung injury. Nat Med [Internet]. 2005 Aug;11(8):875 9.
    Available from: http://dx.doi.org/10.1038/nm1267

17. Chen I-Y, Chang SC, Wu H-Y, Yu T-C, Wei W-C, Lin S, et al. Upregulation of the chemokine (C-C
    motif) ligand 2 via a severe acute respiratory syndrome coronavirus spike-ACE2 signaling pathway. J
    Virol [Internet]. 2010 Aug;84(15):7703 12. Available from: http://dx.doi.org/10.1128/JVI.02560-09

18. Patra T, Meyer K, Geerling L, Isbell TS, Hoft DF, Brien J, et al. SARS-CoV-2 spike protein promotes IL-
    6 trans-signaling by activation of angiotensin II receptor signaling in epithelial cells. PLoS Pathog
    [Internet]. 2020 Dec;16(12):e1009128. Available from:
    http://dx.doi.org/10.1371/journal.ppat.1009128

19. Zhang S, Liu Y, Wang X, Yang L, Li H, Wang Y, et al. SARS-CoV-2 binds platelet ACE2 to enhance
  Case 3:21-cv-01211-AW-HTC Document 31-13 Filed 10/21/21 Page 134 of 161




    thrombosis in COVID-19. J Hematol Oncol [Internet]. 2020 Sep 4;13(1):120. Available from:
    http://dx.doi.org/10.1186/s13045-020-00954-7

20. Suresh SJ, Suzuki YJ. SARS-CoV-2 Spike Protein and Lung Vascular Cells. Journal of Respiration
    [Internet]. 2020 Dec 31 [cited 2021 May 25];1(1):40 8. Available from:
    https://www.mdpi.com/2673-527X/1/1/4

21. Angeli F, Spanevello A, Reboldi G, Visca D, Verdecchia P. SARS-CoV-2 vaccines: Lights and shadows.
    Eur J Intern Med [Internet]. 2021 Apr 30; Available from:
    http://dx.doi.org/10.1016/j.ejim.2021.04.019

22. Han M, Pandey D. ZMPSTE24 Regulates SARS-CoV-2 Spike Protein-enhanced Expression of
    Endothelial Plasminogen Activator Inhibitor-1. Am J Respir Cell Mol Biol [Internet]. 2021 May 18;
    Available from: http://dx.doi.org/10.1165/rcmb.2020-0544OC

23. Rhea EM, Logsdon AF, Hansen KM, Williams LM, Reed MJ, Baumann KK, et al. The S1 protein of
    SARS-CoV-2 crosses the blood-brain barrier in mice. Nat Neurosci [Internet]. 2021 Mar;24(3):368
    78. Available from: http://dx.doi.org/10.1038/s41593-020-00771-8

24. Idrees D, Kumar V. SARS-CoV-2 spike protein interactions with amyloidogenic proteins: Potential
    clues to neurodegeneration. Biochem Biophys Res Commun [Internet]. 2021 May 21;554:94 8.
    Available from: http://dx.doi.org/10.1016/j.bbrc.2021.03.100

25. Lei Y, Zhang J, Schiavon CR, He M, Chen L, Shen H, et al. SARS-CoV-2 Spike Protein Impairs
    Endothelial Function via Downregulation of ACE 2. Circ Res [Internet]. 2021 Apr 30;128(9):1323 6.
    Available from: http://dx.doi.org/10.1161/CIRCRESAHA.121.318902

26. Zhang L, Richards A, Barrasa MI, Hughes SH, Young RA, Jaenisch R. Reverse-transcribed SARS-CoV-2
    RNA can integrate into the genome of cultured human cells and can be expressed in patient-
    derived tissues. Proc Natl Acad Sci U S A [Internet]. 2021 May 25;118(21). Available from:
    http://dx.doi.org/10.1073/pnas.2105968118

27. Suzuki YJ, Nikolaienko SI, Dibrova VA, Dibrova YV, Vasylyk VM, Novikov MY, et al. SARS-CoV-2 spike
    protein-mediated cell signaling in lung vascular cells. Vascul Pharmacol [Internet]. 2021
    Apr;137:106823. Available from: http://dx.doi.org/10.1016/j.vph.2020.106823

28. Suzuki YJ, Gychka SG. SARS-CoV-2 Spike Protein Elicits Cell Signaling in Human Host Cells:
    Implications for Possible Consequences of COVID-19 Vaccines. Vaccines (Basel) [Internet]. 2021 Jan
    11;9(1). Available from: http://dx.doi.org/10.3390/vaccines9010036

29. Ogata AF, Maley AM, Wu C, Gilboa T, Norman M, Lazarovits R, et al. Ultra-sensitive Serial Profiling
    of SARS-CoV-2 Antigens and Antibodies in Plasma to Understand Disease Progression in COVID-19
    Patients with Severe Disease. Clin Chem [Internet]. 2020 Sep 8; Available from:
    http://dx.doi.org/10.1093/clinchem/hvaa213

30. Kloc M, Uosef A, Kubiak JZ, Ghobrial RM. Exaptation of Retroviral Syncytin for Development of
    Syncytialized Placenta, Its Limited Homology to the SARS-CoV-2 Spike Protein and Arguments
    against Disturbing Narrative in the Context of COVID-19 Vaccination. Biology [Internet]. 2021 Mar
    19;10(3). Available from: http://dx.doi.org/10.3390/biology10030238
  Case 3:21-cv-01211-AW-HTC Document 31-13 Filed 10/21/21 Page 135 of 161




31. Khan I, Hatiboglu MA. Can COVID-19 induce glioma tumorogenesis through binding cell receptors?
    Med Hypotheses [Internet]. 2020 Nov;144:110009. Available from:
    http://dx.doi.org/10.1016/j.mehy.2020.110009

32. Singh N, Bharara Singh A. S2 subunit of SARS-nCoV-2 interacts with tumor suppressor protein p53
    and BRCA: an in silico study. Transl Oncol [Internet]. 2020 Oct;13(10):100814. Available from:
    http://dx.doi.org/10.1016/j.tranon.2020.100814

33.
      in Drug Therapy in Males and Females. Adv Drug Deliv Rev [Internet]. 2021 May 17; Available from:
      http://dx.doi.org/10.1016/j.addr.2021.05.014

34. European Medicines Agency. Assessment Report. Comirnaty (COVID-19 mRNA vaccine (nucleoside-
    modified)), EMA/707383/2020 Corr.1 [Internet]. 2021 Feb [cited 2021 Apr 13]. Available from:
    https://www.ema.europa.eu/en/documents/assessment-report/comirnaty-epar-public-
    assessment-report en.pdf#page=45

35. European Medicines Agency. Assessment Report. COVID-19 Vaccine Moderna (COVID-19 mRNA
    Vaccine (nucleoside-modified)), EMA/15689/2021 Corr.1 [Internet]. 2021 Mar [cited 2021 Apr 13].
    Available from: https://www.ema.europa.eu/en/documents/assessment-report/covid-19-vaccine-
    moderna-epar-public-assessment-report en.pdf#page=47

36. European Medicines Agency. Assessment Report. COVID-19 Vaccine Janssen, EMA/158424/2021
    [Internet]. 2021 Mar [cited 2021 Apr 13]. Available from:
    https://www.ema.europa.eu/en/documents/assessment-report/covid-19-vaccine-janssen-epar-
    public-assessment-report en.pdf#page=50

37. Pfizer. SARS-CoV- 2 mRNA Vaccine (BNT162, PF-
    bun [summary of pharmacokinetic studies] [Internet]. 2021 [cited 2021 May 28]. Available from:
    https://www.pmda.go.jp/drugs/2021/P20210212001/672212000 30300AMX00231 I100 1.pdf#pa
    ge=16

38. CDC. Selected adverse events reported after COVID-19 vaccination [Internet]. 2021 [cited 2021 May
    28]. Available from: https://www.cdc.gov/coronavirus/2019-ncov/vaccines/safety/adverse-
    events.html

39. Doshi P. FDA response to BMJ on reports of death after covid-19 vaccination [Internet]. 2021 [cited
    2021 May 28]. Available from: https://www.bmj.com/content/372/bmj.n149/rr-25

40. Wyller TB, Kittang BR, Ranhoff AH, Harg P, Myrstad M. Nursing home deaths after COVID-19
    vaccination. Tidsskr Nor Laegeforen [Internet]. 2021 May 20;141. Available from:
    http://dx.doi.org/10.4045/tidsskr.21.0383

41. Torjesen I. Covid-19: Pfizer-                                      for deaths of some elderly
    patients, Norwegian review finds. BMJ [Internet]. 2021 May 27 [cited 2021 May 28];373. Available
    from: https://www.bmj.com/content/373/bmj.n1372

42. Food and Drug Administration. Coronavirus (COVID-19) update: FDA Issues Policies to guide
    medical product developers addressing virus variants [Internet]. 2021 [cited 2021 May 28].
    Available from: https://www.fda.gov/news-events/press-announcements/coronavirus-covid-19-
  Case 3:21-cv-01211-AW-HTC Document 31-13 Filed 10/21/21 Page 136 of 161




     update-fda-issues-policies-guide-medical-product-developers-addressing-virus

43. Owens C. Vaccine boosters could be necessary as soon as September [Internet]. Axios. 2021 [cited
    2021 May 28]. Available from: https://www.axios.com/coronavirus-vaccines-boosters-pfizer-
    moderna-e8d6bed6-8238-4e52-9959-ca4c6a6e0d5a.html

44. Polack FP, Thomas SJ, Kitchin N, Absalon J, Gurtman A, Lockhart S, et al. Safety and Efficacy of the
    BNT162b2 mRNA Covid-19 Vaccine. N Engl J Med [Internet]. 2020 Dec 31;383(27):2603 15.
    Available from: http://dx.doi.org/10.1056/NEJMoa2034577

45. Baden LR, El Sahly HM, Essink B, Kotloff K, Frey S, Novak R, et al. Efficacy and Safety of the mRNA-
    1273 SARS-CoV-2 Vaccine. N Engl J Med [Internet]. 2021 Feb 4;384(5):403 16. Available from:
    http://dx.doi.org/10.1056/NEJMoa2035389

46. Thacker PD. Covid-19: How independent were the US and British vaccine advisory committees?
    BMJ [Internet]. 2021 May 26;373:n1283. Available from: http://dx.doi.org/10.1136/bmj.n1283

47. Moderna. SARS-CoV-
    [summary of pharmacokinetic studies] [Internet]. 2021 [cited 2021 May 29]. Available from:
    https://www.pmda.go.jp/drugs/2021/P20210519003/400256000 30300AMX00266 I100 1.pdf#pa
    ge=7
Case 3:21-cv-01211-AW-HTC Document 31-13 Filed 10/21/21 Page 137 of 161




      Marks Decl.
       Exhibit G
  Case 3:21-cv-01211-AW-HTC Document 31-13 Filed 10/21/21 Page 138 of 161




August 23, 2021

Linda Wastila, BSPharm, MSPH, PhD
Representative
Coalition Advocating for Adequately Licensed Medicines (CAALM)

Re: Citizen Petition (Docket Number FDA-2021-P-0786)

Dear Petitioner,

This letter responds to the citizen petition that the Coalition Advocating for Adequately Licensed
Medicines (CAALM) (the Petitioner, you) submitted to the Food and Drug Administration
(FDA, the Agency, we) relating to licensure of vaccines to prevent Coronavirus Disease 2019
(COVID-19) caused by severe acute respiratory syndrome coronavirus 2 (SARS-CoV-2) (the
CP).
In the CP, Petitioner requests that FDA:

                                        that the FDA expects a minimum of 2 years of follow-up of
   participants enrolled in pivotal clinical trials, even if trials are unblinded and lack a placebo

                                    substantial evidence of clinical effectiveness that outweighs
   harms, in all special populations, as a condition of consideration of including these
   populations among the indicated
   children, and adolescents; those with past SARS-CoV-2 infection; immunosuppressed
   individuals; those with history of or current cancer; individuals with hematological disorders
   or autoimmune diseases; pregnant or
                                  and pharmacokinetic profil
                                 ribution studies investigating
                                                 stems in the US and globally documenting a
   thorough investigation of serious adverse events, carried out by independent, impartial

                                                 ta from individuals receiving more than 2


                                          decisions regarding any COVID-19 vaccine BLA
   application are informed by experts with no financial or research relationships with any
   vaccine manufacturers within the last 36 months, both within FDA and amongst the

CP at 3-4.

U.S. Food and Drug Administration
10903 New Hampshire Avenue
Silver Spring, MD 20993
www.fda.gov
     Case 3:21-cv-01211-AW-HTC Document 31-13 Filed 10/21/21 Page 139 of 161




This letter responds to the CP in full. FDA has carefully reviewed the CP and other relevant
information available to the Agency. Based on our review of these materials and for the reasons
described below, we conclude that the CP does not contain facts demonstrating any reasonable
grounds for the requested action. In accordance with 21 CFR § 10.30(e)(3), and for the reasons
stated below, FDA is denying the CP.
In this letter, we discuss the requirements for licensed vaccines. We then turn to the requests
contained in the CP. We consider each of your requests in light of the legal standards for FDA
action, and provide our conclusions based on the facts, the science, and the law.
I.      Background
There is currently a pandemic of respiratory disease, COVID-19, caused by a novel coronavirus,
SARS-CoV-2. The COVID-19 pandemic presents an extraordinary challenge to global health.
On January 31, 2020, the Department of Health and Human Services (HHS) issued a declaration
of a public health emergency related to COVID-19.1 On February 4, 2020, pursuant to section
564 of the FD&C Act, the Secretary of HHS determined that there is a public health emergency
that has a significant potential to affect national security or the health and security of U.S.
citizens living abroad, and that involves the virus that causes COVID-19. 2 On the basis of such
determination, on March 27, 2020, the Secretary then declared that circumstances exist justifying
the authorization of emergency use of drugs and biological products during the COVID-19
                                                                                                3
                                                                                                  In
addition, on March 13, 2020, the Presidential declared a national emergency in response to
COVID-19.4
Commercial vaccine manufacturers and other entities are developing COVID-19 vaccine
candidates, and clinical studies of these vaccines are underway and/or have been
completed. Between December 11, 2020 and February 27, 2021, FDA issued emergency use
authorizations for three vaccines to prevent COVID-19, including vaccines sponsored by Pfizer
Inc. (Pfizer); ModernaTX, Inc. (Moderna); and Janssen Biotech, Inc. (Janssen), a pharmaceutical
company of Johnson & Johnson. FDA received a Biologics License Application (BLA) for the
COVID-19 vaccine, BNT162b2, intended to prevent COVID-19 in individuals 16 years of age
and older. As announced by FDA on August 23, 2021, the Agency is issuing a biologics license




1
  Secretary of Health and Human Services Alex M. Azar, Determination that a Public Health Emergency Exists
(Originally issued Jan. 31, 2020, and subsequently
renewed), https://www.phe.gov/emergency/news/healthactions/phe/Pages/default.aspx.
2
  HHS, Determination of Public Health Emergency, 85 FR 7316, February 7, 2020,
https://www.federalregister.gov/documents/2020/02/07/2020-02496/determination-of-public-health-emergency.
3
  HHS, Emergency Use Authorization Declaration, 85 FR 18250, April 1, 2020,
https://www.federalregister.gov/documents/2020/04/01/2020-06905/emergency-use-authorization-declaration.
4
  Proclamation on Declaring a National Emergency Concerning the Novel Coronavirus Disease (COVID-19)
Outbreak, issued March 13, 2020, https://trumpwhitehouse.archives.gov/presidential-actions/proclamation-
declaring-national-emergency-concerning-novel-coronavirus-disease-covid-19-outbreak/.

                                                                                                             2
      Case 3:21-cv-01211-AW-HTC Document 31-13 Filed 10/21/21 Page 140 of 161




for this COVID-19 vaccine (COVID-19 Vaccine, mRNA; Comirnaty) to BioNTech
Manufacturing GmbH.5,6
II.      Vaccines That Are FDA-Licensed Meet Relevant Statutory Requirements
         1. Vaccines Are Shown to Be Safe, Pure, and Potent at the Time of Licensure
FDA has a stringent regulatory process for licensing vaccines. 7,8 The Public Health Service
Act (PHS Act) authorizes FDA to license biological products, including vaccines, if they have
                                                    9
                                                       Prior to approval by FDA, vaccines are
extensively tested in non-clinical                                    gulations describe some of the
extensive data and information that each sponsor of a vaccine must submit to FDA in order to
                                                    consider licensing the vaccine. FDA requires
                                                   gs, data derived from nonclinical and clinical
                               safety, purity, and potency; a full description of manufacturing
methods for the product; data esta                                  through the dating period; and a
representative sample of the product and summaries of results of tests performed on the lot(s)
represented by the sample.10
As is evident from the                                            gulations, the licensure process for
a vaccine requires the sponsor to establish, through carefully controlled laboratory and clinical
studies, as well as through other data, that the product is safe and effective for its approved

                                  data, as well as other information, to help assess whether the
safety, purity, and potency of a vaccine has been demonstrated. 11
are met is a vaccine licensed.
FDA regulations explicitly state that                                  se application or issuance of
a biologics license shall constitute a determination that the establishment(s) and the product meet
                                                                                                 12
applicable requirements to ensure the continued safety, purit
Therefore, the manufacturers of vaccines that have been licensed in the U.S. have necessarily
demonstrated the safety of the vaccines within the meaning of the applicable statutory and
regulatory provisions before the vaccines were licensed and allowed to be marketed.
                                  thorough process for evaluating the safety of vaccines, see
Appendix I of this letter, Aspects of Vaccine Development and Process for Licensure.


5
  BioNTech Manufacturing GmbH is the biologics license holder for this vaccine, which is manufactured by Pfizer
Inc. for BioNTech Manufacturing Gm
6
  The basis for FDA's licensure decision is set forth in FDA's Summary Basis for Regulatory Action for the
BioNTech application. This memorandum will be posted on fda.gov. We incorporate by reference the SBRA for the
BLA.
7
  CDC, Ensuring the Safety of Vaccines in the United States, February 2013,
https://www.cdc.gov/vaccines/hcp/patient-ed/conversations/downloads/vacsafe-ensuring-bw-office.pdf.
8
  Vaccine Safety Questions and Answers, last updated March 2018, https://www.fda.gov/vaccines-blood-
biologics/safety-availability-biologics/vaccine-safety-questions-and-answers.
9
  42 U.S.C. § 262(a)(2)(C)(i)(I).
10
   21 CFR § 601.2(a).
11
   Vaccines, last updated January 2021, https://www.fda.gov/vaccines-blood-biologics/vaccines.
12
   21 CFR § 601.2(d) (emphasis added).

                                                                                                              3
     Case 3:21-cv-01211-AW-HTC Document 31-13 Filed 10/21/21 Page 141 of 161




         2. Vaccine Safety Continues to Be Monitored Post-Licensure
                                    continues after licensure of the product. Once the licensed
vaccine is on the market, post-marketing surveillance of vaccine safety is conducted in order to
detect any rare, serious, or unexpected adverse events, as well as to monitor vaccine lots. FDA
employs multiple surveillance systems and databases to continue to evaluate the safety of these
vaccines. In certain cases, FDA may require the manufacturer to conduct post-marketing studies
to further assess known or potential serious risks.
For more information on post-licensure safety monitoring of vaccines, see Appendix II of this
letter, Aspects of Vaccine Postmarketing Safety Monitoring.
III. Discussion
The CP makes a series of requests regarding the data to be submitted in support of licensure of
vaccines to prevent COVID-19. Much of the key data supporting licensure applications is
developed during the clinical trial process, whic                     investigational new drug
process.13
             A. Investigational New Drugs
Before a vaccine is licensed (approved) by FDA for use by the public, FDA requires that it
undergo a rigorous and extensive development progr
effectiveness. This development program encompasses preclinical research (laboratory research,
animal studies14) and clinical studies. At the preclinical stage, the sponsor focuses on collecting
the data and information necessary to establish that the product will not expose humans to
unreasonable risks when used in limited, early-stage clinical studies. Clinical studies, in humans,
are conducted under well-defined conditions and with careful safety monitoring through all the
phases of the investigational new drug process.                           erning the conduct of
clinical investigations are set out at 21 CFR Part 312.
Before conducting a clinical investigation in the U.S. in which a new drug or biological product
is administered to humans, a sponsor must submit an investigational new drug application (IND)
to FDA.15 The IND describes the proposed clinical study in detail and, among other things,
helps protect the safety and rights of human subjects.16 In addition to other information, an IND
must contain information on clinical protocols and clinical investigators. Detailed protocols for
proposed clinical studies permit FDA to assess whether the initial-phase trials will expose
subjects to unnecessary risks. Information on the qualifications of clinical investigators
(professionals, generally physicians, who oversee the administration of the experimental drug)
permits FDA to assess whether they are qualified to fulfill their clinical trial duties. The IND

13
   See 21 CFR § 312.2 (explaining that the IND regulations apply to clinical investigations of both drugs and
biologics).
14
   We support the principles of
encourage sponsors to consult with us if they wish to use a non-animal testing method they believe is suitable,
adequate, validated, and feasible. We will consider if such an alternative method could be assessed for equivalency
to an animal test method.
15
   See 21 CFR § 312.20(a).
16
   For additional information regarding the IND review process and general responsibilities of sponsor-investigators
related to clinical investigations see Investigational New Drug Applications Prepared and Submitted by Sponsor-
Investigators; Draft Guidance for Industry, May 2015, https://www fda.gov/media/92604/download.

                                                                                                                   4
     Case 3:21-cv-01211-AW-HTC Document 31-13 Filed 10/21/21 Page 142 of 161




includes commitments to obtain informed consent from the research subjects, to obtain review of
the study by an institutional review board (IRB),17 and to adhere to the investigational new drug
regulations.
Once the IND is submitted, the sponsor must wait 30 calendar days before initiating any clinical
trials, unless FDA informs the sponsor that the trial may begin earlier. During this time,
                                                         reviewing an IND are, in all phases of the
investigation, to assure the safety and rights of subjects, and, in Phase 2 and Phase 3, to help
assure that the quality of the scientific evaluation of drugs is adequate to permit an evaluation of
                    eness and safety.18
                                                   in effect, the sponsor may conduct a clinical
investigation of the product, with the investigation generally being divided into three phases.
With respect to vaccines, the initial human studies, referred to as Phase 1 studies, are generally
safety and immunogenicity studies performed in a small number of closely monitored subjects.
Phase 2 studies may include up to several hundred individuals and are designed to provide
information regarding the incidence of common short-term side effects such as redness and
swelling at the injection site or fever and to further describe the immune response to the
investigational vaccine. If an investigational new vaccine progresses past Phase 1 and Phase 2
studies, it may progress to Phase 3 studies. For Phase 3 studies, the sample size is often
determined by the number of subjects required to establish the effectiveness of the new vaccine,
which may be in the thousands or tens of thousands of subjects. Phase 3 studies provide the
critical documentation of effectiveness and important additional safety data required for
licensing.
At any stage of development, if data raise significant concerns about either safety or
effectiveness, FDA may request additional information or studies; FDA may also halt ongoing
clinical studies. The FD&C Act provides a sp
prohibiting sponsors of clinical investigations from conducting the investigation (section
505(i)(3) of the FD&C Act; 21 U.S.C. § 355(i)(3
312.42 identify the circumstances that may justify a clinical hold. Generally, a clinical hold is an
order issued by FDA to the sponsor of an IND to delay a proposed clinical investigation or to
suspend an ongoing investigation.19
             B. The Citizen Petition
In the CP, Petitioner requests that before FDA licenses any vaccine20 for COVID-19, the agency
require certain data be submitted. Because much of the relevant data is the kind that would be
17
   The IRB is a panel of scientists and non-scientists in hospitals and research institutions that oversees clinical
research. IRBs approve clinical study protocols, which describe the type of people who may participate in the
clinical study; the schedule of tests and procedures; the medications and dosages to be studied; the length of the
study; the study's objectives; and other details. IRBs make sure that the study is acceptable, that participants have
given consent and are fully informed of the risks, and that researchers take appropriate steps to protect patients from
harm. See The FDA's Drug Review Process: Ensuring Drugs Are Safe and Effective web page, last updated
November 2017, https://www.fda.gov/drugs/drug-information-consumers/fdas-drug-review-process-ensuring-drugs-
are-safe-and-effective.
18
   21 CFR § 312.22(a).
19
   21 CFR § 312.42(a).
20
                                                                                        issuing licenses, or approving a
BLA. See 21 CFR § 601.2(d); 21 CFR § 601.4(a).

                                                                                                                       5
     Case 3:21-cv-01211-AW-HTC Document 31-13 Filed 10/21/21 Page 143 of 161




gathered during clinical trials, we interpret the CP as asking that FDA require the sponsors to
make the requested changes to their investigations, as well as, in some cases, to submit certain
other data. As explained above, with certain exceptions, clinical investigations in which a drug
is administered to human subjects must be conducted under an IND submitted to FDA by the
                                                   view of the study protocol which describes,
among other things, the design of the clinical study, including the identified endpoints and
methods for assessing the safety and effectiveness of the investigational product.
Below, we discuss the requested changes to the study design and other data submissions.
                       1.
                            evidence of clinical effectivenes

Petitioner asks that, prior to issuing a license for a COVID-19 vaccine, FDA require certain types
of clinical data, specifically:
        data demonstrating substantial evidence of clinical effectiveness that outweighs harms, in all
        special populations, as a condition of consideration of including these populations among the
        indicated populations. Special populations include: infants, children, and adolescents; those with
        past SARS-CoV-2 infection; immunosuppressed individuals; those with history of or current
        cancer; individuals with hematological disorders or autoimmune diseases; pregnant or nursing
        women; and frail older adults.
CP at 3.
Petitioner refers to the ongoing phase 3 trials of COVID-19 vaccines for the Moderna, Pfizer,
and Janssen products, and states th
populations. CP at 5. Petitioner states that there should be in

vs. reduction in risk of hospitalization or d                   .
Thus, Petitioner appears to request that FDA require evidence derived from clinical trials to
provide evidence of effectiveness for each of the identified populations, and also that clinical
trials be designed and conducted in each population to assess the effectiveness of these vaccines
to prevent COVID-19 disease of varying severity in the specified populations.
                                      Petitioner asserts that

lower in infants, children, and adolescents
FDA addressed trial populations in the guidance.21 In the June 2020 guidance, FDA noted that
while certain exclusions were                                    sion of participants at higher

associated [enhanced respiratory disease] until additional data to inform that potential risk
                                                            22
becomes available through


21
   Development and Licensure of Vaccines to Prevent COVID-19; Guidance for Industry, June 2020 (June 2020
Guidance), https://www.fda.gov/media/139638/download.
22
   June 2020 Guidance at 10.

                                                                                                            6
     Case 3:21-cv-01211-AW-HTC Document 31-13 Filed 10/21/21 Page 144 of 161



                                                                                                23
inclusion of diverse populations in all                                            FDA also
                                              safety and COVID-19 outcomes in individuals
with prior SARS-CoV-2 infection, which might have been asymptomatic, is also important to
examine because pre-vaccination screening for prior infection is unlikely to occur in practice
                                                                  24


With respect to the pediatric population, the J
                                                                                                                 25
and effectiveness of COVID-19 vaccines, may be
                                                     pect of direct benefit and acceptable risk to
support initiation of pediatric studies, and the appropriate design and endpoints for pediatric
                                                                                          26
studies, should be discussed in the contex
Although the June 2020 Guidance includes various recommendations, ultimately FDA licensure
decisions are based on an evaluation of the entirety of the data contained in a BLA and a finding
                        outweigh its potential risks.
In assessing benefits and risks, FDA takes into account a number of factors including, but not
limited to, the evidence for benefit, the requested indication, severity of the disease or condition,
treatment alternatives, and the type and severity of adverse events. In general, the evidence for
benefit is based on the results of clinical trials. In some cases, vaccine clinical trials assess
clinical disease endpoints. In other cases, it may be scientifically acceptable to utilize
immunogenicity endpoints.
In assessing benefits for particular populations, FDA is not limited to considering evidence of
effectiveness based on clinical trial studies with disease endpoints. In some cases, FDA may
conclude that pediatric effectiveness can be extrapolated from adequate and well-controlled
studies in adults.27 Furthermore, a study may not be needed in each pediatric age group if data
from one age group can be extrapolated to another age group.28 There are times where it is
scientifically appropriate to demonstrate effectiveness using scientifically accepted immune
marker(s) of protection or to infer effectiveness for a population through immunobridging.
In assessing risks, FDA takes into account the type, frequency, and severity of any adverse
events.
The benefit-risk assessment will be informed by the body of evidence about
and effectiveness submitted by an applicant in the BLA, the severity of the target disease, and the
target population. Thus, in approving or authorizing a vaccine for use in a particular population
(such as children), FDA will take into account the severity of the disease in the population as
well as the benefits of the vaccine.


23
   Id. at 11.
24
   Id.
25
   Id.
26
   Id.
27
   See
disease and the effects of the drug are sufficiently similar in adults and pediatric patients, the Secretary may
conclude that pediatric effectiveness can be extrapolated from adequate and well-controlled studies in adults, usually
28
     See


                                                                                                                      7
     Case 3:21-cv-01211-AW-HTC Document 31-13 Filed 10/21/21 Page 145 of 161




                                                                       .e., of requiring effectiveness
data from clinical trials specific to each population group and specifically designed to evaluate
disease endpoints of varying severity (e.g., hospitalization and death) in all of the specified
                                     e scientifically valid methods of assessing safety and
effectiveness described above. Petitioner has not provided a scientific justification for why such
tools as immunobridging or extrapolation across population groups cannot be used. Therefore,
                              29
                                 to require effectiveness data from clinical trials specifically
designed to assess disease endpoints of varying severity (e.g., hospitalization and death) for each
of the identified populations as a condition of licensing a COVID-19 vaccine. 30,31

29

can differ across population groups. That has been a featur
adolescents generally experiencing a milder disease course compared to older adults. But as with adults, children
and adolescents with underlying conditions such as asthma, chronic lung disease, and cancer are at higher risk than
their healthier counterparts for COVID-19-related hospitalization and death. See generally Emergency Use
Authorization (EUA) Amendment for an Unapproved
authorization of the Pfizer-BioNTech COVID-19 Vaccine for individuals 12 years and older),
https://www.fda.gov/media/148542/download. These are features of COVID-19 that FDA may consider in weighing
the risks and benefits of COVID-19 vaccines for different populations.
30

different populations, with the example of reduction of risk of hospitalization or death vs. reduction of risk of
symptomatic COVID-19, we agree that severity of disease experienced by different groups is an important
consideration that may be accounted for in a risk-benefit
request that FDA only accept the results of clinical trials that have different endpoints for different populations (e.g.,
hospitalization or death for a younger population and symptomatic COVID-19 for older populations). A clinical
trial endpoint of symptomatic disease for all populations included in the trial may provide sufficient information for
FDA to adequately assess the risks and benefits of the vaccine, and FDA may evaluate the effectiveness of the
vaccine in different populations by considering subgroup analyses of the data including analyses of vaccine
effectiveness against disease of varying severity using pre-specified case definitions.
31


                                                         we note that there is scientific uncertainty about the
duration of protection provided by previous natural infection, but that the scientific community believes that
vaccines may provide a longer duration of protection than that provided by natural infection. See CDC, COVID-19
Frequently Asked Questions, last updated August 2021, https://www.cdc.gov/coronavirus/2019-
ncov/vaccines/faq.html; Boyton, R. and D Altmann, 2021, Risk of SARS-CoV-2 reinfection after natural infection,
Lancet, 397(10280):1161-1163, https://www.thelancet.com/journals/lancet/article/PIIS0140-6736(21)00662-
0/fulltext

In addition, you state that individuals with previous infectio
CP at 5. The sources that you cite for this proposition are unavailing. First, the Krammer et al. publication
(http://medrxiv.org/lookup/doi/10.1101/2021.01.29.21250653) does not assert safety problems with this population
receiving COVID-19 vaccines; rather, the publication asserts that these individuals could receive only one dose of
vaccine without negatively impacting their antibody titers and sparing them from unnecessary local and systemic
adverse reactions (e.g., pain, swelling, fatigue, headache, chills, fever, muscle or joint pains) while also freeing up
many urgently needed vaccine doses. The Samanovic et al. publication
(http://dx.doi.org/10.1101/2021.02.07.21251311) similarly does not identify safety concerns, but rather concludes
that prior history of COVID-19 affects adaptive immune responses to mRNA vaccination. The Camara et al.
publication (https://www.biorxiv.org/content/10.1101/2021.03.22.436441v1) asserts only that the second dose may


detailed analysis of the phenotype of the spike-specific T cells induced by COVID-19 vaccines both in naïve and


                                                                                                                          8
   Case 3:21-cv-01211-AW-HTC Document 31-13 Filed 10/21/21 Page 146 of 161




                         2.
                              pharmacokinetic profiles of the spike protein
                                                    fety and pharmacokinetic profiles of the spike
                                                         CP at 6. In support of this request, Petitioner
                                 on of SARS-CoV-2 spike protein is the target mechanism of action
of all COVID-19 vaccines with an EUA at present. Therefore, the safety profile of the spike
protein itself (i.e., in the absence of virus) must be thoroughly understood in the range of
populations on the indicati
This request relates to the technology used to make the COVID-19 vaccines that have been
authorized by FDA for emergency use. The Pfizer-BioNTech and Moderna vaccines contain a
piece of mRNA that instructs cells in the body to
SARS-COV-2 virus. The Janssen COVID-19 vaccine is manufactured using a specific type of
virus called adenovirus type 26 (Ad26) that delivers a piece of the DNA that is used to make the
                             of the SARS-CoV-2 virus.
Your request appears to be premised on the notion that licensure should be contingent on
                                                  ic protein produced by the COVID-19 vaccines
that is designed to elicit an immune response. Contrary to the assumption underlying your
request, it is not scientifically necessary to require toxicological or pharmacokinetic studies in
individuals to evaluate specific features of a vaccine outside the context of evaluating the vaccine
as a whole. In making a licensure decision, FDA determines whether the data and information
provided by a manufacturer have demonstrated that a vaccine is safe, pure, and potent. In
making a determination about the safety of a vaccine, the agency evaluates the complete
manufacturing process and whether specific features of a vaccine are such that the finished
product itself, when used at the recommended dose, is safe for the recipient. FDA applies its

                                                                Petitioner also references a preprint by Levi et al.
(https://www medrxiv.org/content/10.1101/2021.02.01.21250923v2). In the published version of that study, the
                                       dose is sufficient in symptomatic SARS-CoV-2-exposed subjects to reach a
high titer of antibodies, suggesting no need for a second dose, partic
Levi et al. One Dose of SARS-CoV-2 Vaccine Exponentially Increases Antibodies in Individuals Who Have
Recovered from Symptomatic COVID-19, J Clin Invest. 2021;131(12):e149154:
https://www.jci.org/articles/view/149154). Levi et al. does not identify safety concerns with COVID-19 vaccines.

We note that history of infection prior to vaccination is not usually known in adverse event reports (either because it
                                                  asymptomatic and the patient never knew they had
infection). Likewise, there could be a reporting bias for a reporting system like VAERS, which relies on vaccine
recipients, healthcare providers, or others to initiate reports to the system, because individuals who were infected
previously might be more likely to report adverse events. However, FDA, together with CDC, has not become
aware of data from VAERS to suggest an increased frequency of adverse events in vaccinees who were infected
with SARS-CoV-2 prior to vaccination. FDA and CDC Medical Officers conduct on-going review of certain,
serious adverse events of special interest for the COVID vaccines. These reviews often include examination of the
narrative and other fields which would contain information about past infection, if provided. Additionally, CDC and
the VAERS Program contractor collect follow-up medical records for certain serious reports. Teams of physicians,
nurses, and other reviewers abstract key clinical details, including medical history, from these records. The
reviewers conducting these on-going surveillance efforts have not identified patterns of adverse events associated
with prior infection.


                                                                                                                       9
     Case 3:21-cv-01211-AW-HTC Document 31-13 Filed 10/21/21 Page 147 of 161




sound scientific judgment in evaluating vaccines and other biological products, and ensures that
vaccines licensed by the agency are safe within the meaning of the PHSA, the FD&C Act, and
implementing regulations.
With respect to the spike protein feature of vaccines for COVID-19, while there have been
numerous claims on social media suggesting that the spike protein is toxic, 32 there are in fact no
reliable scientific data to indicate that the spike protein is toxic or that it lingers at any toxic level
in the body after vaccination. Below, we list the publications you cite in footnotes 15-28 of your
petition in support of what you desc                                     the spike protein feature of
                      33
authorized vaccines. The left column identifies the relevant footnote in your petition and the
accompanying citation, and the right column descri
information in the right column explains why you have not in fact presented data showing safety
problems with the spike protein feature of vaccines that would cause the vaccines to be unsafe.

                                                              FDA analysis

 Footnote 15: Ogata AF, Cheng C-A, Desjardins M,              This work conducted in a small number of
 Senussi Y, Sherman AC, Powell M, et al. Circulating          individuals (n=13) documents that shortly following
 SARS-CoV-2 Vaccine Antigen Detected in the Plasma of         administration of the mRNA-1273 COVID-19
 mRNA-1273 Vaccine Recipients. Clin Infect Dis                vaccine, SAR-CoV-2 spike protein was detectible in
 [Internet]. 2021 May 20; Available from:                     the plasma of 11 of the 13. Clearance of the protein
 http://dx.doi.org/10.1093/cid/ciab465                        from the circulation was associated with the
                                                              development of IgG and IgA antibodies. The authors
                                                              suggest a mechanism that might have led to the
                                                              findings, based on the immune response to the
                                                              vaccine. This paper documents the appearance of
                                                              spike protein in plasma and its clearance with
                                                              development of an immune response. This
                                                              publication does not provide evidence that
                                                              authorized COVID-19 vaccines are unsafe.
 Footnote 16: Kuba K, Imai Y, Rao S, Gao H, Guo F,            This article relates to SARS-CoV, the causative
 Guan B, et al. A crucial role of angiotensin converting      agent of SARS, an atypical pneumonia that occurred
 enzyme 2                                                     in several countries in 2002-2003. It was published
 (ACE2) in SARS coronavirus-induced lung injury. Nat          in 2005 before the discovery of SARS-CoV-2 and
                                                              the development of vaccines to prevent COVID-19.
 Available from: http://dx.doi.org/10.1038/nm1267             Therefore, the reports in this publication do not
                                                              present safety concerns about the use of the spike
                                                              protein in vaccines.
 Footnote 17: Chen I-Y, Chang SC, Wu H-Y, Yu T-C,             This 2010 publication describes in vitro studies with
 Wei W-C, Lin S, et al. Upregulation of the chemokine         SARS-CoV. It was published in 2010 before the
 (C-C                                                         discovery of SARS-CoV-2 and the development of
 motif) ligand 2 via a severe acute respiratory syndrome      vaccines to prevent COVID-19. The publication
 coronavirus spike-ACE2 signaling pathway. J                  therefore does not present any evidence of safety



32
   See, e.g., FactCheck.org, COVID-19 Vaccine-Generated Spike Protein is Safe, Contrary to Viral Claims,
https://www.factcheck.org/2021/07/scicheck-covid-19-vaccine-generated-spike-protein-is-safe-contrary-to-viral-
claims/ (describing spread of social media claims about the spike protein); Lin, R., 2021, Busted: 3 dangerous
social-media myths about COVID-19 vaccines, LA Times, https://www.latimes.com/california/story/2021-06-
03/covid-19-vaccine-myths-busted (same); Dupuy, B., 2021, Spike protein produced by vaccine not toxic, AP,
https://apnews.com/article/fact-checking-377989296609 (same).
33
   See Sec. 3(b) of the CP, which refers to footnotes 15-28 as support for asserted safety concerns with the spike
protein.

                                                                                                                     10
 Case 3:21-cv-01211-AW-HTC Document 31-13 Filed 10/21/21 Page 148 of 161



                                                            concerns related to the formulation of COVID-19
from: http://dx.doi.org/10.1128/JVI.02560-09                vaccines.
Footnote 18: Patra T, Meyer K, Geerling L, Isbell TS,       This publication pertains to SARS-CoV-2 infection
Hoft DF, Brien J, et al. SARS-CoV-2 spike protein           and disease progression, but does not relate to
promotes IL6 trans-signaling by activation of angiotensin   vaccines to prevent COVID-19. The publication
II receptor signaling in epithelial cells. PLoS Pathog      therefore does not present any evidence of safety
[Internet]. 2020 Dec;16(12):e1009128. Available from:       concerns related to the formulation of COVID-19
http://dx.doi.org/10.1371/journal.ppat.1009128              vaccines.
Footnote 19: Zhang S, Liu Y, Wang X, Yang L, Li H,          This publication pertains to SARS-CoV-2 infection
Wang Y, et al. SARS-CoV-2 binds platelet ACE2 to            and disease progression, but does not relate to
enhance thrombosis in COVID-19. J Hematol Oncol             vaccines to prevent COVID-19. The publication
[Internet]. 2020 Sep 4;13(1):120. Available from:           therefore does not present any evidence of safety
http://dx.doi.org/10.1186/s13045-020-00954-7                concerns related to the formulation of COVID-19
                                                            vaccines.
Footnote 20: Suresh SJ, Suzuki YJ. SARS-CoV-2 Spike
Protein and Lung Vascular Cells. Journal of Respiration     understand the biological effects of this [spike]
                                                            protein on human cells to ensure that it does not
Available from: https://www.mdpi.com/2673-527X/1/1/4

                                                            effects of various SARS-CoV-2 spike protein

                                                            does not in fact report any adverse effects of
                                                            authorized vaccines. Nor does it conclude that use of
                                                            spike protein in authorized vaccines causes the
                                                            vaccines to be unsafe.
Footnote 21: Angeli F, Spanevello A, Reboldi G, Visca       This article summarizes the features of several
D, Verdecchia P. SARS-CoV-2 vaccines: Lights and            COVID-19 vaccines and discusses potential
shadows. Eur J Intern Med [Internet]. 2021 Apr 30;          interactions between the spike protein of vaccines
Available from:                                             with the cardiovascular system. The article notes
http://dx.doi.org/10.1016/j.ejim.2021.04.019

                                                            developed; however, it does not state that the spike
                                                            protein itself should be studied in people.
Footnote 22: Han M, Pandey D. ZMPSTE24 Regulates            This publication pertains to COVID-19 disease, but
SARS-CoV-2 Spike Protein-enhanced Expression of             does not relate to vaccines to prevent COVID-19.
Endothelial Plasminogen Activator Inhibitor-1. Am J         The publication therefore does not present any
Respir Cell Mol Biol [Internet]. 2021 May 18; Available     evidence of safety concerns related to the
from: http://dx.doi.org/10.1165/rcmb.2020-0544OC            formulation of COVID-19 vaccines.
Footnote 23: Rhea EM, Logsdon AF, Hansen KM,                This publication pertains to COVID-19 disease, but
Williams LM, Reed MJ, Baumann KK, et al. The S1             does not relate to vaccines to prevent COVID-19.
protein of SARS-CoV-2 crosses the blood-brain barrier in    The publication therefore does not present any
                                                            evidence of safety concerns related to the
Available from: http://dx.doi.org/10.1038/s41593-020-       formulation of COVID-19 vaccines.
00771-8
Footnote 24: Idrees D, Kumar V. SARS-CoV-2 spike            This publication pertains to COVID-19, but does not
protein interactions with amyloidogenic proteins:           relate to vaccines to prevent COVID-19. The
Potential clues to neurodegeneration. Biochem Biophys       publication therefore does not present any evidence
                                                            of safety concerns related to the formulation of
Available from:                                             COVID-19 vaccines.
http://dx.doi.org/10.1016/j.bbrc.2021.03.100
Footnote 25: Lei Y, Zhang J, Schiavon CR, He M, Chen        This publication pertains to the S protein, but does
L, Shen H, et al. SARS-CoV-2 Spike Protein Impairs          not relate to vaccines to prevent COVID-19. The
Endothelial Function via Downregulation of ACE 2. Circ      publication therefore does not present any evidence
                                                            of safety concerns related to the formulation of
                                                            COVID-19 vaccines. In fact, the publication


                                                                                                                   11
     Case 3:21-cv-01211-AW-HTC Document 31-13 Filed 10/21/21 Page 149 of 161



 from:                                                         concludes by stating:
 http://dx.doi.org/10.1161/CIRCRESAHA.121.318902               antibody and/or exogenous antibody against S
                                                               protein not only protects the host from SARS-CoV-2
                                                               infectivity but also inhibits S protein-imposed
                                                               endothelial injury
 Footnote 26: Zhang L, Richards A, Barrasa MI, Hughes          This publication pertains to SARS-CoV-2 infection,
 SH, Young RA, Jaenisch R. Reverse-transcribed SARS-           but does not relate to vaccines to prevent COVID-19.
 CoV-2 RNA can integrate into the genome of cultured           The publication therefore does not present any
 human cells and can be expressed in patientderived            evidence of safety concerns related to the
 tissues. Proc Natl Acad Sci U S A [Internet]. 2021 May        formulation of COVID-19 vaccines.
 25;118(21). Available from:
 http://dx.doi.org/10.1073/pnas.2105968118
 Footnote 27: Suzuki YJ, Nikolaienko SI, Dibrova VA,           This publication pertains to SARS-CoV-2 infection,
 Dibrova YV, Vasylyk VM, Novikov MY, et al. SARS-              but does not relate to vaccines to prevent COVID-19.
 CoV-2 spike protein-mediated cell signaling in lung           The publication therefore does not present any
 vascular cells. Vascul Pharmacol [Internet]. 2021             evidence of safety concerns related to the
 Apr;137:106823. Available from:                               formulation of COVID-19 vaccines.
 http://dx.doi.org/10.1016/j.vph.2020.106823
 Footnote 28: Suzuki YJ, Gychka SG. SARS-CoV-2 Spike
 Protein Elicits Cell Signaling in Human Host Cells:           consider the possibility that the SARS-CoV-2 spike
 Implications for Possible Consequences of COVID-19            protein produced by the new COVID-19 vaccines
 Vaccines. Vaccines (Basel) [Internet]. 2021 Jan 11;9(1).      triggers cell signaling events that promote
 Available from:
  http://doi.org/10.3390/vaccines901003                        important to monitor vaccinees for long-term
                                                               consequences. While the publication advocates
                                                               experimental animal studies, it does not provide any
                                                               data suggesting that the vaccines cause any harm.



In sum, you have not demonstrated why FDA is scientifically or legally obligated to require
                                    netic profiles of the spike protei
not demonstrated why it is scientifically or legally faulty for FDA to make licensure
determinations without requiring the specific requested safety data on the isolated spike protein
in individuals. Therefore, we deny your request.34
                         3.                                                 from biodistribution studies
                                                      odistribution studies investigating the actual

                                                  dely in the body, including to the liver, brain,
heart, lung, adrenals, ovaries, and testes, among many
                                            odistribution studies of the COVID-19 vaccine

CP at 7. Therefore, according to Petitioner,

34
                                                         on the safety and pharmacokinetic profiles of the spike

related to coagulopathy, reproduction, etc.). See Sec. 3(c) of the CP. Because we conclude that you have not
supported the need for the requested type of data that is specific to the isolated spike protein, we deny your requests
that FDA require that the studies producing such data examine the identified health outcomes. It is worth pausing to
acknowledge that you premise some of the health outcome data requests on information that you attribute to
                                                               ket safety monitoring system for vaccines, reports to
VAERS are not confirmed to be associated with vaccination.

                                                                                                                    12
     Case 3:21-cv-01211-AW-HTC Document 31-13 Filed 10/21/21 Page 150 of 161




                                                     Petitioner further states that the studies are
                           ong term adverse effects and better understand potential
mechanism(s) of action of short and
FDA addressed biodistribution studies in the June 2020 Guidance in the section regarding
toxicity studies. FDA recommended biodistribution studies
construct is novel in nature and there are no existing biodistribution data from the
                       35
                          FDA specified that biodistribution studies may not be necessary in
                                                  didate is made using a platform technology
utilized to manufacture a licensed vaccine or other previously studied investigational vaccines
                                         36


Petitioner has not demonstrated the need for biodistribution studies of
                                           ically inappropriate to support a BLA with
biodistribution data for a surrogate protein produced using the platform technology, for example
if imaging on such protein can be performed to visualize the location of the protein expression.
Because Petitioner has not explained why such alternative approaches cannot be used, we deny

                          4.
                                 Systems Documenting an Investigation into Serious Adverse Events
Petitioner asks FDA to require                                 stems in the US and globally
documenting a thorough investigation serious adverse events, carried out by independent,

administered to hundreds of millions of individuals, and it is vital that all reports of SAEs
[significant adverse events] are thoroughly investigated to determine whether the vaccine played
                                               states that the investigat
                                               9. Thus, Petitioner appears to be asking for

It is unclear whether Petitioner is requesting that individual manufacturers perform the
pharmacovigilance, or if Petitioner asks that FDA do so. Given that post-marketing surveillance
systems are conducted both by sponsors and FDA, we interpret the request as asking that FDA
ensure that both the agency and sponsors conduct the requested investigations.
Petitioner has not demonstrated any failures
marketing serious adverse events, so it is unclear what additional action FDA could take in
response to the CP. Therefore, we deny this request.

FDA agrees that post-marketing surveillance plays an important role. FDA is monitoring the
safety of the Authorized COVID-19 Vaccines through both passive and active safety surveillance
systems. FDA is doing so in collaboration with the Centers for Disease Control and Prevention
(CDC), the Centers for Medicare and Medicaid Services (CMS), the Department of Veterans
Affairs (VA), and other academic and large non-government healthcare data systems.


35
     June 2020 Guidance, at 7.
36
     Id.

                                                                                                  13
     Case 3:21-cv-01211-AW-HTC Document 31-13 Filed 10/21/21 Page 151 of 161




In addition, FDA participates actively in ongoing international pharmacovigilance efforts,
including those organized by the International Coalition of Medicines Regulatory Authorities
(ICMRA) and the World Health Organization (WHO). These efforts are in addition to the
pharmacovigilance efforts being undertaken by the individual manufacturers for authorized
vaccines. A coordinated and overlapping approach using state-of the art technologies has been
implemented. As part of our efforts to be transparent about our COVID-19 vaccine safety
monitoring activities, FDA is posting summaries of the key safety monitoring findings on the
FDA website.37

Passive Surveillance

VAERS is a national passive surveillance vaccine safety database that receives unconfirmed
reports of possible adverse events following the use of a vaccine licensed or authorized in the
United States. Passive surveillance is defined as unsolicited reports of adverse events that are
sent to a central database or health authority. In the United States, these are received and entered
into VAERS, which is co-managed by FDA and CDC. In the current pandemic, these reports are
being used to monitor the occurrence of both known and unknown adverse events, as providers
of COVID-19 vaccines are required to report serious adverse events to VAERS.

As part of FDA and CDC's multi-system approach to post-licensure and post-authorization
vaccine safety monitoring, VAERS is designed to rapidly detect unusual or unexpected patterns

determine if a vaccine caused or contributed to an adverse event or illness. If the VAERS data
suggest a possible link between an adverse event and vaccination, the relationship may be further
studied in a controlled fashion.38

Anyone can make a report to VAERS, including vaccine manufacturers, private practitioners,
state and local public health clinics, vaccine recipients, and their parents or caregivers.
Surveillance programs like VAERS perform a critical function by generating signals of potential
problems that may warrant further investigation.

Active Surveillance

Active surveillance involves proactively obtaining and rapidly analyzing information related to
millions of individuals and recorded in large healthcare data systems to verify safety signals
identified through passive surveillance or to detect additional safety signals that may not have
been reported as adverse events to passive surveillance systems. FDA is conducting active
surveillance using the Sentinel BEST (Biologics Effectiveness and Safety) System and the CMS
system, and is also collaborating with other federal and non-federal partners.

BEST


37
   https://www.fda.gov/emergency-preparedness-and-response/coronavirus-disease-2019-covid-19/covid-19-
vaccines?
38
   FDA, VAERS Overview, available at https://www.fda.gov/vaccines-blood-biologics/vaccine-adverse-
events/vaers-overview

                                                                                                         14
     Case 3:21-cv-01211-AW-HTC Document 31-13 Filed 10/21/21 Page 152 of 161




To elaborate further, the BEST system,39 which is part of the Sentinel initiative,40 comprises
large-scale claims data, electronic health records (EHR), and linked claims-EHR databases with
a data lag of approximately three months. The system makes use of multiple data sources and
enables rapid queries to detect or evaluate adverse events as well as studies to answer specific
safety questions for vaccines. The linked claims-EHR database makes it possible to study the
safety of vaccines in sub-populations with pre-existing conditions or in pregnant women. The
major partners for BEST currently are Acumen, IBM Federal HealthCare, IQVIA, and Columbia
University and many affiliated partners such as MedStar Health, BlueCross BlueShield of
America, the Observational Health Data Sciences and Informatics (OHDSI), OneFlorida,
University of California and several others.41

Using BEST, CBER plans to monitor about 15 adverse events42 that have been seen with the
deployment of previous vaccines but have yet to be associated with a safety concern for an
authorized COVID-19 vaccine at this time. CBER further plans to use the BEST system to
conduct more in-depth analyses should a safety concern be identified from sources such as
VAERS.

CMS

FDA has worked over the past several years with CMS to develop capabilities for routine and
time-sensitive assessments of the safety of vaccines for people 65 years of age and older using
the Medicare Claims database.43 Because it was already in place, this system was immediately
put into use for COVID-19 vaccine surveillance to monitor for adverse events.44




39
   Biologics Effectiveness and Safety (BEST) System, https://www fda.gov/vaccines-blood-biologics/safety-
availability-biologics/cber-biologics-effectiveness-and-safety-best-system
40
                               https://www fda.gov/safety/fdas-sentinel-initiative
41
   To confirm the utility of the BEST system for situations such as COVID-19 vaccine surveillance, a test case was
conducted. This study aimed to repli                                       Vaccine Safety Datalink (VSD) (Klein et al.
Pediatrics 2010) that examined the databases and analytic capabilities of the new system. The objective of this study
                                         reproduce the increased risk of febrile seizures in children receiving the first
dose of measles-mumps-rubella-varicella (MMRV) vaccine, compared to that of MMR and varicella vaccines
separately but on the same day. The results of the study met the objectives and demonstrated the ability of the BEST
Initiative data network to run a complex study protocol at multiple sites using a distributed data network and the
Observational Medical Outcomes Partnership Common Data Model (organizing disparate data sources into the same
database design using a common format).
42
   CBER, Background Rates of Adverse Events of Special Interest for COVID-19 Vaccine Safety Monitoring, Draft
Protocol (December 31, 2020), https://www.bestinitiative.org/wp-content/uploads/2021/01/C19-Vaccine-Safety-
AESI-Background-Rate-Protocol-2020.pdf
43
   CMS, Standard Analytical F                                   https://www.cms.gov/Research-Statistics-Data-and-
Systems/Files-for-Order/LimitedDataSets/StandardAnalyticalFiles
44
   As one example of the capabilities of this system, FDA, CMS, and CDC evaluated the risk of Guillain-Barré
syndrome (GBS) following infl                                    Vaccine Safety Datalink, identified safety signals
suggesting an increased risk of GBS following high-dose influenza vaccinations and Shingrix vaccinations during
the 2018-2019 influenza season. CBER, CDC, and CMS formed working groups in February 2019 to refine these
safety signals in the CMS data.

                                                                                                                      15
     Case 3:21-cv-01211-AW-HTC Document 31-13 Filed 10/21/21 Page 153 of 161




During the current pandemic, FDA, CMS, and CDC have already used the Medicare data to
publish a study showing that frailty, comorbidities, and race/ethnicity were strong risk factors of
COVID-19 hospitalization and death among the U.S. elderly.45
In summary, in collaboration and coordination with several different partners, FDA has
                                                                          surveillance systems
that can detect and refine safety findings with the Authorized COVID-19 Vaccines in a relatively
rapid manner. These systems can also potentially be leveraged to assess safety in specific
subpopulations and to assess vaccine effectiveness.
Petitioner points to a CDC webpage on COVID-19 vaccines that discusses 4,863 reports to
VAERS of death after COVID-19 vaccination that describes the monitoring that is conducted in
connection with such reports.46 Petitioner suggests that this is inadequate because of an FDA
response to a question posed by one of the CP signatories on the proportion of VAERS death
reports for which FDA/CDC staff had reached out to families to collect follow-up information.
                                                system is not designed to determine causality of
                                              anism to follow-up with families for additional
         47
            However, there are indeed procedures in place to conduct continuous monitoring of
VAERS data, including deaths (though the procedures do not involve following up with
families). When FDA and CDC receive reports of deaths in VAERS, there is a mechanism for
requesting and evaluating other types of follow-up information, including associated health
records, such as hospital discharge summaries, and medical and laboratory results, death
certificates, and autopsy reports.48
                        5.
                             Vaccines and Related Biological Products Advisory Committee
                             (VRBPAC)
Petitioner requests that FDA ensure the inclusion of gene therapy experts on the VRBPAC
                                                 the informed perspectives of those with expertise
                             10. In support of this request, Petitioner states that the vaccines
produced by several manufacturers are gene based
substantially from all other vaccines that have been used on populations globally, as these novel



45
   Hector S Izurieta, David J Graham, Yixin Jiao, Mao Hu, Yun Lu, Yue Wu, Yoganand Chillarige, Michael
Wernecke, Mikhail Menis, Douglas Pratt, Jeffrey Kelman, Richard Forshee, Natural History of Coronavirus Disease
2019: Risk Factors for Hospitalizations and Deaths Among >26 Million US Medicare Beneficiaries, The Journal of
Infectious Diseases                              https://doi.org/10.1093/infdis/jiaa767
https://academic.oup.com/jid/article/223/6/945/6039057
46
   https://www.cdc.gov/coronavirus/2019-ncov/vaccines/safety/adverse-events html.
47
   Petitioner refers to a Letter to the Editor authored by one of the CP signatories that includes questions the
                                                         https://www.bmj.com/content/372/bmj.n149/rr-25.
48
   See Shimabukuro et al., Safety monitoring in the Vaccine Adverse Event Reporting System (VAERS),
https://www.ncbi.nlm.nih.gov/pmc/articles/PMC4632204/                                   classified as serious, the
VAERS contractor requests associated health records, including hospital discharge summaries, medical and
laboratory results, and death certificates and autopsy reports for deaths. Additional MedDRA terms might be added
based on information obtained through follow-up. Also, for serious reports where the patient has not recovered from
the adverse event by the time the report was filed or recovery status was unknown, a follow-up letter is sent to the
reporter at one year requesting information on recovery

                                                                                                                 16
     Case 3:21-cv-01211-AW-HTC Document 31-13 Filed 10/21/21 Page 154 of 161




vaccines work on the premise of gene delivery, and may therefore be considered a type of gene

                                                          es knowledgeable in the fields of
immunology, molecular biology, rDNA, virology; bacteriology, epidemiology or biostatistics,
vaccine policy, vaccine safety science, federal immunization activities, vaccine development
including translational and clinical evaluation programs, allergy, preventive medicine, infectious
                                                       49
diseases, pediatrics, mic                                  Additionally, an advisory committee
                          50
may consult with experts. FDA may also add temporary voting members to the VRBPAC, for
example to provide relevant expertise.51
does not make regulatory decisions.

The premise of the CP is that certain actions n                        serious consideration is
                                                       CP at 1. But it is FDA, not VRBPAC, that
is authorized to determine whether to approve a BLA. Indeed, the Public Health Service Act
confers this authority to the Secretary of the Department of Health and Human Services, and this
authority has been delegated to the Commissioner of FDA. Because FDA is authorized to
approve a BLA, we do not agree that the composition of an advisory committee is determinative
of whether to approve or seriously consider approving a BLA. Accordingly, we deny your
request.
                        6.
                             and Amongst VRBPAC Have No Financial or Research

                                                  analysis of data and decisions regarding any
COVID-19 vaccine BLA application are informed by experts with no financial or research
relationships52 with any vaccine manufacturers within the last 36 months, both within FDA and
                                              53
                                                  CP at 10. In support of this request, Petitioner
states disclosure and transparency would demonstrate the independence of FDA decision making
and that an evaluation of da                                   th independence from vaccine
                                                  54
                           in the public interest. CP at 10.



49

https://www fda.gov/advisory-committees/blood-vaccines-and-other-biologics/vaccines-and-related-biological-
products-advisory-committee.
50
   21 CFR § 14.31.
51
   See https://www.fda.gov/advisory-committees/vaccines-and-related-biological-products-advisory-
committee/charter-vaccines-and-related-biological-products-advisory-committee.
52
   You do not describe what you mean for there to be a confli
disclosure requirements established by the International Committee of Medical Journal Editors (ICMJE)

interests that could influence how they receive scientific work), but an online form we found for ICMJE does not
                                                    https://cdn-
links.lww.com/permalink/jbjs/d/jbjs 2017 03 30 tashjian e15 sdc1.pdf. That form does describe financial
conflicts of interests, see id., and gi
53
     CP at 10.
54
     CP at 10.

                                                                                                                   17
     Case 3:21-cv-01211-AW-HTC Document 31-13 Filed 10/21/21 Page 155 of 161




FDA acknowledges the value in maintaining a positive public perception of how FDA conducts
its activities and ensuring that the decisions FDA employees make, and actions they take, neither
are, nor appear to be, tainted by any conflict of interest. Ethical requirements for both advisory
committee and staff are described in statute and regulation.55
FDA has addressed the evaluation of financial interests by special Government employees
(SGEs) and FDA employees in the 2014 Guidance for the Public, FDA Advisory
Committee Members, and FDA Staff: Public Av
Financial Interest Information and Waivers56 (Financial Issues Guidance) and has addressed the
evaluation of appearance issues in the 2016 draft Guidance for the Public, FDA Advisory
Committee Members, and FDA Staff: Procedures for Evaluating Appearance Issues and
Granting Authorizations for Participation in FDA Advisory Committees (Appearance Issues
Draft Guidance).57 The 2016 draft guidance, when finalized, will represent the current thinking
of the Food and Drug Administration (FDA or Agency) on this topic. As described in the
                                                  t the credibility and integrity of advisory
committee advice, FDA screens advisory committee members carefully for two categories of
potentially disqualifying interests or relationships: (1) current financial interests that may create a
recusal obligation under Federal conflict of interest laws; and (2) other interests and relationships
that do not create a recusal obligation under Federal conflict of interest laws but that may create
the appearance that a member lacks impar
Appearance Issues Guidance explicitly contemplates that a Research Relationship might raise an
appearance issue.58
FDA employees also are subject to strict ethical requirements. 59 FDA employees, as well as
their spouses and minor children, are prohibited from holding financial interests, like stock, in
certain businesses regulated by FDA. This includes many companies working in the drug,
biologic, medical device, food, and tobacco industries, among others.60 In addition, certain
restrictions apply to FDA employees working on particular matters involving parties with whom
the employee has served as officer, director, trustee, general partner, agent, attorney, consultant,
contractor or employee.61
Although both the VRBPAC members and FDA employees are subject to ethical requirements,
the requirements do not involve a 36-month prohibition. For example, FDA is authorized by
statute to grant waivers to allow individuals with potentially conflicting financial interests to
participate in meetings where it concludes, after close scrutiny, that certain criteria are met. 62
In addition, the restrictions that apply to FDA employees working on particular matters involving
parties with whom the employee has served as officer, director, trustee, general partner, agent,
55
   See, e.g.,
at: https://www fda.gov/about-fda/ethics/ethics-laws-and-regulations
56

Financial Issues Guidance at 3.
57
   https://www.fda.gov/media/98852/download.
58
   See Appearance Issues Draft Guidance at 14-15.
59

https://www.fda.gov/about-fda/ethics/ethics-laws-and-regulations.
60
   See Prohibited Financial Interests for FDA Employees, https://www fda.gov/about-fda/ethics/prohibited-financial-
interests-fda-employees.
61
   5 CFR § 2635.502.
62
   See 18 U.S.C. § 208(b)(1) and (b)(3).

                                                                                                                18
     Case 3:21-cv-01211-AW-HTC Document 31-13 Filed 10/21/21 Page 156 of 161




attorney, consultant, contractor or employee apply when the employee has served within the last
year--but not longer.
In evaluating your request, we are guided by these laws and regulations, which do not contain a
36-month prohibition. We also note that you have not demonstrated that any FDA employees or
members of the VRBPAC have been improperly                                   review of COVID-19
vaccines. We are also guided by our consideration of one of the purposes served by an FDA
advisory committee, which is that it permits the agency access to a range of perspectives from
experts with the most current knowledge. We believe that applying our existing standards for
conflict of interest will address the perception concern that the CP articulates, while
appropriately balancing the agency                                xpertise. Accordingly, we deny
your request.
                        7.
                             Years of Follow-Up
                                  onfirm, in revised Guidance, that the FDA expects a minimum
of 2 years of follow-up of participants enrolled in pivotal clinical trials, even if trials are
                                                                               follow-up from trials
allows the detection of commonly experienced longer-term adverse effects that may not manifest
                                                         dd to the data collection in clinical trials
in certain ways that you identify. CP at 4.
                                                         tions for follow-up of participants enrolled
in clinical trials.63 FDA does not at this time see a need to revise its guidance documents,
because FDA may communicate to individual sponsors whether there is a need to support a BLA
with a particular duration of follow-up for a clinical trial. While guidance documents allow the
agency to articulate its interpretation of or policy on a regulatory matter (21 CFR § 10.115(b)),
                                                   be specific to an individual manufacturer.
In addition, we note that there are many reasons why it may be appropriate to license some
vaccines based on follow-up of participants for less than two years. For example, if a clinical
trial enrolls subjects rapidly and the primary endpoint is the incidence of a disease such as
COVID-19 which occurs frequently, cases may accumulate quickly and may allow FDA to
assess the benefit-risk profile of the vaccine based on a shorter clinical trial duration and
participant follow-up. By contrast, if a clinical trial enrolls subjects more slowly and assesses a
disease with lower incidence, more time may be needed to accumulate a database that allows
statistically meaningful comparisons to be drawn between the vaccine and control groups.
                                                                    e historical experience with
vaccines, and the fact that most adverse events that are plausibly linked to vaccination occur
within two months of vaccination.64 Furthermore, vaccine trials involve different types of
endpoints, with some trials focusing on immunogenicity endpoints and some focusing on disease
endpoints. All of these features impact the type and duration of data needed to evaluate the
benefits and risks of a vaccine.

63
  See, e.g., June 2020 Guidance at 12.
64
  Table VI. National Vaccine Injury Compensation Program. Rockville, MD: Health Resources and Services
Administration, 2017 (https://www hrsa.gov/sites/default/files/hrsa/vaccine-compensation/vaccine-injury-table.pdf.
opens in new tab).

                                                                                                                19
Case 3:21-cv-01211-AW-HTC Document 31-13 Filed 10/21/21 Page 157 of 161
     Case 3:21-cv-01211-AW-HTC Document 31-13 Filed 10/21/21 Page 158 of 161




           Appendix I: Aspects of Vaccine Development and Process for Licensure

A.      Vaccines are Biologics and Drugs
Vaccines are both biological products under the Public Health Service Act (PHS Act) (42 U.S.C.
§ 262) and drugs under the Federal Food, Drug, and Cosmetic Act (FD&C Act) (21 U.S.C. §

                                                   or cure of a disease or condition of human

use in the diagnosis, cure, mitigation, treatment, or prevention of
321(g)(1)(B).
Under the PHS Act, a biological product may not be introduced or delivered for introduction into
interstate commerce unless a biologics license is in effect for the product. 42 U.S.C. §
262(a)(1)(A).
B.      Clinical Investigations of Vaccines
Before a vaccine is licensed (approved) by FDA and can be used by the public, FDA requires
that it undergo a rigorous and extensive development program that includes laboratory research,
animal studies, and human clinical                                   safety and effectiveness.
The PHS Act and the FD&C Act provide FDA with the authority to promulgate regulations that
provide a pathway for the study of unapproved new drugs and biologics. 42 U.S.C. §
262(a)(2)(A) and 21 U.S.C. § 355(i). The regulations on clinical investigations require the
submission of an Investigational New Drug application (IND), which describes the protocol, and,
among other things, assures the safety and rights of human subjects. These regulations are set
out at 21 CFR Part 312. See 21 CFR § 312.2 (explaining that the IND regulations apply to
clinical investigations of both drugs and biologics).
The regulations provide that, once an IND is in effect, the sponsor may conduct a clinical
investigation of the product, with the investigation generally being divided into three phases.
With respect to vaccines, Phase 1 studies typically enroll fewer than 100 participants and are
designed to look for very common side effects and preliminary evidence of an immune response
to the candidate vaccine. Phase 2 studies may include up to several hundred individuals and are
designed to provide information regarding the incidence of common short-term side effects, such
as redness and swelling at the injection site or fever, and to further describe the immune response
to the investigational vaccine. If an investigational new vaccine progresses past Phase 1 and
Phase 2 studies, it may progress to Phase 3 studies. For Phase 3 studies, the sample size is often
determined by the number of subjects required to establish the effectiveness of the new vaccine,
which may be in the thousands or tens of thousands of subjects. Phase 3 studies are usually of
sufficient size to detect less common adverse events.
If product development is successful and the clinical data are supportive of the proposed
indication, the completion of all three phases of clinical development can be followed by
submission of a Biologics License Application (BLA) pursuant to the PHS Act (42 U.S.C. §
262(a)), as specified in 21 CFR § 601.2.




                                                                                                 21
     Case 3:21-cv-01211-AW-HTC Document 31-13 Filed 10/21/21 Page 159 of 161




C.         Biologics License Applications
A BLA must include data demonstrating that the product is safe, pure, and potent and that the
facility in which the product is manufactured
biological product continues to be safe, pure, a
does not consider an application to be filed until FDA determines that all pertinent information
                                                      s filing of an application indicates that the
application is complete and ready for review but is not an approval of the application.
Under § 601.2(a), FDA may approve a manufacturer
after the manufacturer submits an
from nonclinical laboratory and clinical studies which demonstrate that the manufactured
product meets prescribed requirements of safety, purity, and pote
the multidisciplinary FDA reviewer team (medical officers, microbiologists, chemists,
biostatisticians, etc.) with the Chemistry, Manufacturing, and Controls (CMC) 65 and clinical
information necessary to make a benefit-risk assessment, a
establishment(s) and the product meet the applicable require

FDA generally conducts a pre-license inspection of the proposed manufacturing facility, during
which production of the vaccine is examined in detail. 42 U.S.C. § 262(c). In addition, FDA
carefully reviews information on the manufacturing process of new vaccines, including the
results of testing performed on individual vaccine lots.
FDA scientists and physicians evaluate all the information contained in a BLA, including the
safety and effectiveness data and the manufacturing information, to determine whether the
application meets the statutory and regulatory requirements. FDA may also convene a meeting
of its advisory committee to seek input from outside, independent, technical experts from various
scientific and public health disciplines that provide input on scientific data and its public health
significance.

into account (including preservatives and adjuvants). FDA licenses a vaccine only after the
Agency has determined that the vaccine is safe and effective for its intended use, in that its
benefits outweigh its potential risks.




65
     Also referred to as Pharmaceutical Quality/CMC.

                                                                                                  22
  Case 3:21-cv-01211-AW-HTC Document 31-13 Filed 10/21/21 Page 160 of 161




             Appendix II: Aspects of Vaccine Postmarketing Safety Monitoring
Post-marketing surveillance of vaccine safety is crucial to detect any rare, serious, or unexpected
adverse events, as well as to monitor vaccine lots. Manufacturers often conduct post-marketing
observational studies. However, FDA also uses multiple tools and databases to evaluate the
safety of vaccines after they have been licensed and used in the general population.
The Vaccine Adverse Event Reporting System (VAERS) is a national passive surveillance
vaccine safety database that receives unconfirmed reports of possible adverse events following
the use of a vaccine licensed in the United States. VAERS is co-administered by FDA and the
Centers for Disease Control and Prevention (CDC). Anyone can make a report to VAERS,
including vaccine manufacturers, private practitioners, State and local public health clinics,
vaccine recipients, and their parents or caregivers. Surveillance programs like VAERS perform
a critical function by generating signals of potential problems that may warrant further
investigation.
It is often difficult to determine with certainty if a vaccine caused an adverse event reported to
VAERS. Many events that occur after vaccination can happen by chance alone. Some adverse
events are so rare that their association with a vaccine is difficult to evaluate. In addition,
VAERS often receives reports where there is no clear clinical diagnosis. FDA draws upon
multiple sources of data and medical and scientific expertise to assess the potential strength of
association between a vaccine and a possible adverse event.
Monitoring and analysis of VAERS reports typically includes daily in-depth medical review of
all serious reports, statistical data mining techniques, and epidemiological analysis. We look for
patterns and similarities in the onset timing and clinical description. We review published
literature to understand possible biologic hypotheses that could plausibly link the reported
adverse event to the vaccine. We review the pre-licensure data and any other post-marketing
studies that have been conducte
which a type of adverse event occurs in the unvaccinated general population. When necessary,
we discuss the potential adverse event with our federal and international safety surveillance
partners. We also carefully evaluate unusual or unexpected reports, as well as reports of
                                                      in the same patient after each dose received).
When there is sufficient evidence for a potential safety concern we may proceed to conduct large
studies, and we may coordinate with our federal, academic and private partners to further assess
the potential risk after vaccination. In addition, when potential safety issues arise, they are often
presented to various U.S. government advisory committees, including the Vaccines and Related
Biological Products Advisory Committee, the Advisory Committee on Immunization Practices,
the Vaccines Advisory Committee, and the Advisory Committee on Childhood Vaccines, and are
often discussed with experts from other countries and from the World Health Organization
(WHO). Federal agencies that assist in population-based vaccines safety studies include the
Centers for Medicaid and Medicare (CMS), the Department of Defense (DoD), and the Indian
Health Services (IHS). In addition, we generally communicate and work with international
regulatory authorities and international partners to conduct studies in vaccine safety.
The Vaccine Safety Datalink (VSD) project has actively monitored vaccine safety in more than
9.1 million people nationwide, over 3% of the US population. The VSD can monitor vaccine
safety with near real-time surveillance systems, which is particularly important for new vaccines.
If there is a vaccine safety signal in the VSD, chart reviews and case series analyses are done

                                                                                                     23
  Case 3:21-cv-01211-AW-HTC Document 31-13 Filed 10/21/21 Page 161 of 161




when assessing the possible association between a vaccine and an adverse event. If needed,
VSD is able to use its large health care database to further evaluate specific vaccine safety
concerns.
The Clinical Immunization Safety Assessment (CISA) is a national network of six medical
research centers with expertise conducting clinical research related to vaccine safety. The goals
of CISA are: to study the pathophysiologic basis of adverse events following immunization using
hypothesis-driven protocols; to study risk factors associated with developing an adverse event
following immunization using hypothesis-driven protocols, including genetic host-risk factors; to
provide clinicians with evidence-based guidelines when evaluating adverse events following
immunization; to provide clinicians with evidence-based vaccination or revaccination guidelines;
and to serve as a regional referral center to address complex vaccine safety inquiries. Advances
in genetics and immunology continue to help us further assess the safety of vaccines, and FDA
has established a genomics evaluation team for vaccine safety.
Finally, the Sentinel Initiative is a national electronic system that will continue to improve

2008 by FDA, the Sentinel System will enable FDA to actively query diverse automated
                                                 record systems, administrative and insurance
claims databases, and registries                               ssues quickly and securely. The
Sentinel Initiative will cover 100 million people in the U.S. It is also anticipated that Sentinel
will facilitate the development of active surveillance methodologies related to signal detection,
strengthening, and validation.




                                                                                                     24
